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TO= PREcIsIoN DRYWALL INC ++

601 N' CONGRESS AVE STE 501
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FL 33445

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1l|l|.\ B.W. 1381 DOUHT\ FDMPANC BEACI'|. FLUHDA ma
FHDNE I954l 781-anb FAX lm] mill
REMIT TU:
1860 SW 13th G'l'. FOM,AND BEAGI'L H. 33059

AGCUUMTNG AND RE[EASE MMWES
H\em: 1954| 781-2395 ¢Fa¥.* (954| 942-4841

 

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ACGDUNUNE AND R&HSE!NGUM|'ES
P‘|wn\: llE¢l 311-2300 llqu 19541 042-4541

     

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TO= PRE¢:sIoN DRYNALL INc ++ T°= FLAGLER LAND:NG
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33$10 P/nw FUEL SUP.c:-B\RGE

110 110 * 335 S-S LF 360.0000 356.40
3 5 B" STUD B'
25
100 100 * 535 5-11 LF 350.0000 356.00
3 5 B' ETUD 11
25 UGE
1 1 * TCTQT-M EA 57.0000 57.00

C'l.¢INEH DN TOOL W/!BLLET

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1000 SW 1311 01'. P°M,ANG BEABH. H. 33069

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Phonl‘. |854) 781-23¥9 0 le: ll“} 042-4041

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BILL sH:F
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1100 S.W. 13th GNRT» F°HPANO IEAGH. FL°B|DA 330“
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AGCOUMTNG A!m M.EAB£|WGWES
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HILDE" R.ES.

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TU= mcrsron DRYWALL nrc ++ TD= vzz.r..n mo @
601 n comnas ms an 501
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118 748 * D}ZR].Z Bl' 360.0000 13925.45
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VILLA LAGO
NORTH BBCI'ION
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Accoum m males '_'_"
mm ma 101-moe Fm tow 040-4041

 

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Ez,m,§~“».,¢:~mfé
350 350 * D 2R12 S¥ 360.0000 6048.01
1 2" REGULAR film 12'
4 x 12
7 1 * D 3112 B¥ l160.(|!'.|(}0 154-56
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DBLRAY BCH

 

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1 1 n 0.0001 0.00
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AGEDUNTTNG AND ME mWNES
Ph¢ma: 1954 181-2399 OFax: 1950 842-4541

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601 N coNGREss nwa srs 501 uNIT A
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8 a * w:vPT LF 0.1300 7.20
1 x 2 x 7 PT souARE EDGE
5 5 * wzpr Lr 0.1300 5.20
1 x 2 x s PT souanz sues
3 3 * w¢PT LF 0.3500 8.40
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1 1 * wsPT LF 0.5000 4.00
x s x a PT suuARE EDGE
11 11 * w22TPT LF 0.3300 25.40
2 x 2 x v PT
19 19 * w220PT Lr 0.3300 50.16
2 x 2 x s PT
7 1 * w24aPT LF 0.6400 35.84
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1 7 * w24sc Lr 0.5100 31.92
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100 100 * sls?s-lo Lr 290.0000 290.00
1 s a" swan 10'
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100 100 * sasas- -9 LF 396.0000 356.40
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AGGGUMTNG AMJ .HELEASE INUUMIES
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601 N CDNGRESS APE STE 501
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sasa'r 305.0000 45.20
3 sé§" m
25 usa
15 15 * sss~ ~s LF 644.0000 ` 56.94
5" 51'u1:) 9'
25 saust
2 2 * 551 LF 521.0000 12.54
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25 GAUGE
14 14 * 56320 mr 710.0000 100.52
s" mm aaacon-20 GAUGE
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TO:

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\ W.MEYMH’L¥CD.

     

PRECISIQN DRYWALL INC ++
601 N CON'GR.ESS .'AV'E STE 501
DELRAY BG'I FL 33445

sum

TO= vTLLA 1200
un:r A
501N10N BEAcH FL

illo S,W' 13th GU.IRT 0 F°WANO IEAUH, FLOE[DA ml
PHDNE |IE‘-} 7|1-230|° FAX l054l 043-43!0

EM|TTQ':

11le 13th UT.FWANBIEAEH,FLW
A¢CGUM?NG AND M.EASE !NDUIHB

Fhl.'ll'\ll {954} 781-2395 ll le: [954| 942-4041

  

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as 510 P/Iuv 1051 suncumass
a s * w2701 LF 0.1300 1.20
1 x 2 x 7 PT seaman 1055
5 5 * nzpr Lr 0.1300 5.20
22 x a 51 seaman sues
3 3 * w4pT Lr 0.3500 0.40
1 x 4 x s 21 sounnz 2005
1 1 -* wsPT Lr 0.5000 4.00
1 x s x a 01 souanz 1051
11 11 * nzzva LF 0.3300 25.40
2 x 2 x v 01
19 15 * wzzaPT LF 0.5300 50.15
2 x 2 x s PT
1 1 1 wz¢aor LF 0.5400 35.&4
2 X 4 x B PT
2 2 * w241011 LF 0.6400 12.00
2 x 4 x 10 51
1 1 * w24sc Lr 0.5100 31.92
2 x 4 x a coNSTRUcTIoN
100 100 * 51505-111 290.0000 290.00
zssé§*g sTUD 10'
25 25 * 51551 LF 205.0000 71.25
1 5 0~ TRAcx
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100 100 * sssas-s 15 395.0000 356.40
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FHQNE {854| 781-2388 0 FAX lisa 942-im
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10808?( 13th ¢T. PMANQ BEA¢H. FL ml

AC£‘DUMTNE AM'J WSEMDWNEB
Fhme: |.'9541 781~2399 0 Fp.': I954l 842-454'|

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sol m coNGREss mm sTE 501 umw A ®

man sca F:.. 33445 seaman sami FL

 

  
 

     
  

 

 

 

 

 

 

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15 15 * SGS-S LF 644.0000 85.94

2 2 * ssT LF 527.0000 12.54

14 14 * 56320 LF 718 . 0000 100 . 52
S" HETAL BACKING-ZD GAUGE

PE:©

 

 

 

 

 

 

 

 

 

cnoum.mmon_-_+ *** THIS IS '!OUR IN'VDICE ***

 

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DELR.AY aca

FL 33445

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FH°NE 1954] 731-2395 FAX 195-ll 942-4360

FEMIT TD:

1660 B\'l 1Nl I!T. PU|,AND lEAGH. Fl. mn

AGDGLWT!MJ AND HELBSEIMJMHES
Phnn¢: [954] 781-2399 0 F¢x: 1959 942-484‘|

 

 

 

  

 

 

   
 

 

   

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

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sT umwa ocT 1 2005 mens wzz.z.
as $10 P/:Nv m sum
12 12 w-;z p-r LF 0.1300 10.92
1 x 2 x 7 PT sums ms
6 s w2P'1‘ Lr 0.1300 6.24
1 x 2 x 2 P'r sums sues
3 3 mp-r LF 0.3500 s.¢o
1 x 4 x a P'r sams man
1 1 wsP'r LF u.souo 4.00
1 x s x a P'r sam EDGB
22 22 wzszT Lr 0.3300 so.ao
2 x 2 x 7 P'r
41 41 wzza:.=~r mr 0.3300 102.24
2 x 2 x a P'r
9 9 wz¢sPT LF 0.54.00 46.05
2 x 4 x a r-~r 7
3 3 w241op'r I.F . 0.6400 15.20
2 x 4 x 10 P'r
14 14 w24ac LF o. s'mo 63 .s¢
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95 95 slss Lr zsa.oooo 233.10
a' ls'rcn: 10'
255 UGB
40 40 sls 1' LF 285.0000 114.0o
1 5 a- mcx
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130 150 535 s-s LF 33€.0000 641.52
3 5 a" s'rm:) 9'
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GUDEEXH.ANATlON_-_-+

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RCR000000340

1|80 B.W. 13b DQURTI FQMPANU BEACH. FLORIDA mls
FHDNE law 131-1399. FAX {954! 942-430
HEI|T T°l
1800 SW 1Rh |=’T, PQMIANU IE»\|»'¢'H. H. m

ACCDUNUNG AAD HELEA~SE IMJWHES
Phnno'. 1854-1 ?81-23§! v Fn‘l: IBEH 942-4841

      

158000 2031190-01
BnL sum
TO= mclaren nnmm. :ch ++ TO= v:m.A LAGo ®

601 m cnncnsss 222 522 501 um:r s

DELRAI BcH FL 33415 aovnron BEAcH rL

 

 
 

 

 

 

 

  
  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    
   

 

 

 

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2031190- -01
-_~\ - '- z‘-I..--Q`l:?§-F'-':\F
ass 0000 ao.as
20 20 * s§s§s gi Lr 514.0000 115.92
25 moss
3 3 * 561 LF 521.0000 10.01
sw men
25 ames
14 14 * sanzo 1.2 113.0000 100.52
s1 mm manna-20 ames
P:r=o::[)

=v=wwmo~---+ *** '_m_:s_ rs Y_omz mmz_ca z** *"'_"°m ,___*? . 1,§"3 44
;_"*HTHMW "`_`@,fnTij§-'-- ,_. §_'_?*“‘ 'B¥ .§0*
+-I'|'IT'\ml-YMIPFL

FEnJuTHélaTAx ”’

mumi=~ _;' '- 1503 11

FAY|IIEN`|' °_00
1,'191.15

RCR000000339

T!W B.W. 18th ¢\'.|URT| FQHFANC| IEAGH¢ FL°llDA m
FHDNE IIE41 731-23590 FAX ISH»I m
REM|T TD: 1
‘lll|U SW 13th ¢'l'. FDI»WAN¢I IEAGH. H. mi

ACGDUNUNG AND N."LE'\SE MWHES'
Ph¢l'll: lis-14 781-2399 °lel IM 942-4841

  
 

   

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511 sum
TO= 111010101 0111111 INC ++ TO= 11111 1100
501 N concnsss 111 sra 501 0011 c
031111 scH 11 33445 5011101 nunez 11
2031191-01
. 1103?
"-,-$ -=w\.' . ..“.- '-' ' -;.1. -¢. `(;Z`-'L.': -sl‘- -:_*'L-s.“f gii
31111110 001 1 2005 11111 w111
31 $10 P/1Nv 1011 suncunxsx
12 12 * wzva 11 0.1300 10.52
1 x 2 x 1 11 squano 1001
11 11 * wzeT 11 ' 0.1300 11.44
1 x 2 x a PT sunnen 1001
1 1 * w4PT . 11 0.3500 2.50
1 x 4 x s PT sounns 1001
1 1 * wspr 11 0.5000 4.00
1 x s x a 11 000111 5001
40 40 * wzzvpm 11 0.3300 92.31
2 x 2 x v P1
46 45 * wzzaPT 11 0.3300 121.44
2 x 2 x a 11
11 11 * 124021 11 0.5400 56.32
2 x 4 x s 11
3 3 * 1241011 11 0.5400 13.20
2 x 4 x 10 01
15 15 * w24sc 11 0.5100 12.96
2 1 4 x a 001511001101
105 105 * 3150 -10 11 290.0000 312.50
1 5/0~ sTun 10'
25 1
1a 10 * s1s 1 11 205.0000 51.30
1 sza- 11101
25 1
150 150 * sss s-s 11 396.0000 534.50
3 5 o“ 5100 s'
25 GAUGE
¢UOE B(FLANATDN _J

"-l'l’l‘l'l‘|’llmill-l
hme ml-l
+-\‘rmi\m|,'roull_

 

 

 

 

RCROOOUUOSSB

1060 S.W. 13|\ GGUI\TO FQMPAN° BEA¢H, H.°RIDA 850”
FHONE 1954-1 731-2398 0 FAX I,Isl»l 91~'¢'.43”
EMIT T°:
1060 BW 13h C'T. POHFANO BEAG‘H, H. wl

AGMUNTFNG AAD REL£!SEII%UUMIEB
Fhul'\e: 1954}\181-2399 lIFlK$ l954) 9424-641

`\ BA,"NEH SUPPLY co.

   

 

            

 

 
 
 

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assoao 2031191-01
BnL sum
TO= PREcIs:oN onYwALL :Nc ++ TO= v:LLA Laso <E§)

601 m cnnanmss nwa srs 501 un:T c
nsLnAr san ¥L 33445 aoYNToN nsAcH FL

    

 

 

   

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sss§o'oéc'im 'h“;;§.is

LF 644.9000 231.34

Lr szv.oooo 25.oa

14 14 * ssazo LF 713.0000 100.52

6" HBTAL BACKING-ZO GAUGE

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+ ll'l'l'll mLTMAM.

 

 

 

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RCR000000337

1800 S.W. 13th EWRFGFWFANO IEAG'L FI.ORIDA m
PHD||E lam 781-2399' FAX li$$l 942-43”
HEHIT TO:
1m E'Il 1351 c'l'. PGIIPAN¢I IEA¢H, H. mid

ACCDUNTTN‘G AND RE.MSE !NGWNES
Phun¢: IIE~H 781-239¢ 0 FIN: 15541 542'4541

\ BA!“"ER wrer co.

           

1§*§§§§§§§§#§
168000
nnL sum
TO= pnsc:szon DRYWALL :mc ++ TO= szLA nasa
601 m cowansss nvz sms sol uNIT c
naLan sca FL 13445 BoYNToN essex rn

 
 

 

 
 
  
 

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DBL 7/1¢)_/96_

 

 

 

 

 

 

 

 

 

 

 

"
W"" 1 \_ __ __ .
STARTING OCT 1 2005 TEERE WILL
BE $10 P/INV' FUEL SURG'ILR.GE
12 12 * WZ'J‘PT LF 0.1300 10.92
1 I 2 I 7 PT SQUIL'RE EDGE
11 11 * I2P‘1' LF 0.1300 11.44
1 1 2 X B PT SQULR.E EDGE
1 1 * I4PT LF 0.3500 2.80
1 X 4 X 8 PT SQTJ.'AF.E EDGE
l 1 * W€PT LF 0.5000 4.00
1 .X 6 X 3 PT SQUARE EDGE
40 40 * W227PT LF 0.3300 52.37
2 I 2 x 7 PT
45 46 * WZZBPT LI' 0.3300 121.44
2 X 2 x 8 PT
11 11 * W248PT LF 0.€400 56.32
2 I 4 1 E PT
3 3 * W2410PT I.l¥ 0.6400 19.20
_ 2 X 4 X 10 PT
15 15 * 912 48 C LF 0.5'700 72.96
2 X 4 X 8 CUNSTRUCL'ION
105 105 * Sl 5B-S ' LF 298.0000 312.90
15 55égu;E STT.TD 10'
25
15 18 * S15T LF 255.0000 51.30
1s s s- max
usa
150 150 * 535 S-S LF 396.0000 534.€0
3 s a'l sm a'
25 E
C¢DEEXFLA||AT|CN_-+
'-EI’ATITMMLI

l~m THM|.I
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RCROUUOUOSSS

1660 B.W. 13th ¢OUHTO P°IHAN° 'BEACH. H..QR|DA mdl
FHBNI 1954! 1l1-23¢!¢ FAX [954| um
REN||T TO:
1683 SW 1351 GT, PQMFAN° IEAGH. H. 330“

AGWUMINB AND mEQSE INGU|WFS
Phunl: [5541 181-2228 BFax: 1954| 942-4¢41

 

           

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150000 2037192- 01
mn smP
TD= macrst DRYWA:.L nrc ++ TO= v:cLLA LAGo
601 11 compass mm s'rs 501 mr c ©
nELRAY sen FL 33445 sorNTom BEACH FL

 

   
 
  
 

   

 

 

 

 

 

 

     
 
 

 

 

 

   

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2037152- 01 07/07/0_6 07/11/06
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` .‘ E;W?;‘~.q
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.-:,1§]-0,','¢_.‘ .._,'. 51 !
n : fg,¢¢§§a
385. 0000 65.45
a" TRACX
B
40 40 * sss-s LF 644.0000 231.84
s" sm 9'
25 GAUGE
4 4 * ssr LF 627.0000 25.08
6" TRACE
25
14 14 * ssa:o LF 713.0000 100.52
s* mm BACKING-zo GAHGE

p©"““§@

 

 

 

 

 

 

 

 

 

mnemnon_+ *** THIS _IS YOTJR I]WDIEB *'** mT..o.?.-N' ..,
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t Il'M'IlmTMIH\.

 

 

 

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FAYMENT °_ 00
?-`F:.'EQBIF\.` m DU`.E-

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RCRODUOOUBSS

\ B,.A,",LH'*MLV co. §

     

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T°= mcrs:om DRYWALL nrc ++
601 m cowanss mrs sra 501
omar 3c1-1 FL 33445

 

1350 S.W. 13th mUF\`I'E FOMPAND BEAUH. FLOR|DA 33059
FHN|E NW Tli-I.MO F.Ax ll“»l mw
RElIlT TD€
1100 SW 13th I.'f, PDHPANO IEM'}H, n M

AC€UUMWG AND RELB!SE »WDWH'ES
m Phoni‘. l954l 751-2389||=¢:: ¢9541 942'4341

l'.-||1'-- ':u',-

 

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2037193- 01

sl-m=
T°= v:m 1100
wm n

BOYNTOH BEACH FL

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

   

 

 

 

 

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BTARTING 0('."1'12005 TI'IERE WILL
az $10 wva mm sma-mms
10 10 * W27P'.1' LF 0.1300 9.10
l § 2 ll 7 PT SQU.'AFLE EDGE
10 10 * WZPT LF 0.1300 10.40
1 X 2 X 8 PT SQmE EDGE
4 4 * W4PT LF 0.3500 11.20
1 x 4 1 8 PT SQ'D`ARE EDGE
2 2 * WGPT LF 0.5000 S.DO
1 X 6 X 8 PT SQIIAR.E EDGE
25 28 * WZZ'JPT LF 0.3300 54.6$
2 if 2 X 7 P'.`l.'
66 65 * K£ZBPT LF 0.3300 174.24
2 .I 2 x B PT
17 17 * W24BPT L'F 0.6400 57.04
2 X 4 X 8 PT
4 4 * W2410PT LF 0.5400 25.50
2 X. 4 X 10 PT
17 17 * W24BC LF 0.5700 77.52
2 1 4 X 5 GONSTRUCTIDN
130 130 * 515 S-l LF 298.0000 357.40
8" ETUD 10'
25s
43 43 * 15 LF 255.0000 122.55
1 5 B" TRACK.
25 UGB
180 150 * 5352:-9 I.\F 395.0000 641.52
3 5 " STUD 9'
25 UGE
mEEXPLANAT|QN__-+
'-m'\'ETMIml-l
I~MIH\’IXIml-F
*-l'lM'EImLTAXAFL
' _-.»¢='::~~#..1--
y'\c-q,~.\. k

 

   
 

 

 

RCR000000334

1160 S.\'l. 13|h COURTO F°HPANO IEAGI, FLDRIDA 330“
FHQNE lis¢} 731439|9 FAX 18541 9424360
llElll'l' TQ:
18808'”13\:|\ GT, FUMIANG i‘!.ACI‘l, FL nw

AC£GUMTNU AI\U HE.EISE MQLMN'B
Pham£ |954-] 781-2399 llFlIl:: 1356 542-4541

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alu. sHll=
T°= morson mm mc ++ TO= vn.LA mo

601 m comnas mg s'rz 501 um n

amy sen FL 33445 soch men FL

 

 

 

 

 

 

 

  

   

 

 

 

 

 

 

 

 

 

w __='!g._-":\"',j.-."
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‘f 11.51“.\\1.~1'_',-|“='_:--‘.1
LF 385.0°°° 65.45
LF 544.0000 173.58
LF 527.°000 31.35
14 14 * S€B20 LF 115.0000 100.52
6' HBTAL BACXING-z° GAUGE
lP” 1 _“’D
\_ __ _l
L.__J D
cooEExFLAnmoN_-+ in 1315 15 YQU]`:¢ 1NVQ1C_E leu- l\Iil-_|l_'|_`Ci‘|'_\"\L _ _ 1 99°- __fl_'-"_
° m"'l'“mu _ _I ' _ .¢ » ¢.“A'v '
lmTlxml-i '

+- -ITITIIWT“.'H-

 

 

 

 

 

2,129.81

RCR000000333

1860 B.W. 13th CWRTI FBMFA||O BEAGH. F\-CIH|DA md
FHCNE IBM-l 131-2389° FAX 1950 mm
REIT TD:
18608\*{ 1Bth GT. PDMPAN° BEA¢H. ll m
AC€DUN?TNE ANU HEI`.£ASEMWHES
Fh¢m!: 19541 791-2399 Ole: lBB$l 342-4841

       

\ E,.“.",.E'.F,,F‘MLY co.

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lssooo
BlLL sHlP
T°= mars:oxsr pump :Nc ++ TO= wm mm
sol N maass mm sTE 501
nolan sca FL 33445 aomoN anna FL

 

 

 

 

  
 
   

 

 
  

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»_'J'\F'._L-`_Jli:.'r_-!_‘k.. :"_ .. "

 

   

12005 THERB WILL
BE$10 P/ILN' FUBL SURCHARGE
1 1 * NOTE 31 0.0001 U.DO
REF 1098054
152 GOMPOUND
192 192 * DS EA 0.2500 45.00

sTocme-mmn:AL-mon
----m :zm>:cE-----

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I-m‘l'll!ml
~d- I'l`¢lTl lmTMAl'H-.

cammm~_+ *** ms_ rs Yorm :NvoIcE _***

 

 

 

 

 

RCR000000345

1680 B.W. 1361 CQU`BTlFQMFANQ IBGH. FL|.'!R|DA wm
FHDNE lISI'l 781-2399° FAX law mm
REI||IT TD:
1660 SW 13\h B'T. m,-\NG BE|\¢H, H. mo

AGC‘OUNMG AMI IREASEMQWES
Fhunl: 1550 '!B1~239l ble.' 1964! 942-4641

   

-. BAN
\_ WH.HH'ERR*MLVE°¢

     

` '1'55006"
B"-L sHlP
TO= mcmann mcan nrc ++ TO= wm mo
601 n comss m srs 551
DELRAY aca FL 33445 50ch mcc-1 FL

 

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smTiNG ocT`1`2005 mut wlm.
31:$10 P/:Nv m sunzczmm;

1 1 * NOTES EA 0.0001 0.00
REF 1098188,189,260,194,19£
8 PIGS

8 5 * ns n 25.0000 zoo.oo
srocmG-mTBRIAL-msoz
----m INvo:ccE -----

p:__"55g

 

 

 

 

 

 

 

 

 

¢°°Emm“w-_~F *** Tx:_;s_ z_s form mvou:c:\:_ *** ?"“°1’*'-_ 2°,°;9_°

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RCR000000346

 

BA_"NEH suan co.

 

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BlLL
TO:

PR.'ECISION DRYWALL INC ++

  

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601 N CONGREES AVE ETE 501

DELRA'Y BCH

FL 33445

1000 B.W. 13th GDUHTD F°MPANQ BEACH¢ FLUH|D.\ 330¢|

PH°NE [954]' 181-2398° FAX [954| am
FIEMIT T°:
1000 lW 13\h GT. PQMPANO BEIH'I. FLM
ACC‘OUN"ITNG AND H‘EI.EASFMUINES
Phnn¢: 1954-l 78i-2399 l F¢;¢: (IE4} 542-4541
13§§¢ `i§§§§§='
-i- v. .h_-d_ ,i-i,'_ 'J\.. ",'-¢_n.HD:. ' l

1090 901-01

     

 

 
 

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IHV.H»- ,.,- v ~..f.'.’.':_' _. him -,- "‘°. i'.

 

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J\ w¢.-"'..n.-.w

 

 

 

 

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smnnrzmc ocr 1 1905 music wILL
BE $10 P/INV FU`EL SU'E. CHA.R.GE
900 900 * 51585 - LF 255.0000 2682.00
J.BSSU;E STUD 10'
480 480 * SlSBT LF 235.0000 1358.00
l 5 8" TR'ACI
25
1080 1080 * 53583-3 LF 396.0000 3849.12
3 S/B" STU'D 9'
25 GAUGE
360 360 * z LF 385.0000 1386.00
3 5 B" §RACK
100 100 * SGT LF 627.0000 627.00
5" TR.'A .
25 GAUGE
180 150 * S€S-SZ LF 644. 0000 1062 . 52
6" STU'D 9'2"
25 GAUGE
con:wuumqn~___+ *** mg 15 Yog-R INV°I¢E *n sul'_l'_r."}TA-l_. \.E'|;¢_I ,.974 64
¢ -¢'m'i roma -» ' - i»-v-. :`j¢`§... i&"g°
I-mmT“.lmll
+-I'l'l'l'ElmTll`M.
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"T-E>"'.."Im-B?m;-DU.E
11,697.99

 
    

 

 

 

RCR000000353

 

 

501
TO= Pnzczszou nRrwALL rue ++

501 N concnsss sz srs 501
DEI.¢RA'Y BCH

FL 33445

 

‘llld l.W. 13th B°URT 0 F°MFAN° BIAGH, FLOHDA 330¢8
PHGN'E 1954-l `ll‘!-ZBSI l FAX wm 942-dm

REMIT TO:

1sn0mm1au\chPOMrAnolEAmmFLsxma
AC¢.'GUNHNB AND HELB¢\SE INGMHES

Fhonl: (954| 781-2399 eFm¢: IBMJ 942-4641

 

       

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§~l\’l`ll \mLTIXIHL

*** THIS IS YDUR INVDIII ***

 

 

 

sTARTING bar 1 2005 THBRE wILL
ss 510 P/J'.Nv FU'EL summa
350 360 * mg LF 355.0000 1305.00
3 5 a' TRACK
25 cogsa
120 720 * 535 s-s Lr 355.0000 zsss.oa
3 52§* sTuD 9'
25 ucs
120 720 ~ sssas-sz LF 396.0000 2513.41
3 s/s- stun 9'2n
5 canon
040 340 * Ms- LF 293.0000 2503.20
55/8" lsrun 10'
ma
450 400 * 512? LF 205.0000 1360.00
1 5 a- §nncx
360 350 * sss-94 LF 544.0000 2163.01
6' sTuD 9' 4"
so 50 * ssr LF 527.0000 375.20
s" TnAcK
25 GAUGB
cons mumon-__+ sun 1'01'AL 12 9‘_75_. 96

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RCR000000354

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m m nf-ll”¢m II“I m

 

         
 

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_ 1MW1I\UT.FBMIEIMLFLM
' ' Awmmmw'mmnmmm--- ---
Hm\o.’ ¢Ii4| 781-288¢\|=¢!: Cli¢I 0424“1
1seooo' w 1093921-01
FRL sup
TO= ranc:s:os nnvnnna rsc ++ T°= v:LLn naao
501 n cnnnnmss nwa srs 501 anna l 1
DRLRA¥ BCl-l l'L 33445 BQ‘!NTONBEACH FL

 

 

   
   
 
  

 
 
   

 

 

 

 

 

 

 

 

 

 

 

 

 

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ST]:Z‘TIHG UCT 1 2005 m nu
33 519 P/IW m mm
340 340 " D2R].2 sr 360..00°0 5375.21
12'1mm.l“ mm 12'
68 65 * 12 SF 460 . noon 15n1.44
;Z=' mIETURB mrs'l'm 12'
_ m 4 x 12
mmmm__+ in ms Irs m Im:u **¢ I.IITQ‘|'AL 7,37§.55
- nm!u~ll.lml.l _ RII¢. G-l.»\l\€E_ 1°.9°
l mm»mu " '
. unnaman
Hl_Eol-rr‘m‘m.
FEMTM
.TATE TM 179-18
FAYIE“T anna
nmh.nh'dm
7, 865.13

 

RCRUOOOUOS?T

1100 S.W. 13th CUUHTI PDMFANU BEACH. FLM|DA 330|$
FHUNE IBW 781~23!8¢ FAX 1954-l 942-43¢0
REMT TO:
1600 SW 1”| U'T, PGMI'ANO BEACH. H. mn

ACCOUNTTNG AND RHEASE I'NDUIHES
Hlonl: 1854) 781-2399 ll F¢\¢: 1954) 942-4841

      

`_'l'k"' "")- -.-I-vI-,i\l'

16900° 2031155-01

 

Blu. sHlP
TO= mcrs:ox DRYWALL mc ++ T°= v:LLA LAGo
501 n coNGRsss mm sm 501 mm- n
umw Bm-z 1=1. 33445 soch sum FL

 

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Tmmc oc.'r12005 ms w:LL
. 1511 $10 P/nw FUEL Stmcx-mm;s
12 12 * wszT LF 0.1300 10.52
1 x 2 x 7 P'r sums EDGE
6 6 * nw br 0.1300 6.24
1 x 2 x a 91' sum ames
3 3 * mem LF 0.3500 0.10
1 x 4 x a PT sms EDGE
1 1 * wsPT LF 0.5000 4.00
x s x a PT sum ama
22 22 * 112271»1' LP 0.3300 50.50
2 x 2 x 7 P'r
41 41 * 1122021' LF 0.3300 108.24
2 x 2 x s P'L'
14 1`4 * w24ac LF 0.5100 53.04
2 x 4 x s cous'muc'r:onr
9 s * wasn LF 0.6400 46.00
2 x 4 x a PT
3 3 * 1124101=1' LF 0.6400 19.20
2 x 4 x 10 P'r
95 95 * 515.5 LF 290.0000 203.10
152§"1;$'1'01: 10'
25
40 10 * 515 'r LF 285.0000 114.00
1 sign 'rmcx
25
100 100 * sas 5-5 LF 395.0000 611.52
3 5;§' sTcm 9'
25 a
mDEB¢FLANAT|QN-"__+
'-l'|AT¢'l-!|ml.l
I-mTL¥-IFFIHAILE
¢-ITMEIIBBN.TAKMH.

 

 

 

 

RCRUUOUOO$SZ

1580 S.W. 1311 ¢WHTG mm BEI\U'|, FLORIDA md
PHQNE 1954] 781-ami FAX 1954-l 94243|0
RIiIT TC||
16” B'W 13th ¢T, P°MPANO BEAGH. H. m

ACGOUNUNG AND RH.EASE .|’NQWHB
Ph¢nl: {9541 791-2339 6 F\'K: 19541 342-4641

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\_ m..,§',,§l*§llm£l:lv 00 m

     

     

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TO= Paacrsrou DRYHALL INc ++ - T°= vILLA 1150
601 n coNGR:ss 113 511 501 uuzr 5
DELRAY sca FL 33145 ECYNTQN nance FL
~:_..:'»,\.1. #' WM ¢w§l .. `. 613"11`111"1_11.3=

  

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505. 0000
20 20 * sss-5 15 544.0000 115.52
3 3 * ssr LF 527.0000 10.01

14 14 * ssszo LF 710.0000 100.52
6- mETAL ancx:mG-zo canon

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cooe:m.mmun_-_+ *** THIS IS ¥OUR IN_'_VOICE ***

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fl 1,791.15

RCR000000351

 

  

 

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1000 S.W. 133 ¢Dl.llf¢ FDMPAND BEADH, H.DR|DA mdl
PHQNE 1950 7l1-23”° FAX [¥“l 042-4360

HEMTT roe

1600 EW 1301 ¢'l'. PUMIAN° lEA¢H. FLHBB|
A€WUNUNGAWHH.E‘SEMWHES

160000

BnL sum

TO= nnzc:s:on DRYWALL run ++ To: VILLA nasa
601 m coNGREss 103 502 501 un:r n

DELRAY BCH

FL 33445

Phorlc: I954} 781-2399 § le: l954l 942-4641

 
    

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. I'.»».;~,.=!'.¢..`.*»..`ZL-£$:.',¢.:. ‘
ST.‘AR.TI 20 5 THER.E WILL
BE $10 P/INV mL SURCED.R.GE
10 10 * WZ'IP'.|.‘ LF 0.1300 9.10
1 X 2 I 7 P'J.‘ SQUARE EDGE
10 10 * WZPT LF 0.1300 10.40
1 X 2 X B PT SQUAR.'E EDGE
4 4 * W4FT I.ll" 0.3500 11.20
1 X 4 X 8 PT BQL'|'AR.E EDGE
2 2 * WSPT LF 0.5000 8.00
1 X S 2 8 P'l'.‘ SQUBR.E EDGE
28 20 * 11227£"! LF 0.3300 64.66
2 x 2 X 7 PT
66 66 * WZZBPT LF 0..3300 174.24
2 X 2 X 8 PT
17 17 * 11248?'1' LF 0.6400 07.04
2 X 4 f 0 PT
4 4 * 112410?'1' LF 0.6400 25.€0
2 x 4 JC 10 P‘l‘
17 17 * WZ&BC LF 0.5700. 77.52
2 1 4 X 0 CONST'R.UCTIDN
130 130 * SlSBS-lO LF 298.0000 387.40
1 5 8" STUD 10'
25 E
43 43 * LF 285.0000 122.55
1 5/8" TRAC.K
25 GAUGB
180 130 * SBSBS-B LF 395.0000 541.52
3 5 8" STUD 9'
25 R
EUDED!FLANATlGN-_§

 

 

 

RCROOOUOOSSO

 
 

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1000 B.W. 13th GBUET! FGMFANG IEAG'H. H.QEIDI. ml
FHCNE 1956 nim¢ FAX ll!‘l “2-43”
BBHIT TQ:
18805\¢| 1301 E'l’. FUMIANQ l.!hCI'L H. 33008

AECDUMTNG AM'J RE.EI\SE MWNES
Phun¢: {954] 781-2399 EF\x: 1954-1 942-4&41

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lssooo 2037195-01
001 sum
T°= smscrszon DRYHLLL rue ++ TO= vILLA Laso
601 N comenzss 102 sra 501 uN:T n
nELRAY sen ' FL 33445 novumon azAcH FL

 

 

  

 

 

 

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..-.-)\-\-¢'.=i s ',. .
305.0000 65.45
LF 644.0000 113.00
5 s * ssT LF 627.0000 31.35
s" TRACK
25 shoes
14 14 * sanzo LF 710.0000 100.52
6" ME:AL aAcKING-zo shoes
mem.mo~--~J *** mrs rs mm :Nvo:cz *** 'j".'_'.??.'€‘!'.._ _`, _
::srm'ru.:_:mu j:':? ""' “"x'" . ~'.: MSF;E:FW'¢E"~,
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iYKIUTAESRHTHHE£
2,129.01

    

 

 

 

 

 

 

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1360 B.W. 1311 GCUITl P°|IFAI° 'lEMFI'L H.°NDA mel
m 1050 7'1»£”|¢'§!}¢ fm m
HE|I\IT To:
10U SW 1&11 CT. FDHPJ\||D lEA¢I'|, H. null

ASGGUN'HN@ .AND RELEASE M'DUMB
Fhol\¢: lESII 181-2309 \IFIK: llE#l 342-4541

 
   

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165°°° 2031205- 01
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T°= mcrs:cou anLL mc ++ To: wm m

601 10 comnas sz 505 501 arm 2

 

 

 

 

   

 

  

 

 

 

 
 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

umw scc-z FL 33445 50ch man 51.
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203'1205- -01 01/11/05”:;
'\-¢. _\<'\__ _ .,: v ._.
510\21-:100 001' 1 2005 mm ina
511 510 P/:Nv FUEL sum
300 300 * n ann 12 51ll 450.0000 6410.01
5 S.xP 1'1:?.50055 12'
human mss.
cunesxmAnoM----_-+ in §HIS 15 mm lmra in _SUIT¢ITAL _ _ 5 430 01
--lm'lmuml:-u ‘ mm i:"‘ la 99
l-MIH|Tllmll-l ' ` ' '
t-l'l'l'lllmll.‘l'llm ‘ l
mm "` _i'pm_;‘,ji'
Feommaanx __
mq\r_-ji_)é`_. ' 421.20
FAYHE|T jJQQ
'._' :-.20'551. Jm'.f mm
6,911.21

 

RCR000000055

1311 S.W. 13b GGURT¢’ FQMFAID BEAEH. mill mla

 
 

 

BMNE mens law moses FAx lam 042-am
\ W-Mlgamlx cn' nom 1‘0=
mm . -. mo sw 1001 =1. romano oencn. FL ms
Accom~s AND mass WQWHES

Fhon¢: 1964-l 751-2389 0 an: l954-] 942-041

 
    

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2037327 01

 

 

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150000
snL sum
T°= pmzc:s:ou DnYnALL 1Nc ++ TO= v1LLA nasa
501 N cnmsnzss sz 511 501
DELRAY 503 FL 33445 BoYNToN eahca 31

  

 

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o1/1s!0m6

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7/12/05

 

 

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STARTING OCI' 1 2005 m WILL
BE $10 P/INV FUEL SU'R.CHARGE
LF 255.0000 74.10

25 26 * 51121135
31/2_111 1/2 ANGL:
135 nscnns

 

 

 

 

 

 

 

 

 

 

cooslu=uu.mou~_+ *** TI-!IS IS Y_OUR INVCICE ***

"-ITATE Tllm¢l\\l
I- ‘|'lllmll£
4-¢1'*1'£ l m\'A$MF|.

 

 

 

 

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T°= PREc:sIoN DRVEALL INc ++

 

SH|P
T°= FLAGLER LANDING

501 N CONGR.ESS JW'E ST'E 501

 

1880 S-W. 13th C°URT\ FDMFA||D IEA¢H. mill m
FH°NE 1954-1 181-2398 8 FAX lls‘l>l m

REM|T TQ:

1660 SW 13th I.'}'T. FO\IIA||D IEACH. FL m

Acc:au~nm mo nasas£ mume
mann 19541 721-2399 o m lam 942-mi

 

203 7330- 01

 

 

 

 

   

  

 

 

 

 

 

 

 

 

DELRA'Y BCH 'FL 33445 WPB FL
“»*‘WW 1 mm M' ,-’é,=s;`;`l'§- "
203'»'330 01 07/1§/06 07 18/06
'z» ;'Fad§§e`

 

 

 

 

 

 

 

 
   
 
  
 

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7/12/06
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STAR.T TING OC.‘T 1 2005 TI-IER.E WILL
BE $10 P/Imr FUELS URCHARGB
150 150 SlSBS-ZLCM LF 271.0000 419.92
1 5é§" STUD 10'4"
25
50 50 S].SBT LF 259.0000 123.50
1 Eé_g" TR.ACK
25 UGE
5 5 BDBG EA 8.5000 42.50
DUR.ABOND 90 ST.“A~SMOOTH
mmmmau__+ nw ms 15 mm lmra in jl'-f_l_!Tg‘_\`!\_|_-_`N 591;9?
:.rmlru:m.mu . 1 >Hl.§l¢j¢W;‘ _='-":.°°"
+-l\’ITllml.TAkA|'lL
`. ..‘,.,H._~.._, _ ,T.
FEn.;um_ER__I_'Ax
- -'.‘.~ ' -'=“=.=;' '
¢UW**”€~ ,," <RFZDB;QF
PA‘MEI~|T g_go
hd§§dwapanh$nui
640.39

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1130 B.W. 13\h GDURTI FOMPANQ BEAGH. Fl./°FIIDA mi
FI'|°I'|E IIW 781-239|° FAX IM mm
RSIT m
1550 BW 1361 Ul'. milo BEAG\|¢ H. m

A CDDUNTTNG AMI HE¥.EA$E !NDWHES
thnl: l854-1 781-2399 BFnr: [954I 942-4841

 

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160000 '

2037338-01
311 us
TO= ensczsrou DRYWALL run ++ T°= v:LLA Laso
601 N cnmensss 102 511 501
nznnnr BcH en 33445 aoYNToN szAcH 11

 

 

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07/15£06
U?r ___;1..-:;»'_

 

 

 

 

 

   

sTAnTING ocT"112005 THEREG erLv
ss 510 P/INV FnELs
100 100 * sls LF zss.oauo 235.00
1 sz:" TnAcx
25 usa
so 60 * s1saszo- -10 10 495.0000 zsv.so

Sé§" STUD 20G 10'
10 UGE

 

 

 

 

 

 

 

 

 

 

memmon--_-_+ wm THIS 15 YoU-R mrcg in BI_¢lBTQTIL l _533-__5°

'- -UI\'ITAIAHLB\IL!
l~mflx m
+- -ll'lTEI mTl!I”L

 

 

 

 

 

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PR.ECISION DR.Y'NBLL INC ++

- BAN
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16” S.W. 1351 0UJRT¢ FBMPAND IEAGI. H.DRIDA am

 

SHIP
TD:

601 N CONGF.EES AV'E STE 501
FL 3344$

DELRA'Y BCH

PHQNE 19541 7l1-3359° FAX lsw 042-im
REIIT TC|:

‘ll” SW 1Ml CT, I'CMPAN° BEAGH. H. mn

ACCCUNTINB AAU RELEASE WDUWES
Phonl: 1534-1 181-2399 ll le': 19541 942-4641

 

2037344-01

FLAGLER LANDING

BLDG 5
WPB

 

 
 

 

 

 

 

 

  

  

 

 

 

 

 

 

 

 

 

 

 

 

 

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LM:M§
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.'-')'l '-'.\r.'»¢'- "',.'.'I.»- -.'.`.'-`- '-.'§-:1:;_": LL‘\".-CT='A
STARTING OCT 1 2005 THERE WILL
33 $10 P/Imr FUEL sunctm:ass
170 170 515 S-104 LF 271.0000 475.91
1 5 B" STUD 10'4"
25
200 200 SlS?T LF 253.0000 518.00
1 5 8" TRAL".'K
25 GAUGE
90 90 SESBS-ll LF 350.0000 356.40
3 sé§" sTUD 11
25 UG‘¢E
coussxnmAnm---_+ \u=* mg BMETQ'EAL l v 4 z_}M_;J;;,.?:SU-31
---r-m-»m - mw ':
"m`l'lxlml.l .~ a )l-- .v.'-¢-... w- . _ '\. . v

 

    
  

 

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1"0 S.W. 131 CUL|RTI FD|APA||U I»EA¢H. H.OR|DA 33068
PHDNE {854! 781-md FAX l!s4l m
lmsz
1180 lW 13d1 0'|’. mm BEACH. H~ mls

AC¢FOUM'ING AN.'D RELEASE INQM'BES
thl'. 1954-l 731-2359 ll Flt: 1954-l 942~4£41

 

150003"

2037312-01
alLL sHlP
TO= mcrsrou nmm'..r. nrc ++ T°= FLAGLER LANDING
501 10 ooNGsu:ss mm s'ro 501 ama 2
nm.nmr sen rL 33445 was 1'1.

 

  
   
  

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07/18/06

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.~;£"!|.. -I-‘§' :L.
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sTARTING 001 1 2005 THERE w1LL
ms1oP/1Nv FuELs suncnnnsa
2 2 * Fssja ex 51.0000 102.00
1 1 4" navthL scnzws
iam aoxr
=oo=emmmo~_--+ *** '1'1-1_15 1s 1003 nrvo:c: *** §"E.',!EI"!:. ...,.__,.M,§E?‘..°E
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**““THL` .. 1 'i§h
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fm l.H. ilthOlMT¢ POIIFIIQ IIAHLHOIDA m

m I”|'l Ili-III' FM I\Ill mm

RBITTQ¢

illl" 138\¢\'. mild lnHLFL M

 

  

DBLRA¥BCII

 

 

 

FL 33445

 

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mu. sup
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501 11 continues 1013 srs 501 anna # 1

 

 

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nom 1004|101-210001=¢0 m 041-asu

 

 

 

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0111311110 001 1 2005 1313: nunn
ss $10 P/mv 1030 mm
110 310 01231: sr 350.0000 5015.21
120 3000:.\3 mcnabb 12*
sa ss n 21112 sr 460.0000 1501.“
1 2- mzs'rmu: ms:s'rmrr 12'
mm 4 x 12
muwmn_J *** 1310 10 1003 nwozcs *** ”'”'*"_ 1'3"5'55
»- annum ' -_M n I. ._ mm lo.oo
:-l‘llli\m"#l"|. ' '
WTTM'A_L
FEDJD‘IHHTM
nunn 419.110
PA¥'I|E¢'|' o go
'!o'IFAL.m 1101
7,066.13

   
 

 

 

 

RCROOOOOOSTZ

1000 S.W. 13th OOUHT¢ POMPRNO IEA¢H. H.°ll.llll\ mo
PH{I|E IS“*I "143930 FAX 1954] 342-lim
IEIIT 'I'Di
1000 BW 1301 GT, FOI»ANO EAGH. H. wis

ABCOUN'UNG AND REL£ASE»WQ¢#HES
icns; IBW 781-2300 hFax: lBi-l») 942-4-041

\ am -
" W'M¢WM

     

        

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168000 105.9106-01

 

amL us
TG= Pnscrszou nRYwALL rNc ++ TO= v:LLA LAso
sol m cuNGRsss Ava srs 501 BLDG # 2
DELRAY aca FL 33445 no¥NToN szaca FL

 

 

 

 

 

 

 

 

STARTING OCT 1 2005 TI'IBR.B WILL
BE $10 P/INV FUEL S`URCH'ARGE

l 1440 1440 * 535 s-sz Lr ass.oono 5226.82

3 5 e” sTUD 9'2'

25 shoes

560 360 * sases- 94 Lr sss.oooo 1350.09
35/s" sTu'D 9'4"

25 ames

130 180 * 565-92 LF 644.0000 1062.52
6" STUID 3'2”
25 GAUGE

350 360 * 865-94 LF 644.0000 2163.07
5" STUD S’ 4"

360 360 * 535 T LI*' 385.0000 1385.00
3 5 B" TR`ACK
25 GAUGB

480 480 * 51585 LF 298.0000 1430.40
2515/8"15'1"013 10’

480 480 * 81585-12 LF 290.0000 1716.49
%55 8" §TUD 12 `

50 50 * SST LP 627.0000 313.50

480 480 " SIEZ;.' L? 255.0000 1368.00

 

 

 

 

 

 

 

 

 

consemurnoN----+ *** '_I'HIS IS YOUR IIWDICE ***
'.HATI‘|'MAFI\MLE
I-mTAXAm-l
¢.ITATElmLTAXAM.

 

 

 

 

 

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17, 046. 69

RCRODOBOUSTZ

 

 

601 N CDNGRESS AVE STE 501
FL 33445

DELRAI BCH

WNEH supply co

 
   

1000 S.W. 1301 I:U|JRTI FOMPANO lEAU'l, FLOH|DA 31009
PH°NE law 131-2380 FAX 1959 m

lIEMIT 1'01

10008\\' 1301 G'T, PD|PA||U IEAE'l. FL m
ACCC|UN`UNGAMJ RELEASE »WDWR|ES

..' - .,~- :`¢.r..--'

lssuoo

smL saw

TO= Pnsc:s:oN nnYwALL :Nc ++ TO= v:LLA LAG°

BLDG-2 5TH FLOOR
BDYNTON BEACH FL

Phonl: lis¢l 131-230| lF\ll: IBW 042-4541

 

1099111-01

 

 

 

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d 01/19/05

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

sTART:Nd;ocT 1 2005 THERE szL
ss 510 P/:Nv 1011 suncnanea
1 1 NoTEs EA 0.0001 0.00
51H FLooa
504 504 wzzePT LF 0.3300 1330.56
21 x a 91
504 504 wzz?PT LF 0.3300 1154.71
_ 2 x 2 x 1 P1
50 50 w24 LF 0.6400 256.00
zxB 4 PTx s 91
°°“EE’WM“°~_-, *** 1111§ 15 1001 1Nvo1cE \~** §Py_l°`_[§';* _____ _._ _¥,`_ j 15,1-2'7
undernsz ' mM_": '-:?¢€'"'3;-§_'_1&{¢3§_°:
l-m?lxmLi '
+-I'l’lnlml'l’.\‘m
z¥¥;1011h1w1n1r non
2, 940. 10

 

 

 

 

 

 

 

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1”||6¢". Ilheolmlmmmu'lrm m
ml“‘l nim¢mllmm
m'l"l'B'

1”" 1851¢1',ml5l@|.5lm

 

   

TD= ocsc:s:om nn!unLL 110 ++ T°= erLa 1100
001 n cousnsss ass 011 501 sane # 1
nnnnx! aca FL 13445 ao!nwon eahca FL

 

BT TIIIG OCT l 2005 m HILL
PIW FU'.EL SUR.CB\RGH

BE /IW
340 340 * 2312 Sl’ 360.0000 581'5.21
1 2" REGULRR mm 12'
4 f 12
Sl 63 * D 1112 El! 460.0000 1501.44
§ 2" ml;l'!gl§:mfm 12' _

419

 

 

 

 

 

 

 

 

 

 

commum-_._+ mm ms 15 m lmra *~n NIT¢ITAL 713'_76-55
--ummmm M¢Sl'.'._. GMA_NE l._° _.Q°
l'ml“lm\l
* "mlmf"lm-

Hd`eu'r‘ru‘r_u_.
E°Jom TM
\TATE T_k_f 479,45

 

 

FAYMENT
7 , 866 . 13

RCR000000571

 

 

 

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‘lm B.W. 1301 DQUIT\I POMFAN° BEAGH, FL°NDA m
PHONI [954| 781-23890 FAX Im) m
REMIT TO:
1660 EW 138| C"|', FDMIAHO BEA¢H, Fl. mn

ACQOUN'NNG AND RELBMSEINEWRIES
Phom: I954) 781-23" ¢le: IBB¢|»I 842-4641

   

._,.`1._*'_-`.._,-'

155000 1099247-01
leL sHlP
TO= 222015102 mem 110 ++ T°= vrr..m 1200

501 N 00202255 222 512 501 summa 2

221221 202 1:. 33445 2251 announce

BOYNTON BEACH FL

 

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07/20/05

 

  

 

 

 

 

 

 

 

512211110 001 1 2005 12222 wILL
152 510 P/INV 2022 sURc'_FmRGE
1 1 * No'rs2 22 0.0001 0.00
souTz-x ann 01 BUILDING
1 1 * 20122 22 0.0001 0.00
151 22002
72 22 * DJCUSG 22 13.1000 943.20
norm ooMPoUND U.s.G.
5 GAL FAL 1156
1 1 * No'rss 22 0.0001 0.00
222 FLooR
4a 4a * 13.1000 625.50
JoIN'rG comm 0. s. G.
sam Pm‘..u
1 1 * 1101-25 22 0.0001 0.00
320 men
72 12 1 names q&,- 22 13.1000 945.20
Jo:m' comm U. s. G.
5 GAL 2222
1 1 * No'rss 22 0.0001 0.00
412 moon
72 72 * messrs 22 13.1000 943.20
101111 comm U.s.G.
5 ama PAL USG
1 1 * 20122 22 0.0001 0.00
512 noon
24 24 * names lam 13.1000 314.40
501111 comm U.s.G.
s 222 PAL 1150
1 1 * 20122 22 0.0001 0.00
612 moon
commamn__--{

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I-Mm .lFPl-IWL¥
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RCROOOOUOSBB

 

 

153000 7

BlLL

T°= Pn.zczszcm nom 1110 ++
501 2 comnas 2112 512 501

 

1000 B.W. 13d\ GWR'|'O FGHPANQ IEAEH. H-DH|D'A 330“
FHONE 1554 781-mi FAX 1984-1 942-4350
RE“IT TD:
1890 S\'l 1311 ¢T¢ PUI|,AN§ BEACH, FLSS°BI

ACCDUN'HNG AND HE!.EASE!NGWHES
Phonc: 1854-l 781-2389 0 Fn¢: lBE¢l 942-4841

_...`A..i.’-Wz-,J-’.»-- .~:
10 99247-01

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T°= v:LLA 1220
summons 2

 

    

 

 

 

 

 

 

 

 

 

 

 

  
  

 

 

 

 

 

 

 

 

 

 

 

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norman 522::11 FL
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96 ss * nqusG 22" 13.1000 1257.50~[“
Joru'r comm u.s.G.
s GAL PAL UsG
1 1 * 110125 22 0.0001 0.00
2101 noon
104 104 * 2090 22 a.soon 524.00
nmsozm 90 sTA-smoTr-:
conemm.moN-__+ *** ‘.'|.'HIS IS YCUR _INVDICE *** su'.,T.o.TM 5' ':-5-1.4.'~ 49-
v,n.mrnxvnm _; . ~ -" `
I-mTA!-w
$¢I'IITEImLTAxm
WWF"'~ ames
PAYMEJT Q_j°
noe-s+. .
491 ¢/é

RCRUOUOOUSTD

1000 S.W. 13th C°URT 0 FDMPAN° BEAG'L FLM\DA ma
FHDNE 1954-l 181-2388¢ FAX ll§‘l 942-4380
H.EMlT TD'\
1060 SW 1381 l=`l', FBM'AN° IEI¢H.FL ms

ACL'OUN?TNG .IN.'D EH.EASE WDWHES
Pho¢\a: I¥54-l 751-2333 ¢FI!: llE4-] 842-4841

- BANN
\ m-m§¢Ml-"z§£

          

155000 1099511-01
alLL sHlP
TO= 9221:151011 nnmn nrc ++ T°= 11111.2 1200

501 11 coNGRESS 212 512 501

1121.221 2c1~1 22 334-15 20ch mm 21.

 

  
 

1099511- 01

 

' .“~"W"TT ..f'.`

   
   
     

       

 

 

 

 

 

`07/_,(0510.21 35

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STAR.TINé OCT 1 2005 THER.E WILL
-BE$lO P/IIW' FUEL SURCHARG

1 l * NDTES EA 0.0001 D.DO
R.EF 109818'7

71 PCSWALK UPTO
GTI'I FLR. FR.OM STH

71 71 * DS EA 2.1000 149.10

smanG~mmm-maosa
- - --1121 rmvorcs -----

 

 

 

 

 

 

 

 

 

 

oooeeo=uua'noN-__+ *** 'l'I-IIS IS OUR INVOICE ***
--rrmmumm f YWV 'i 5

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222212

 

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'|¢m'l'hl(lml.i
+-l'l'l'l'EImTM IFF|_

 

 

 

 

 

 

 

RCR000000356

10” S.W. 13th OOURTl| PDH.PAN° lE.II`§H, FL°R|DA m
FHOHE las-li 701-mill FAX ll“l 942-4360
REMIT T°:
1000 BW 13b GT. FI'.IMII~ND IEM;H, FL 3m

A€CDUN'HNG AND mEASE INGU!HES
Fhun¢: 1954-l 7l1-2399 l FI::: (954] 942-4841

     

"',,"J .. - .r..` ..: 1..,,\¢.'...-\. -.1-;€%."1.,3:?..'
165000 1093512- 01
BnL SmP
TO= ymsczszou nnrmeL INc ++ T°= v:LLA LAGO
601 N cDNGnEss AvE sTE 501
nELRAY BcH FL 33445 ao!umou BsAcH FL

 

 
 
 

 

.’.".\‘r ,$ - . lr:d:W-i§£¥"; § '1‘=.»- . .\:-'
1095512- 01 133 07/21/06
__ \ .. v-c .:\ _»

_ ryland v. _.

 

--E*-"i E. ._¢:¥-.-o:_»_~`_..

,.. __-.,,,M-.- -_. ... ._`-

07_/2_5/06 10 23: 33

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?".'“.,» .»i-.- -M- -...

   

 

 

 

 

 

 

 

     

STJ\RT TING OCT l 2005 THERE WILL
BE $10 P/IN'V FUEL B'URCEIARGE

1 1 * NDTE S EA 0.0001 0.00
R.`EF 1098901
8 PICGS

3 3 * DS EA 25.0000 200.00
STOCKING-MATERIAL-L'ABOR
----NET INVOICE -----

 

 

 

 

 

 

 

 

 

 

SCDE D¢FLANAT|UN -_'_'J

'-lw'l'w¢ml.l
l-mna
+-ITITIINTMAM

wl'_ro|'rAL _ __ 200.00_

 

 

 

 

 

RCR000000357

10” $.W. 1301 GDUHT ¢ PUMPANB IEAGH, H..QF\DA M
FI'IONE {.54\ 181-2300¢ FAX {l“l mm
BEH|'|' TO:
1000 SW 13_1\ ¢T, PQ|||ANO IEAGH. FL mn

44chan AM mE|SE MDU|'HES
Phom: {954\ 751-2399¢ Fu: i954] 042-4841

     

'163001=' ' n

Bu.\. sHIP

'l'°= moslon hamm mc ++ TO= FLAGLER monte
501 N comnass mrs s'm 501 13an 1 mm 2
nmu am FL 33445 m ma

203 7502-01

 

;T¢~-'.': ."L- `a. s . ..¢.- ..¢..¢~..- '..'.

2037602-01

 

 

 

 

 

 

 

 

 

¢:‘."\'. l-'<. tE.-.`:
sTART:l:NG ocr 1 2005 THERE w:l:LL
BE 510 PINv/ FUEL sun max

24 24 *451\7 CN 7.6000 182.40
#847 SPRA'{ HESIVE l2CS
15.5 OITRIM TEX.

 

 

 

 

 

 

 

 

 

mmmon_--J' *** mrs zs Yo\m INvo:l:cE ***
--m\'lm¢nmum '_ = 1' ‘ "***" ""'*"1¢
|'m`\'hlmli
'|'-l'r\\nlm'l’llm

 

 

 

 

RCROOOOOOSDZ

1000 l.W. 13th GOUHT¢FDHFANO lEASH. FLGRIDA m
PHUNE l954~| 701-2590 FAX llw 042-4300
REMH’ TO:
1000 SW 13th 01’, PCWANQ IEADH. H. 33109

AGC°UN'H'NB ANT»' .RE'.EASE INGWHES
F|w¢\l: [054} 781-2300 0 Fux: 10541042-4641

   
 
   
 
 
  
  
      

 

 

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.... .»....\....v. .-- )-.. .

168000

BlLL

TO= mc1s:oN mm 1100 ++
501 11 comnas mrs 512 501
DELRAY BCH FL 33445

 

  
  
 

     

\:-G~"', who _- _ \.. .
.-=': v;:mHW...»$s
.-"A ¢** .»¢-v€ J,¢* ‘\" .

2037640 01

- diaz i.__., _ ._\ v M`A l
..m bg :'_-.'- --:»'-¢¢.`§\ g =_. §E§_""/- .

07/20/06

   
 

 

 

 

    

 

 

 

 

    

START1NG OCTH

2005 nms nunn
an $10 P/INv' FUEL sunc:mRGE
l 1 * mens m 0.0001 0.00
0111'1' 11
s s * wz'n='r LF 0.1300 7.28
x 2 x '1 01 sums EDGE
5 5 * w2P1‘ LF 0.1300 5.20
1 x 2 x a 91 squares EDGB
1 1 * mm LF 0.3500 2.00
1 x 4 x a PT sam EDGE
1 1 * WSPT LF 0.5000 4.00
1 x 6 x a P'r scasz EDGE
40 40 * wzz'n='r LF 0.3300 92.44
2 x 2 X 7 PT
46 45 * wzzap'r LF 0.3300 121.44
2 x 2 x a P'r
11 11 * W248PT LF 0.6400 56.32
2 x 4 x a PT
3 3 * w241011 LF 0.6400 13.20

2 X 4 X 10 PT

 

 

 

 

 

 

 

 

 

con¢_¢mmm~_+ *** 1315 15 1003 11wo10_z ***
-aumnmunnnu °‘ "' "
l-mlllTl-T-l!lml
.-lTI"-m?*xm

 

 

 

 

 

RCR000000368'

1600 I.W. 1311 G°URT¢FWPAN° BEA¢H.- FLURID)\ mn
PHGNE 1934 781-2892¢ FAX 19541 m
REII|T T°:
‘|IN SW 1311 C'l', PO\IANO BEA¢H. FL 330”

ABGEUNTJWE AM RE.EASEMME$
Phllrle: '|9541 781-2395 l Fv.': I954) 942~4341

 
    

r__p- .\._

     

`-~';~.:Hr..'.

168000 2037542-01

BmL smP

TO= mc:s:ou nmm:u'..L nrc ++ TO= wLLA 1200
601 N cnncnzss 112 srs 501 2100 2
oaLRAY sen 21 13445 ann 11002

    
   

 

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. nw '1;`_\.\'_

07/21/°€

 

 

 

  

 

 

 

 

 

      
 

    

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BTARTING OCTJ. 2005 THERE WILL
BB$lU P/INV FUEL SURCHIARGE

 

1 1 * NoTBs ma 0.0001 0.00
UNIT B(z UNITS}
24 24 * wz'n='r 1.1' 0.1300 21.03
1 x 2 x 1 111 scm ms
12 12 1 1121»1' LF 0.1300 12.41
1 x 2 x 1 1='1' sams ms
6 6 * mPT LF 0.3500 16.80
1x4xaPTSQmEEDGE
2 2 * wsPT LF 0.5000 3.00
x 6 x a PT sam ames
44 44 * 1122va LF 0.3300 101.60
2 x 2 x 7 PT
82 82 * 112st LF 0.3300 216.40
2 x 2 x a 1"1'
18 18 * 112401'1' 1.1' 0.6400 92.16
2 x 4 x a psr
6 6 * 1124101='2 Lr 0.6400 30.40
2 x 4 x 10 1'1' ‘

 

 

 

 

 

 

 

 

 

contexnmmou_---+ *** THIS IS YOUR _Il!l~l_'VQI_C'._E ***

'- -ITA‘|'¢"A¥AMAIL}
f- m
¢L~I'|'lTI l mTMAHL

 

 

 

 

 

RCRUUOOUOSBT

1"0 B.W. 1391 came PolllANn lEA¢l-l, H.QR|DA mci
F!'lDNE 1959 711-2115- F»\X l¥l4! mw
REMIT Tn:
non sw 1301 \'.'T. mmc sum H. amos

AOGUUMINGAND RELEASE!MMN‘ES
Pbun¢= lBEd»l 781~2339 ¢ Fm:: ¢9541 842-4841

   

"\ BAN
\. m_n§£,§‘§g;£w co. l

168°°° 2032643- 01

     

mu. san

TD= userson mm mc ++ TO= v11.LA LAGo
501 14 comnas mm s'rs 501 anna 2
amy BCH FL 33445 ma noon

 

  

--3 ~...-

07/20/06

¢‘2- -w. olm-
-' 1.1-`§ .!E

»-\.¢.--

 
  

  

 

 

 

 

 

   
 

 

 

STARTING OCT 1 2005 THERE WILL
PINV/ FUEL SURCHARGE

BE $10
1 l * mens m ` 0.0001 0.00
umw c(2 st)
24 24 * w21P1' Lr 0.1300 21.83
1 x 2 x 1 21 sums EDGE
22 22 * szT 1.1 0.1300 22.aa
1 x 2 x a 1=1' sums mass
2 2 * mm 1.1' o.asoo s.su
1 x 4 x a 21 sam goss
2 2 * wsm mr 0.5000 a.oo
x 6 X B PT SQULRE EDGE
so ao * vusz 1.1' 0.3300 154.51
2 x 2 x 1 21 -
92 92 * wzzap'r 1.1 0.3300 242.ss
2 x 2 x a 21
22 22 * w24s:-1 1.2 0.6400 112.64
2 x 4 x s P'r
6 6 * w24101=1' Lr 0.6400 33.40
2 x 4 x 10 P'r

 

 

 

 

 

 

 

 

 

meanw.mm-_-$ *** 1111$ 1s_ 11qu 1_w__01_cs ***
`l' -M'

"-l!'"l'l'l¢ ml-l
l-m'l'hxm.l
1--'1"1'. m`l'.\flm_

 

 

 

 

 

RCR000000359

 

 

160000
niu.

 

TO= 222czsron DRYNALL 1Nc ++
501 m cnnensss 222 512 501
21 13445

DE¢RAY BCH

 

1660 B.W. 1311 CQUH'I'¢ ?QMF»\ND BEACH. FLURIDA mn
FHDNE lsi‘l 751-239|¢FAX 1934 m
REMIT TD:
1060 SW 1301 U'l'. POMIANO BEAGH. H. ms

A¢OUUN'ITNG ANB MSE INDWHFES
Phonl: 1954-l 151-2389 ole: 1954-l 942-4641

 

2037644- -01

SHIP

TO= vILLA 1200
BLDG 2
220 21002
2012101 nEAcH 21

 

  

 

 

 

 

 

 

 

 

 

 

 

 

     

 

 

 

 

    

   

 

 

 

 

.22§§2§1£".
91!19106
~. 11 ..~ 021 Whhw
sTART1NG 0c112005 THBRE wILL
22 510 2/1Nv 2021 suacHARGE
1 1 NDTBS 22 0.0001 0.00
uNIT D{2 UNITS)
20 20 w272T 22 0.1300 15.19
1 x 2 x 7 21 sQUARE EDGE
20 20 2221 22 0.1300 20.00
1 x 2 x s 21 souARB EDGE
8 8 w421 LF 0.3500 22.40
1 x 4 x a 21 sQuARB 2002
4 4 wsPT 12 0.5000 16.00
1 x s x a 21 500222 EDGE
56 56 w22721 LF 0.3300 129.41
2 x 2 x 7 21
132 132 W22521 LF 0.3300 348.45
2 x 2 x a 21
34 34 w24621 12 0.5400 174.00
2 x 4 x a 21
B 8 w241021 Lr 0.6400 51.20
2 x 4 x 10 21
COBE EXFL»\NA‘!'!DN --------Jl

'-
+-l'l'-\`|'El mfg IFFL

*** THIS I_S YOUR INVDICE_***

 

 

 

 

RCRUUOOOOSSO

1660 B.W. 1310 GOURT l F°MFANO BEAGH, FLQH|'DA mn
FHQNE llSd-l 781-»239‘|| FAX lim 943~4306
F\E\|l'l' T°:
16” SW 13th U`I'. mm BEAGH. FL mls

ACCDUNTING AND .RE.L£ASE !NQU!HES
Fhone: I954} 761-2399 ¢F\x: 1954-b m-BM

     

160000 2031547- 01

BlLL sHlP

TO= Pn.sczs:con mmm:.r. nrc ++ T°= v:LLA 1220
601 N coNGREss mm 511 501 2110 2 ’
mann scm 21 33445 ann 21001

 

   

 

 

 
   
 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

     

" ` .. M '--£i_-‘.#'.S.'.£ N§Sm--
2032647- 01 01/21/05
' ` F"‘ ` " " _`._" . _ ' ‘ `1~15‘£.:
summa-021 1 2005 13222 2111
21 510 2/1Nv 2011 sums
1 1 * mTEs m 0.0001 0.00
. mu'r A
a a 1 22121 12 0.1300 1.20
1 1 2 x 7 21 scm 2001
5 5 * 2221 12 0.1300 5.20
1 x 2 x 0 21 sqmns 1001
3 3 * 2421 12 0.3500 0.40
1 x 4 x 5 21 sounds 1001
1 1 * 2521 12 0. 5000 4. 00
1 x s x a 21 sums 1102
11 11 1 w22121 12 0.3300 25.42
2 x 2 x 1 21
19 19 * 222021 12 0.3300 50.15
2 x 2 x a 22
7 1 * w2401=1 12 0.5400 35.04
2 x 4 x s 21
2 2 * w241021 12 0.6400 12.50
2 x 4 x 10 21
wommmo~----$` *“ 1211.5_ _15 2002 :Nv01_cB *** LE‘-'EI°I§.'~=._..
' ITM'ITAKm - ¢
-m?hl»\mu . , .. -
¢-I'VITIIFH!IhLTAKIHL

 

 

 

 

RCR000000361

1300 S.W. 1321 MURT l FOMFAND BEM=H¢ ml ml
Fl'lDIE lIEI~l 751-1315 0 F.\X {Bl|I-l 342-laid
REM|T TQ:
1080 EW 1Rh C'l', PDIIPAH° BEAEH¢ FL m£

AcGOUN'ITNG A.NU RE££ASE MUWES
P\'luni: 13543 751-2355 0 Fm¢: 1954-l 942-4641

1 am _
\ m.,¢{',§n?§vm£lm cu. v

        

 
 
  

    

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1€8°°¢3 203 7643-01

 

o\LL sHlP

TO= enactst nrcme mc ++ T°= v:LLA mo
501 N comes mrs s'rz 501 anne 2
manor sca FL 33445 ann noon

BOYNTON BEACH FL

 

 

 

 

 

 

   

sTART:NG bc1'1200`§ THERE w:LL
mmc-13

BE $10 P/J:Nv FUEL s
1 1 * morse BA 0.0001 0.00
UNI'r 3(2 um'rs}
24 24 * vuva LF 0.1300 21.83
1 x 2 x 7 P'r sQUAR.E goss
12 12 * wzp'r z.r 0.130:» 12.4|
lzzstTSQuARBEDGE }
6 6 * mm LF 0.3500 16.80
1 x 4 x s P‘r sam ames
2 2 * wsP'r LF o.suoo a.oo
1 x s x a P'r sums BDGB
44 44 * 1112va LF o.aaoo 101.68
2 x 2 x 7 FI
82 82 * "228?2‘ LF 0.3300 216.48
2 x 2 x a PT
18 la * w24sP1' . LF 0.6400 92.16
2 x 4 x s'PT
6 6 * w241o1'1' LF o.s¢oo 38.40

ZX4XJ.OPT

 

 

 

 

 

 

 

 

 

=uo=wuumou-----+ *** '_J.'HIS Is _Yot_m WICE ***
hindran
i-II.I'|'|E‘I‘|'IXII\I=¢ILI
i-IWANIHHILTA!»\FH.

 

 

 

 

 

RCRODUOOUSSZ

1Ill S.W. 13|\ OOUK`|'¢POMFANG BEAGH, FLOR!DA ma
FHUNE 1959 'll`!~m!¢ 'FAX ll$$] wm
REHIT T°:
1510 EW 1381 U'l°, WAI|U IEACH. H. 330"

ACCOUNUNB AM HE.HSEINGMFN`ES
Fhonl: 1954-1 181-2339 ll le: lB$d-l 942-4641

   

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\ m_,§",§.§l”!£um 00.

       

-¢r`;-~'.".".\.') ~ .:n..R,-' -..-'..-:~' £¢§M\ -"-'{-l':::
160000 2037652- -01
olLL sl-llP
T°= P:u:c:sIoN mm nrc ++ T°= vILLA mo
601 N compass mm s'rs 501 anna 2
umw ear FL 334-15 320 moon

 

  
  
 
  
 

221 WW§EEW@“H§* é`sFYMfTY¢‘“”"`"l

2037652- 01

  

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1201

-s'l

 

 

 

 

 

 

 

 
  

 

 

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sm ARING ocr 1 2005 THERE w:LL
BE $10 P/INV FUEL SURCHJAR.GE

1 1 7 NoTEs ga 0.0001 0.00
_ ' mr c(z um‘rS)
24 24 * ur271=~r LF 0.1300 21.03
1 x 2 x 7 P'r sam 2022
22 22 * vesz LF 0 . 1300 22. 00
1 x 2 x a p'r sonam ms
2 2 * m.PT LF 0.3500 5.60
1 x 4 x a P'r sam noon
2 2 * wsPT LF 0.5000 0.00
1 x s x 0 PT sam EDGE
80 30 * w227PT LF 0.3300 104.87
2 x 2 x 7 P'r
92 52 * w2201=1' LF 0.3300 242.00
2 x 2 x a P'r
22 22 * w2401>1' LF 0.6400 112.64
2 x 4 x 0 P'r
6 s * w24109'r Lr 0.6400 30.40

214110?'1'

03

 

 

 

 

 

 

 

 

 

cooesxpw¢moN-_* *** THIS IS 'YOU'R

  

+-I'\'ATI l mk‘l‘&¥ IFFL

 

 

 

 

RCRUOUOOUBBS

16¢£| S.W. 13th G°IJRTI mm IE¢IG'L H.DMDA BUBB
FHNE 1950 781-239!¢FAX 1954| 94243¢0
BEH|T TCI:
1800 BW 13||1 ¢T. PMANC BEAUH. FL mai

ACCOUNWNB AN'D RE.£ASE MUIR|'ES
Fhunl: f954l 781-2399 tle:: IBE‘$} 942-4841

    

 

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\ _,,,_,_¥,F__B_$ll___g_l_uv 00.

        

`::'": v MNB` 'c;" = ___' '_ ,,1`,'.,-..__.¢-`_~__.1'1,&-_'»' ~_-.. '
160000 2037653-01
011 us
TO= anc:sroN onwwALL 100 ++ TO= vILLA 1100

501 w coNGREss 202 212 501 BLDG 2
nanAx aca 21 31445 320 21002

BOYNTON BEACH FL

 

x _ g,. .r._ m_ _ _.._______._ ____ ___,._ _.\,,~.._\ . ~'___
-1--§- E\-EE:~'°'- !’.1'.`, ` :°-/§,4 s\&i...".`$;'l _ m“;m __ . ¢ '},,

[ 2037653- 01 07[20/06

 

  

 

 

 

 

 

  
 

 

 

 

 

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"_.r‘..',:-_~|..l- -,{:L'.'-"_.. \._1,¢

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11'1'"‘~`-"

'01127 cna 002112005 72222€ winn
ns 510 P/:Nv 2021 sunm

1 1 * TES EA 0.0001 0.00
'C|NIT D(Z UN`ITS)
20 20 * W27PT LF 0.1300 18.19
1 X 2 X 7 PT EQUT!R.E EDGE
20 20 * WZPT Ll" 0.1300 20.80
1 X 2 X 8 P'.f' SQURRE EDGE
a 8 * W4PT LF 0.3500 22.40
1 X 4 X 8 PT SQUARE EDGE
4 4 * WGFT LF 0.5000 16.00
\ l x 6 X B PT SQUL'R.E EDGE
55 56 * 'K22'7P'I.' LF 0.3300 ' 129.41
2 X 2 X 7 PT
132 132 *' WZZBPT LF 0.3300 348.48
2 X 2 X. 8 P'.L'
34 34 * W24lP‘T LF 0.6400 174.08
2 X 4 1 8 PT
a 8 * W2410P'.'1' LF 0.6&00 51.20
2 1 4 I 10 PT

 

 

 

 

 

 

 

 

 

moEExPLANA'MN *** THIS IB 'YQU'R _1`N'VOICE *_'**
'-lTlTlTMmI-.I ' .
'-m'l'|lm
i-I|.'.I'l'i\m\‘llA!lL

 

 

 

 

 

` .
t 041.30

RCR000000384

1000 S.W. 1311 EDUHT l FUMPA|'IO BEA¢H. FLDRDA m
FHDN! |$H»l "1-23830 FAX (934! 942-4380
EMHTU
1060 SW 1351 G"l'. FOMM\NC £EAGH, H. mw

AL`COUNTTNG AND HEEASEMUWES
th¢: 10541 101-2300 »Fw {ss¢) 942-4041

`\ §,,AM,F§_§_|;|_|:__PLY 60. ___

            

168000
BlLL SH[p
T°= Pnzr.':s:oN hamm nrc ++ TO= mm mo
601 m comnas Avn sTE 501
nunn sca FL 134-15 BoYNToN men n

 

s ;".~:._Tg -C‘ ~.“M&@m
~ ’~ 1 .w'!.§..\ __y:'-..,.w. . ,.,.,'

133 07 20 05
r§?_j,_\/-'- \.{.\.. v_

      

 

 

   

 

 

 

 

   

smT1N0 001 2005-mm w:l:LL
as $10 P/mv man moines

600 600 * 5158520-10 Lr 496.0000 2976.00
1 5 al sm 200 10'
375 375 * snmo mr 416.0000 1560.00
1 16_1_ x :l. 1/2 ANGLE
20 UGE

1 l * BI 115.0000 115.00
E_ZJ.E"B°_: TE¥£ FRAMING SCR.EW

§

 

 

 

 

 

 

 

 

 

cansm.mo~_~_+ *** 1015 __1_s_ Y_otm 1Nv01_c_s_ ***

-m
+- l'|`lTIl mTAXIlH.

 

 

 

 

 

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F 4, 963. 32

RCRDOUDUOSSS

‘lm B.W. 13\+\ ECUBTIPGMP.INO HEAGH. FLOR]D# m
H-|BN`E (9!4| 181-m v FAX {I$ll-l 914-43!0
REH|T TD:
1630 SW 131|1 ¢'l'. PD|IPANO !EA¢H. H. mdl

A¢€OUNHNG ANB mEASE Mb¥m
Fh¢lr\l: 195-14 781-2393 0 F'lx: {354-'| 842'-4841

 

       

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_. ny .. . _.. - .'<.-= -'
~ :, ,`__,_-,_.~ -u&“;‘,`-d §j..'.»;.s`_' 51th --+ -ws¢~ ._L" "'::
lssooo 203?676~01
ma smP
TO= PREc:s:oN nnYWALL INc ++ TO= v:LLA LAGo

601 N coNGREss nwa sra 501

DELRAY acH FL 33445 BOYNTQN BEACH FL

 

 
 

 

 

 

 

2037575-01

 

 

‘.°f‘_ ~<\ ag:»:v".")~

 

 

 

 

 

BTAR.TING GCT712005 m WILL
BE $10 P/IN'V' F'UEL SURCHAR.GE

5 5 * M'PWFT EA 5.5000 27.50
PLASTER WIN'DOW FRAME TAPE
2" R.ED TAPE

 

 

 

 

 

 

 

 

 

ccoeaWNAncN-_--!` *** THIS IS YOUR NVOICE ***

‘-l'l’lTllmTlxl-FFL

 

 

 

 

 

RCRODOOOOSBB

1380 S.W. 1301 GOL|ETi FOMI'MO IEAGH, FLOR|DA mdl
PHU!|E lli"l 78143¢|¢ FAX |IEIl-) mm
BEHI' TD:
16|0 ¢W 1301\ CT, FBMFANU lEAH-|. H. m

AC¢GUN!TNG A.M RELE¢.SE INQUW$
th¢: {954| 731-2399 ¢le: I8541 942-4541

 

 

 

     

 

h$h@diir¥f#f~ -MoW`f" _.
150000 203‘1715- 01
olLL sHlP
TO= mclaren nnmz. nrc ++ To: mm ucc
501 N coNGP.Ess AVE s'm 501 uns'r amc
nathan san FL 33445 ramon mar FL

 

w$¥?¢iwye

7 2037'11§~01

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

umwa ocr 1 2000 mrs w:LL
ma $10P/1Nv FUEL suncc-IARGE
130 130 * 3150520- 10 mr 496.0000 644.30
155£§"§1110 200 10'
0 UGE
150 150 * 31121».20 mr 416.0000 624.00
1 lé§ x 1 1/2 mens
20 UGE
=°=EMA“='~--_-" *** TH:£: I_s Y0mz vao_:cs *** §P!I?T*!-_ q
¢-I‘rn‘rl'rl\x mm .' '. lew _
l-m-M-T¢\Imll.l v - v . ,_....
+-S\'A'|llm‘|‘lll.\”l..

 

 

 

 

 

RCRDDOOOOBSB

1880 S.W. 131|\ GOUHT¢ NMFRNO BEABH. FL°HDA ml
PHQNE IIE'!»| 111439'| FAX 1959 mm
I\EMIT TD:
1060 SW 13th ¢T. PBWAND IEAGH. FL mn

ACCDUN'HNG AND RREASE |NDUI'HES
Fhr.I\l: {954) 151-2398 0 Fl1¢: llEll»l 942-mi

     
     

153°°1’ 2037510- -01

sn.L 5HlP

TO= PF.EI:ISION nn¥wALL nrc ++ T°= FLAGLEP. LAm)mG
501 N comes mm 515 501
DELRM scm Fr. 33445 wpa FL

 

 

 
 
 
 
  

 

 

 

 

 

 

 

MW`T“’.,»*=~.““"Y Wm.“,` -;z.
07/21 0_6 _ l 07 21[_-0€

wu - -` »-\.»

     

 

 

 

 

 

M: ..';.

_ .'.M-__" -.c*:: ./rl'i.'.. -_.".0».\.' -~"an"- -

STARTING OC.'I.' 1 2005 TEERE WILL
BEl$ 0 P/INV' pum.s UUARGE

1 1 * NOTES EA D. DDD]. 0 . 00
RBF 2037344
1 PKG

1 1 * DB EA 25.0000 25.00
STOC'.'KING-MAT'ERIAL-LABOR

_. ----m mvorcE----~

 

 

 

 

 

 

 

 

 

 

wswmmou-_-+ “* mrs rs Yotm :NvoICE *** ‘.‘."".°I'f"
¢-lrm'mnn.mm - -‘ .MMW_ __-

   

_:_§. .W

   

¢--II’ITEImLT“l”L

 

 

 

 

RCR000000301

1610 E.W. 13th CQUHT l FDMPANG lE\DH. FLOBIDA 3069
PHCNEII5417l1-ZB$B° FAX IM 1434-380
REM|`|' TD:
1000 SW 1301 DT. FCIDANU BEAEH. FL m

AGGOUNTING AND m£ASEMl#NES
Phon!= 1950 751-2389 vFl:¢.' ¢954| 942-4641

 

       
        

'-_ MW¥M'( z . 'A\,'.=.L'.-L-_'i._”,.b'.--\.T'.‘.t‘l¢'»§
100000 2031015-01
alLL sHlF
TO= mc:s:ou DRYwALL mc ++ T°= vILLA mo
001 11 moss ms scm 501
baum scm FL 33445 soch nance Fr.

 

 
 

 

      

 

 

 

 

 

  

__.v)_.v\"""z, .\v z ..'.l
2031015- 01 133 01/21[__
'. 1 ` _ , .l 11 "_.~"- ... . \.=

 

 

 

 

STARTING 0CT"12005 THER.E WILL
BE$lD P/INV FUEL SURCHARGB

1 1 * morzs nn , 0.0001 0.00
131 2031190,100,102,101
191 103
s Ptas

8 a * ns nn 25.0000 200.00
swocx:NG-uATERIAL-Lanon
___-nar 1Nvo1cz -----

QQCSTYE§J

    

 

 

 

 

 

 

 

 

cwEEXPLNlAnoN-__+ *** ms rs rem INVD:ECE ¢-~1-11» NITCTAL

y n ..»..,_. _.,
-.rrm~rumu MMW
a-m.mnnnxamm ,. ...\ .“_
¢.rrmamwnm.

   

 

 

 

RCROODOOOSBS

1950 S.W. 131|1 CQUBT¢ FDI||PAND IEAUH, FLDHDA wl!
FHUFIE lls¢l n1-23¥9° FAX 1954} mm
HBI'I' To£
1600 SW 1311 CT, FO|»DAND IEIU'L H. m“

AcGDUNUNGAND !E.£ASE .WGWH'E$
Fhml: [8541 181-2390 d le: 1854] 942-4641

       

__ `__`f_num"$m, 1 _r __
155000 1055312-01
olLL sHlP
TO= 5510151011 omc-wm nrc ++ TO= v:LLA 1.11<10

501 11 comes Avs 015 501 5011.1:1110 2
nunn ac1-1 51. 33445 50ch sum-1 FL

 

 
  
   

 

-.1. v § - S.-,¢w§'b£“:

111-w w -------

---..~¢v .-15 _ ... ..
MW_»='~ '_
' -¢--»- ‘~¢¢_ "

1099312- 01 ' _ 131 0'_1/21/06

 

 

 

 

 

  

 

 

 

 

 

sTAM-ING` 0¢1 1‘2'005 mm 1111.1.'
511 510 P/:mr runs mace-mm

1 1 * NOTES EA 0.0001 0.00
4TH FLQOR
50 50 * W2410PT LF 0.6400 320.00
2 X 4 1 10 P'l'
l 1 * NDTES BA 0.0001 D.DO
STH FLOOR
30 30 * W248PT LE' U.ELGD 153.60
2 X 4 X 8 P'J.‘
3 8 * W4PT LB‘ 0.3500 22.40
1 X 4 X E PT SQURRE EDGE
45 48 * WBPT LF 0.1300 43.92
1 2 2 X 8 PT SQ'U.`ARE EDGE
l 1 * NOTBS EA 0.0001 D.DD
GTH FLOOR
39 39 * W248P'l' LF 0.6400 155.68
2 X 4 X 8 PT .
36 36 * WZPT LF 0.1300 37.44

1X2XBPTSQUAR.EEDGE

 

 

 

 

 

 

 

 

 

'~IFM'ETA!Aml-l
I-mT wm
'l»- lTATi\mTAK iPH.

wiwu~m=~-J *** 1111_5 15 Yomz mgch *** §”_"°.T*_'-. .. ..L ~

 

 

 

 

 

RGR000000111

llld I.U|. 1Ihmle IEAH.H.UI|DA wl
mm?"m¢mmm
IBIYTB¢
1MN1MW,WI|KIMRJD.

AWOWT\WG AM mwm mm
Fhlm¢' (BF‘) 781'23€9 l FB: l“¢l 842-484|

. ..-'_.`-'l-¢_-|_ ¢"¢“_~,-_
'|.

 

 

   

160000
lmL sup
TU= pn:crsron nn!nALL run ++ TU= v:LLA Laao

601 m cnnnnsss 313 311 501

oznnnr ncu‘ rn 33445 noxurou eahca so

  
 
  

 
 
  

 

 

 

 

 

 

 

 

 

 

 

 

` "'F
. . 1-*-5!' '-5.0\1-»'1.£?’:...-1.1..- . 1
sTARTm oCT 1 2005 m nn
BB$loP P/umrrmn.smummmm
340 340 * b 2312 SI' 360.°0°° 5875.21
4112" lgmm mfc 12'
54 61 * m se ISO. noon 1413 . 12
1 3' mfsmsa mfsm 12'
ml.l4
coulnm.MM!u»--_, \M* mg 13 m mfg in llll'l'll'rl& 7»233-33
' mmmmm llli¢. m 10.¢0
l ml_'l 'l“m ' ' '
hnmlm'l'““
miva
FI'A`I'E TA_! 113.14
_ raw
mnmhmalmu
7,772.07

RCR000000578

1610 S.W. 13th ¢DURT¢P°HPMG mCH, FLG|\IDA m
FHDNE IBBQ 181-23899 FAX llill m
I\EFI' `l'°:
1600 SW 13dl B"I'. PWAND IEA|=H, FL MB

ACCDUNUNG AM EELE!SEMWHE¥
Phonl: 1954-l 781-2399 Ile: {954] 942-4641

 

 

   

       

      

'~s..>-.E :`"<. :Mr::- ‘,_\` .-, _`1_.-;- _. _».'...L-.
150000 1099374- 01
smL us
TO= Pnsc:s:on nn¥waLL rue ++ TO= vILLA nasa

601 m concesss nmu srs 501 ou:LDING 2
oELaAY ncH FL 33445 lsT FLoon

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

TAR 10000'1' 1 2005 mm wiLL
BE$lc P/INV FUEL sunCHz\RGE
1 1 1 mrs mt 0.0001 0.00
"A" E\;:m:'z's
1 mr
8 s * wz'zP'r LF 0.1300 '7.25
132227 PTSQUARBEDGE
5 5 * sz'r LF 0.1300 5.20
1 lt 2 X B PT SQUAR.E EDG'B
3 3 * mp'r l:.F 0.3500 8.40
1 x 4 x a PT sums EDGB
1 1 * wsPT LF 0.5000 4.00
1 x s x s PT SQUME EDGE
11 11 * 112sz LF 0.3300 25.42
2 x 2 x 1 P'r
19 15 * W22EPT LI' 0.3300 50.16
2 x 2 x s P'r
7 '1 * wzsam' LF 0.6400 35.84
2 x 4 x a P'r
2 2 * wanner LF 0.6400 12.&0
2 X 4 X 10 PT
1 1 * mms m 0.0001 0.00
"B" UNITS
2 mrs
24 24 * W2'7PT LF 0.1300 21.83
1 x 2 x 1 PT sQUAR.E EDGE
12 12 * ltsz LF 0.1300 12.48
- 1 x 2 x s PT sums E:DGE
6 s * mm LF 0.3500 16.80
lquaPstUM.EBDGE
cone Exm.mmun-__+ ‘u’_ I?I*L
' ludwian --- - -

4-|'\'!1'! l mTI-'£ IH.

 

 

P.ma"su“r '

 

 

RCR000000109

 

1 1saoo0
511

T°= Pnzczs:rou nnymL IN¢: ++
601 N comnas Ava srs 501

DELRAY BCH FL 33445

 

1I8\'.| B.W. ‘|BI\ WUBT¢ FUMFANB BEA¢H, H.BII|DA ml¥
FI'|°NE ISB'\I 731-ami le 1954-l mm
HEIIIT `l'o:
1II° SW 1311\ G‘l', PDMIANQ BEAGH. H. ms

ACCDUNUNG AND HELEASEMMN£¥
Fhol'\l: 1954l 781-2398 ll le: 1954\ 942-464-1

1.|'_'i LlH 'IH[;' 'L'

 

:l|_1-'

 

-lf.'..'.,`..-. .‘. :-.-.--C ¢ IJ~'_L' "

1059374-01
sl-m=
T°= v:LLA 1200
BuILnrNG 2

lST FLOOR
BO'YNTON BEAGI FL

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

wsP'c
1 x s x a PT SQmE mass
44 44 * W227PT LF 0.3300 101.68
2 x 2 x 1 p'r
82 02 * szsPT LF 0.3300 216.40
2 x 2 x s P'r
18 10 * w24aPT LF 0.6400 92.16
2 x 4 x s 1='1'
6 s * w24102'1' Lr 0.6400 30,40
2 x 4 x 10 PT
1 1 * rooms ma 0.0001 0.00
"c'.'ll trst
2 mrs
24 24 * 112va LF 0.1300 21.83
1x2x7-PTSQUARBEDGE
22 22 * vesz LF 0.1300 22.as
1x2stTSQuAREEDGE
2 2 * mm LF 0.3500 5.60
11:4stTsomsanss
2 2 * wsP'r LF 0.5000 8.00
1 x 6 x a P'z' sums EDGE
80 80 * wzszT LF 0.3300 104.3'7
2 x 2 x 7 1='1'
92 92 * szsPT LF 0.3300 242.30
2 x 2 x s P'r
22 22 * w24aPT LF 0.6400 112.64
2 x 4 x a PT
6 s * w24101='r LF 0.6400 30.40
2 4 X 10 F'l'
EBDE StPLANATIQN_-_+ sua _ToTA.I._'.
-.s-rnr:'r.\nmmn ' '
I-mTMIM-l.'dl.l
+~lTlTlImLTMM?L

 

 

 

 

RCR000000108

1330 S.W. 13¢h ¢WBT¢PDMPAN¢ BEIGH, Fl.ORlDA m
FHO||E [854| 781-2389 FAX l954'l 842-laid
IIHIIT TD:
1“|1 IW 1301 ¢T. mm BEADH. Fl. m

ACCOU'MTNG ANB RH.EASE MUIHB
thl: 1954| 781-2399 0 le: (IH] 9424841

  
  

     

'.,.______ 4. .-.,.-.':\'--'-l..!' '.:M~.»J_.:.m - ' --""--.:.!M
160000 1099314-01
011 sum
TO= PRscrsroN 0010011 :Nc ++ T°= vTLLA 1000
501 N consumes 202 520 501 00110100 2
001011 000 01 33145 101 21000

BO'Y'NTON BEAC'H FL

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

   

 

 

0.0001
27PT 0.1300 10.19
1 x 2 x 7 PT sounzs 0000
20 20 * w:PT LF 0.1300 20.30
1 x 2 z s PT 000000 EDGE
s s * w1p1 10 0.3500 22.40
1 x 4 x a PT sQUARE EDGE
4 4 * wsPT LF 0.5000 ls.oo
1 x s x s PT sQUARE EDGE
55 56 * w2zva LF 0.3300 129.41
2 x 2 x 7 PT
132 132 * 022320 LF 0.3300 34a.4a
2 x 2 x a PT
34 34 * 024002 Lr 0.6400 174.08
2 x 4 x s PT
8 s * 0241021 LF 0.5400 51.20
2 x'4 x 10 PT
=vvw<mmon--_+ *** '1'0_1$ 10 2000 10v9_100 *** F'~"_'.."?"‘L... ,. 2...°.74.' 59.
‘ ¢‘r.\'r¢‘r.\xm\z ,- .` l. . . .. _ _:_‘ _
l~ ~'l'l¥m ll»\ml.l
¢-|rl‘li\m|.fl!”h
iwzzuxinhonddui'
2,215.44

 

RCR0000001UT

ilm B.W. 13th WU'RT ¢FD|DANO BEABH. H.OI||DA 33069
PH¢INE law 78143¢|0 FAX ll“l mm
REH|T TQ:
1l60 SW 13th Ul'. POHIAN° BEAC‘H. FL mtl

AC¢OUNTTNG AND RE.HSEMMH`.E¥
Fhon¢: {8541 131-2398 0 Fm¢: 1954-l 942-4641

BA_NNER Supply co_

      

 

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160000 109;315- 0-1
au.l. s:-uP
T°= 2020::0101 nmmm.r. 1110 ++ T°= v1111 1100

601 N compass m 510 501 001101110 2

umw 2c1-z 21 33445 410 21000

BOYNTON BEACI'I FL

 

      
 

JMH x d ` Wn?:“-r'“`,?w `,:. ':"-".__`
10953 7511

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 
 

. ‘ ;,-'.`1 \._\._-'-.._-. .._.__.0-~‘-;\-.~`-:..~‘.
510011110 001 1 2005 10000 0111
20$10 2/1101 2001 sunal-mss

1 1 * 110100 01 0.0001 0.00
-A" 011110
1 0011

a s * 02721 12 0.1300 7.20
1 x 2 x '1 21 summa 2000

5 s * 1221 12 0.1300 5.20
1 x 2 x a 21 sums 0000

3 3 * 0421 12 0.3500 0.10
1x‘1x0215002000000

1 1 * 0621 12 0.5000 4.00
lxsxs 210002000002

11 11 * 022721 12 0.3300 25.42
2 x 2 x 7 21

19 19 * 022021 12 0.3300 50.16
2 x 2 x a 21

7 '1 * 112-1521 12 0.6400 35.04
2 x 4 x a 21

2 2 * 11241021 12 0.6400 12.00
2 x 4 x 10 21

1 1 * No'rss 00 0.0001 0.00
"2~' 00110
2 UNITS

24 24 * 112'112 0.1300 21.03
1 x 2 x '1 21 sums 1102

12 12 *11221 12 0.1300 12.40
1 x 2 x s 21 somm:a 1102

s s * 0421 12 0.3500 16.00
1 x 4 x s 21 sam mass

cone manox'_§ §'-!j' Tf-"T*L _ _ _.
::",a:“m‘“¢::‘.=",.“m. ' " ' " * mw
+~ITATI\mTMM!|_
m§,r’i¢`ai;¢.¥;“

 

 

 

 

RCR000000106

1880 S.W. Ialh ¢QUHTG PQMFANO IEACH, FLW|DA wis
FHONE{IH-l 181-2399¢FAX [954| mm
REHJT TB:
1630 SW 13th UT. PMANO BEAH'|. FL SI¢I

ACCOUNUNG AND .HELEASE MDWR[E$
Phonl: ISE4) 781-2398 ¢le.' {554} 942-4841

 
 
  

 

\_ 1212.§.9211°,9,-

       

":’,-.,1:.'=_»";- .\-‘»,:.' . MJ?F§W“EE
1saooo 1099315-01
alLL sHlP
TO= Psu:c::s:ou mm nrc ++ TO= vJ:LLn LAGo

601 N coNGP.Ess mrs s'm: 501 stume 2
mann arm FL 33445 mr noon

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ry%§;i ‘07/21/06` '“
ms
1 x s x a PT sounns EDGE
44 44 * wzsz LF 0.3300 101.68
2 x 2 x 7 PT
82 52 * wzzaPT LF 0.3300 216.43
2 x 2 x a PT ,
18 18 * w24asr LF o.s¢oo 52.16
2 x 1 x a PT
6 s * w241022 LF 0.6400 38.40
2 x 4 x 10 PT
1 1 * mores an 0.0001 0.00
"c~ uNITs
2 unrms
24 24 * 112va LF o.:l.:no 21.33
1 x 2 x 7 PT sounxs noon
22 22 * waPT Lr 0.1300 22.35
1 x 2 x a PT sQUARB EDGE
2 2 * w4FT LF 0.3500 5.60
1 x 4 x.s PT sQUARB goss
2 2 * wsPr Lr 0.5000 s.oo
x s x s PT sQuARE sues
80 ao * w22121 LF 0.3300 154.37
2 x 2 x 1 PT
92 92 * wzzsPT Lr 0.3300 242.aa
2 x 2 x a PT
22 22 * wz&aPT Lr o.s&oo 112.64
2 x 4 x a PT
6 s * w241oPT LF 0.6400 3a.4o
2 x 4 x 10 PT
EUDEEJ€|’|..¢\IL¢\TIC|N_J
'ITITETMAMIAI.E
l-m‘l'lxwl.i
+~ITATEIm.LTMML

 

 

 

 

RCR000000105

  

  

ijh_w ,_1
153000
BlLL

   

TO= mcrs:corr oRYWALL nrc ++
601 N coNGREss mrs srs 501
FL 33445

DELRA'Y BCH

1860 I.W. 131|| |':GURTI ml|l° BEAGH. F\.°R|DA wl
FH€|!|.E [954} 731-2393 ¢ FAX IIHI 942-iam

!EM\TT°:

‘ll¢° SW 1“\ C'T. PUMPANU BE\GH. FL 830¢|
AGGDUWNG AND RE.SISEWGMHB

sHlP

T°= v:LLA LAGo
BUILDJ:NG 2
41'11 noon
seaman am FL

Phnnl: l954l 751-2359 b Fm law 942-4541

 

1099375-01

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

No S 0.0001
-n- mrs
2 mrs
20 20 wava 1.2' 0.1300 18.19
1 x 2 x 7 P~r sums men
20 20 sz-r mr 0.1300 20.00
1 x 2 x a P'r sums gross
8 s w41=1' 1.1=' 0.3500 22.40
1x4xaP'rsomEsnGs
4 4 wsPT LP 0.5000 16.00
1 x s x s P'r sam amax
56 56 vusz LF 0.3100 129.41
2 x 2 x v PT
132 132 mem LF 0.3300 340.40
2 x 2 x a PT
34 34 Wzsar'r LF 0.6400 174.03
2 x x a 22
B s w2410P'r mr 0.5400 51.20
x 4 x 10 rr
¢°DIEX'H.AN»\TIQNA

'-ULTETMM|.E
l~m\’lxlml.l
+- l'l`.“il m'l’lxl'h

*** THIS IS YOUR IN'VOICE ***

-»'\w

  

 

 

 

_ __ 349
rh@:xmm@azau&lf&s
2,219.44

 

RCR000000104

 

168000

‘lllll B.W. 13d EQUHTl FUMPA|I|J BEAUH. FLUB|DA ml
FHUNE ISW n?-ZBI|¢FAX |.'954] lil-I~Il¢
I\EIMT TQ:
im SW 1381 U`l`. mild mGI. FI. m

AcCOUMTNG adm RELB¢SE M¢MES
Hml'm: 1954-l 781-2399 0 FN 1954| B#Z-$GM

    

.'_. ..._-\L'- _-.-a_»..\='l..;..'.=¢i- _ _

 

1099301-01
Wu smP
T°= Pnzc:srou DRYWALL xuc ++ To= vILLA Lnso
601 N concusss 223 srs 501 anna # 1

DELRAY BCI'I

FL 33445

BO'¥NTONBEACH FL

 

 

 

  
 

 

   

_;1:" ,. .-. \ .K, -¢-¢\-- »¢.‘, __;'- ___'_,_)w_.: .z._._j `_:]_.
l 7 f ' ' 1
.1'~.~ 1. fan-hsmhwi'i? §lm- ..-lg.? Ei. _.-.12“¢» ' -1'13\1-*-~§““£1}<

._¢_-_, . ,\¢s.).~ f
.-'."@§~ -\.E.,!.Eq. .,M..\)

 

 

  

 

 

 

 

 

0'¢'/22__/06l 07/22/06 09:21: 46

   

  

 

 

 

 

 

 

 

 

 

 

ING]OCT w 12005 THER.E WILL
BE $10 P/IW FUEL SURCHA.'R.GB
1 l * NOTES EA 0.0001 0.00
NURTH END SEC.'.I.'IUN
480 480 * DJ'CUSG BA 13.1000 SZBB.UO V
JDINT CL'}MPOUND U.S.G.
5 GAL PAL USG
cooso¢n.mmou__-+ nw 1315 15 1013 111-1113 nw sul1_‘0‘rA_L _ __ 6.2§8_.09
-- ,:rr.\rnua:mu __E __§\I_&_G. _SHARG " " 10.°°
Q- lfi!IImL`|'M»\M_
devlb'_lw.'.
FE_D._:_n'lHI\_-TAX_ _ _ __ __
mut '-';;-_-;_'~' 405. 72
rAmEN'r o _q_g
"_TG.TAL m DUE
6 706. 72

 

RCRUUOOOOOSS

 

 

168000

lI.L
TO:

mC'ISIQN DR.'!IIALL IIVC ++
601 N GJMRBSS Avl S'I.‘B 501 BLDG # 2
m BG! FL 113-145

 

 

1“0 l.\l. 1$\ m`l'CFDII,AM mm mill ml

mm°llhm°mmm”
mlTTU:
'Iml* 1Nlc'l'¢ WIMIIELPLM

 

 

 

 

  

AMWWE§£A“EMM_'“ ““ """ "` ' ""
mm 1050 131-san ¢Fu¢ ma mt

 

1095474-01

  

 

 

 

 

l"r:n.:u':m; ocTi 2005 Till nILL
BB$lG P].`W/ m mm
1 1 NUI.'BB n 0.0001 0.00
S'L'H sl' L 0 0 l
335 335 D SF' 350.0000 5788.81
42":§¥6!|!1“1 DRMLL 12'
53 59 D 21112 SP 460.|1000 1302.'72-
1 2" mIB'l.'Ul.'E REBISWT 12'
D m ¢I x 12
939
5"¢0@15
conwum'rm_~._§ wm 1315 15 m mrt-13 nn I\I'NTIL 7,091.53
:-m-¢M;=m¢g m m _ lo-oo
¢-Il'mlm'l'hfn.
FF\F|€""!''l'*'§'"*'\.t . '
Eo..¢cm£n'mx
“AFEW _ LEO.SE
_P»\ma~rr
m Lll'! Dlll
\ 1,562.48

 

 

 

RCR000000579

 

' 160000

mu.
T°= mars:on nlmm.L :I:Nc ++
601 n comss ms s~r: 501

mYBCH

 

 

 

 

FL 334-ls

 

 

 

 

 

1400 s.w. 1201 comm nunn llmu. mg ann
male ma 101-2200¢1=4:¢¢¢!4| umw
nn m
mm sw 120- ::r. mann nom n. men
'iéo'dw`m m£'n'sm“““""““
nunn law 101-2200¢1=¢¢= wm 042-4041

 

 

  

 

 

 

swmrmocr12005 m wrm.
as $10 P/n¢v man suxcmmsx
1 1 n 0.0001 0.00
r n 0 0 n
mms ca 0
155 155 o 2212 sr 360.0000 2510.40
1 2-' am ncmma. J.:al
4 x 12
20 30 n iam sr 460.0000 662.40
1 2* mrs'ruma zoer 12'
m 4 x 12
1 1 mss n 0.0001 0.00
413 s 1. 0 0 n
2 owns n
1 mut
100 100 n 2112 sr 350.0000 3110.40
1 2" am mm 12'
4 x 12
31 31 02 sr 460.0000 so4.4a
1 2- coram users-ram 12'
!w:lu.:. 4 x 12
mmwm-_-+ **' 1110 rs vow. :Nvozc'z *** ”1'°'"'- 5713.5‘.“
'- .:ltmrua“m'.lomz __ mGI-MRU__E _leU,QO
o- lilllele
FE|MITTQTA\.
FED.N'|'HEH TAX
rrMETAx 463.82
luva `
man m n\`m
1.609.50

 

 

 

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TO= rasc:csron lanan nrc 44
501 n comes ms m 501
n 33445

DELRIY BCH

 

 

 

  
  

 

 

T°= vn.m mso
nr.ns # 2
norma szc:rou

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Accoum‘“_mmm" ‘_
acme low 141-san arm m 042-4041

 

1099546-01

BOYNTDN BBACH FL

 

 

 

  
     

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FHOIE mill 'll‘lm¢llx{lll mm

 

 

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` smrina ocr 1 2005 Tm: ILL
ns 310 P/nlv m lime
1 1 Ws' L o o n m 0.0001 0.00
um:z' n
35 85 n 2112 $2' 360.0000 1450.80
1 2" mm mm 12'
4 x 12
15 15 11:_»}§§11'2”: mr 12, sr 460.0000 331.20
oman 4 x 12
l 1 works nn 0.0001 0.00
mr r L o 0 z
mm- o
10 10 n 112 ss 350.0000 1209,60
1 2' mm nn'lu\m. 12'
4 x 12
13 12 n 2m2 sr 4€0.0000 201.04
122" m:s'rm colum 12'
n mLL 4 x 12
1 1 works n 0.0001 0.00
4114 n 1. o o a
mmr c
g 10 10 n}zn:,: sr 350.0000 1209.60
' 1 2" m lam 12'
. 4 x 12
15 15 n 21412 ss 460.0000 331.20
:l. 2" mxs'nm: usersnm' 121
m 4 x 12
1 1 none n 0.0001 0.00
fm r L o o n
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cmuooumnwu-'-} “.TWML
immnu::unl MUGQW"BE
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mm 781-3“|~”¥|||||“248” .
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109554€-01

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601 u conunzsa Avs 523 501 amos # 2
osLnAY sex rL 31445 monmn sscm:on

 

 

 

 

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15 15 * 1312£|].2 E! 450.0000 331.20
ll)~éa" WISTUILI RESISTANT 12'
m 4 1 12

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Mwmgnq|_-J in mfg 15 mm nevach *", filmer 5,537.44
" "*’"“‘*"““*' mm :_Lu.ol'.\
l'm-l'“”w ` 4
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FEDJUTHBTM
rrxr'_:mc 39|.25

 

 

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RCR000000582

  

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TO:

 

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501 w cnnnasss ssa sms 501

U.II.B.'M.’ BCH

 

 

I'L 33445

 

 

ACOUUNMAM

___-mm-
l'hulw: Wl 181-lau oFll: BH| 042-464\

 

 

 

 

 

 

 

 

3m mm °CT 1 2005 Tm 'ILL
ll $1° P/m m mm
155 155 D 2112 sr 350.0'0°° 2678.‘0
1 2" m m 12'
4 x 12
231 337 n 2"12 ss ‘6°.0000 5232.§7
1 2" mIETm mfg'.l'm 12'
4 x 12
mW*TM-__+ iii ms rs fm mzcs **j nmll.. 7¢911.37
~ .¢rmvonuuum _ mm 10.°5
I- m`flllm ' ' ’ '
¢- llTI"le-'Mm
FREPHT'I'UTAL -
mime
lv“f1li 514.24
PAYMEIIT l l
..Mmmannlml
3,435451

 

RCR000000583

1m S.\'|'. 1311 GUUHTl FOMFAND IE\H'L FLC|RDA mi
FHO||E 1350 781-wl FAX IBSI»l 913-mo
HEM|T TO:
'lm EW ‘ISII\ c'l', FOWAND IEHGH. H. m

Ac`coum'ma 410 males mss
mm row 151-2005 o l=w. low 042-4041

     

168000 2037544- 0-1

alu. sum
T0= 515015101~1 0111¢111 nrc ++ TO= v1111 1150
601 N 00151555 mm 555 501
13sz 505 141 33445 50ch mm 141

  
 
   

 

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smeG 0cr 1 2005 1'552:5 14111
1515 $10 P/INv 2031 sonoma

130 130 * 515 820-10 LF 496.0000 644.80
l 5 8” STUD 20G 10' .
GAUGB

2

88 60 * 561'2011= 965.0000 501.40
s- 51 150 111<:1 20 01055

46 46 * ss 520- 9 111 992.0000 410"59
6"51'00 205 5'

20 20 * 555 20 10 15 992.0000 150.40
G" s'ruo 205 10' -

58 50 * 511 15 415.0000 200.00
1 122o x 1 1/2 114015
20 055

1 1 * z 52 115.0000 115.00
7}16- 151 sums scam
(1514 5010

 

 

 

 

 

 

 

 

 

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*-"In\m'r“lm-

   

 

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2. 308. 58

 

RCR000000103

1000 I.W. 1301 WUHT¢ 'PDMFANU BEAU'l, FLUN|DA wl
PHON`E IIEN 181-ms 0 FAX lBH| 542-4360
REIIIT TC:
1000 SW 130\ G'T, F°IPAN° BEA¢H. Fl. m€

ACC'OUNTING AND .RELEISE MK]M‘NES
Phonl: f954} 781-2399 ll le: 1964-l 342-4041

     

"."|- .|_L_:E l_lr-| T||E
160000 1059641-01
BHL PREczsron 0510011 150 ++ SHW 00111 1500
T°= 601 5 comcsass 505 505 501 T°= 50110150 2
051250 505 51 33445 souTH 550
-1" 0010

 

 

 

 

 

 

 

 

 

51555100 ocr 1 2005 55525 0111 ' '“ `
BE $10P/m5051500055505

100 100 * 51505 s- 15 290.0000 290.00
hsfs" lsTun 10'
QUGB

25 25 * SlS ‘.'!.' LF 285.0000 71.25
1 5 B" TRACK

100 100 * 535 S-S LF 396.0000 356.40

12 12 * SBSBT LF 305.0000 46.20

15 15 * SGS- LF 544.0000 86.94

2 2 * SST LF 627.0000 12.54

14 14 * SGBZG LF 710.0000 100.52
5" HBTAL BACHNG-ZG GAUGE

 

 

 

 

 

 

 

 

 

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¢¢nln\mfglm

mosmuanou_J M'* ms 15 YQUR _'[Nvo_'l;cg 202
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RCR00000011B

1580 S.W. 1351 CGURTO POMFANG IEA¢H, FL°HDA mn
P\'lDNE ll54l 781-2388 FAX {Iill-l 943-dm
REMT|'T°:

1010 BW 1391 G`\'. PQM,A||D BEI.CH. FL mla

AG¢BUNUNG AND REL£ASE .WGUJ'H£S
Fh¢mo: 1954-l 111-2399 0 le: 1959 942-4641

'\ BW.ANM*§HMH'|.Y 60.

     

     

168000 1095648- 01

Bll.l. pmc:sron DRYWALL mc ++ sHlP wm mo
TO= 601 10 002023$5 mm 513 501 T°= 0011.0:00 2
03:.310:' am FL 33445 sotm-I 320

IBI uNIT

BOYNTON BEAC'.'H FL

 

07/2§/06 __ 4 0_'!/251/¥06 10=4 06

 

 

 

 

 

 

 

 

 

5112"1100'001' 1 2005 111323 wILL
33 $10 P/Imv FUEL smu-mms

95 55 * 815§11¥ 298.0000 283.10
52§"1° STUD 10'
2 UGE
40 40 * SZLSBT LF 285.0000 114.00
1 5£?"‘ TRACK.
25 UGE
180 180 * SB§Z:-B LF 396.0000 641.52
3 5 ' STUD B'
25 B
21 21 * 535 '1' LF 385.0000 80.85
3 5 8"' TRJ\.CK
E
20 20 * 865-9 LF 644.0000 115.92
G" STUD 9’
25 GAUGE
3 3 * SGT LF 627.0000 18.81
G" mCK
25 G.'AUGE
_ 14 14 * 56320 LF 718.0000 100.52
E" m BACKING-ZO GAUGE

 

 

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wwmo~-_-* *** 1010 r_s 1002 1000103 H* WBTPT*!-_

' -l‘rxrirn¢lml£
}- mill lml£
-¢-lrl~‘r¥\m'l'.\l¢m

   

 

 

 

 

 

 

 

 

 

 

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1060 B.W. 13b UOURT¢ FCM?ANQ BEADH. FLG\I.'|A 330“
FHDNE {I“l 181-2399 l FAX 1959 mm
HEM[¥ TD:
1000 B'W 1311 GT. POMFANO IIAQH. FL mi

AECGUWITNG M maswa
thv\l: IBEll-I 781-2395 ban: {BE'|») 942-4541

 

        

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163000 1099649- -01
BlLL mczsron nrcme nrc ++ sHlP mm mac
TO= 501 n conGnEss 112 sTn 501 TO= suan:NG 2
nsLnAx non FL 33415 sourn sun
~c" uNIT

 

 
 
  
 

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STARTING OCT l 2005 THBR.E WILL
BE $10 P/IN'V FUEL SURCI'IARGE
105 105 * 51555 -1 LF 295.0000 312.90
1 255£§"§'1.'[1|'13 10'

18 18 * S`J.SBT Ll' 285.0000 51.30
1 5/8" TRACK
25 GAUGE

150 150 * LF 396.0000 534.$0

SES?S-B
3 5 8" STUD S'
25 @UGE
17 17 * 53§»2: LF 385.0000 55..45

40 40 * sss- LF 644.0000 231.84
4 4 * ser Lr szv.oooo zs.os

14 14 * SSB20 LF TIB.OUOD 100.52
6" NETAL BACK..T.NG-20 GAUGE

19

mcmna'rluN-_+ *** 'JL'HISl IS YOUR INVDI_CE ***

’- -IT.ITE'l'M-l!ml£
I-m'fll llle
4- lTlTllw-¢L\'IX&FFL

 

 

 

 

 

 

 

 

 

S'UITQTAL 1 321 69

 

 

 

 

 

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lsaooo
BRL PRECISIQN DRYHALL INc ++

TU:

601 N CONGRESS AVE BTE 501

DELR.A.Y BCH FL 33445

   

1660 B.W. 13th GDUHTE F¢|MPAN° IEA°H, FLN\|DA m
F'Hd|'£ [9!4| 181-235|0 FAX llll-\ mm

REMl'l'TQ:

1660 BW 13th GT, FQIIA||O BEA\`.¥H. FL mn
A\'.'GOUAHTNGAM'J RB.EASE .I'NGWNES

sHu’ vILLA LAso
T°= surnnruc 2

SOUTH EN'D
l'D“ UNIT
BO'Y'NTDN BEACI-I FL

Phcnl: l954) 711-2398| F\t: l954l 942-4541

 

1033650-01

 

 
 

 

 

  

 

 

  

 

 

 

 

 

 

:07/26/05 10- 44= -33_ 07 27/05

 

 

   

    

 

 

 

 

 

 

szmnmruc bci 1 2005 15515 wILL
BE $10 P/INV FUBL suRchRGE
130 130 * 515 5-10 Ls 290.0000 301.40
1 52A" srun 10'
25 non
53 43 * 515 T Lr 255.0000 122.55
15 Tnncx
25 GAuGE
100 150 * 535 s-s LF 395.0000 641.52
3 5;§" srun s'
25 usa
11 17 * 535?1 LF 305.0000 65.45
3 5 " TRACK
5 5
30 30 * sss-s ns 544.0000 173.50
6- sruo s'
25 GADGE
5 5 * ser Lr 521.0000 31.35
en 151
25 GAuGz
14 14 * 56520 LF 710.0000 100.52
s" mETAL BAcxme-zo amoco
cooevcrLANmoN--.__+ nw THIS 15 rom rN;;-DICE *** suaTa‘_l'AL 1 5_2_2. 67_
--l'rmnxnmu .': " :~-;"~~' ""- ‘~:_.
|- mm kim ` "'
¢- -l'l'l!'llm‘l'll'll'!|.
1, 531. 54

 

 

 

 

 

RCR000000119

1580 B.W. 13th ¢DURT|PMANC IEAGH. FLQRIDA 33069
FH°NE l954l 7!1439¢° FAX l554-l MZM
IE\IIT T°:
1800 SW 13th G'T, FBWAND BE\\EH. H. wl|!

AGC'GUN'I'|W AND HE¢%SE IM.'!M'HES
Fh¢-'In¢? 1954l 781-2389 3 le: '[954-} 942-4641

 

     

16500'0'

1059554- 01
alu. sum
T0= pmcrsron mm nrc ++ TO= erLA 1100/2
601 N comes mrs 515 501 '
penn m FL 33445

BOYNTDN mCH FL

 

 

 

 

 

 

 

 

    

' 51111`1111"&` oc1 1 2005 mrs 1111
135 510 wva sum announce

f
233 288 * DJCUSG EA 13.1000 3772.801?J
JOINT COM.POUND U.S.G.

5 GA.L PAL USG
600 600 * SGBZD

LF 718.0000 4305.00
6" HETAL BACKING~ZD GAUGE

 

 

 

 

 

 

 

 

 

m EXH.ANATIGN '_\-,

'-ITAT!TMIHLEI|.E
l--lmflxmm
¢-l'l'.l'l!l mTIKAFl'L.

*** THLFS IS YOUR INVOI¢E ***

 

 

 

 

 

RCR000000120

 

 

158000

B|UVIHR!$NJFF[!'¢°

 
   

10¢! S.W. 1311 GOUHTC FOMPA||D BEAG'|, ml m
H°NE llw 701-dmi FAX m m

BEIIITT°:

1600 m 13d'\ U'l'. P¢|MFA|IQ IEAU. FL 3m
AI.`¢`CGUN'HNG AND HE'LEASE!MJWHES

BHL sum
TO= 511¢1510N 5111111 11a ++ TD= v1111 1110
501 m coucasss 111 511 501 50115110 1

DELRAY BG'I

FL 33445

Fhon¢: 1061-1 131-2399 OFIX: 1954-l 942-4641

 

 

 

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51111110 ocr 1 2005 11111 1111
mslo F/ruv FUELS Mcu1ns
450 4a0 ¢ Mcu s1 13.1000 5253.00
Jo:NTG compounn U. s. G.
5011 111 usa eJJ/
m!€><wvvv-_$ *** 1115 15 1001 1Nvo1€_s *** .‘“".°"*!- . 6'2.55'°°
» mmmcm¢.: ‘ '\' -"-"- “ MIS`G; hlAHGE `;-' ' 10.00
::.,mm...:a""~'m.;: _ W’*` f
hwhérhiih'_£“‘
FEn.w'rHEMAx_ _ _ _
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mm lll$l 11143|!| F-Ix ll“l Im
ml"m:
1000$*1”|¢¥.9”“"*0".“.”

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Fl'mm: l054l 15|-23"0¥-'¢!: 1950 943-4941

 

   

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nsLaAY aca 11 33445 souTn ann ssc1rou

BO‘YNTON mm I'L

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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1 l' miinme 12'
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uranium .
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T°= Pnscrsron nlmm.:. mc ++
601 11 mcmanus nw sa 501
roman 3c1

 

 

 

FL 33445

 

  
 

 

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AL'GG¢)WMAM M.!EMM
H\anl= m 781-2899th mill 842-484|

1m S.Vd. 1M\ mf¢mm IEM=H. md ma
m m 7114$!0!“ llww

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BCYNTUF mci FL

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'~‘»'.‘¢@*5\'-’1'
'l‘ib""':j\M'-t:'{ uF-YF\ FN'M'! ll""“¢)\ - 4 ` 7
smanaoc11 2005 mann 11111.
133 $10 wm run announce
1 1 ms n 0.0001 o.oo
511 F r. o o 11
365 365 111;11 sr aso.oooo 6301.21
12*1§.uzman mmm.z. 12'
11 11 n 1112 sr 460.000¢1 lssv.sa
1 21 norman nurs'rm 12’
mn1.4112
mmm--J *** 11115 rs norm mores H* ”“"‘“~ 7'°"'”
-:nmm;u:uu ; ' umw _ 10.°0
o-Il'l\‘\l'lmTMAlll-
warn
FE)JUTHEITAX
quern 511.81'
PAVR£HT alpa
8,396-76

 

 

 

 

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men s.w. zau\ coun'r - PouPANo snel-1 n.o\'un.\ sam
FHDNE 1551-l 1814-nih FAX 1|54\ 842-430
neurr To=
1Illl lW 1381 B'l’. FDI||,ANO BEAEH. I'-\. wu

14me AAU IIEEASEMMHES
Phunt: il541 FBi-ZSBSGFI.E (854-} 942-4541

        

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1saooo 1ossao1-01
311 sum
TO= Pnscxsxon nn¥naaa znc ++ T°= vILLa paso
sol n cnnun:ss 111 512 501
nsanay non FL 33445 aanwoN eaacH FL
;€I§?§HYYY§H§¥§Y“
1099301-01
1151 -‘:' *--‘--'

 

 

 

 

 

 
   
 
 

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STARTIN`G

oc1 1 2005 11113'w111
511 $10 P/Inv Fum. sURU~mRGE
1 1 * NoTEs aa 0.0001 0.00
REF 1099313
as res nw
53 83 * ns EA 2.5000 207.50
sTocnrnG-naTon:aL-Laaon

----nar 1Nvo1cE-----

 

 

 

 

 

 

 

 

 

cnnEExFLaNmon-_---+ *** THIS IS YO'|J'R INVDICE ***
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RCR000000112

1999 B.W. 13th ¢°URTI PDMPAND BEASH. FL°IDA SBBBI
PH°NE |Sl¢] 151-235!0 FAX IBM| 942-1380
REMT TD:
166031#13£|1 ¢`l'. FDII,ANC BE.AG{. H. mn

AC'CGUMI'NG AND H£l.EASE IMJWH£S
Fhon¢: [9541 731~2398 °Fa!f 1954-l 942-4641

   

BA_NNEH supra co.

 

   

nmwmmmgi
160000 1095002- 01
311 sum
TO= rnsczsron nnrwmaL rnc ++ T°= v:LLa 1100
501 N consnzss ana 510 501
011111 sen FL 31445 BQYNTQN azaca FL

 

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swan 110'0€1112005 11123 erL" ' ""
BE $10 P/INv FtJm. sURz:HARGE

1 1 * norns nn 0.0001 0.00_
nar 1099101

11 Pcs nw

waLxup

?1 71 * ns sa 2.5000 111.50

sTocxING-nawsnraL-Laaon
----unT znvozcz~----

 

 

 

 

 

 

 

 

 

¢=M=wwmu~_-+ *** 1015 rs 1001 111v01<:_s "*
nunnle '
l- wm I”Ll'¢ll`l.l
§-m`l'l\m'l'h!m.

 

 

 

 

 

RCR000000113

 

 

153000

BlLL
TO:

PRECISION DRYWJ\LL INC ++

BA_NNEH SUPPI.Y CU-

     

601 N CONGR.ESS JWE S'I'E 501

DELRAY BCH

FL 33445

1850 S.W. 13th CQURT| FC|MPANO BEADH. FL°R|DA mi§
FH\‘.|NE 1954] TI‘|-ZBIQF FAX m maul

REM!T T°x

1“0¢\~' 1301¢|', FMAND IEAC‘H'FLM

ACGG|`.»WF¢WG AND RR£ASE WUUID‘ES
Phonl: {5544 781¢2399 6 F\z: (954-| 942-4841

 

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1055806- 01

 

 

 

 

 

  
 
 
   

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. . . . , SWW> ____.,,,--<.'q ~, '_ , h _'.'_-.M_'E'.=". .-_-'T--.
109_9006- 01 133 07/20/06 01/_20 06___
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- sTAR11100 00112005 mens wn.f.
BB $10 P/INV FU'EL SURCI-D\RGE
l 1 * NC.\TES 0.0001 0.00
R.EF 1099375¢374
12 PKGS
12 12 * 135 25.0000 300.00
STOCKING-MATERIAL-LABOR
----NIT INVDICE-----
1 1 * HOTES 0.0001 0.00
R.BF 1098626
584 COMP E DUR.ABCND
534 584 * ns 0.2500 146.00
STOCKING-IBTERIAL-LABOR
----NET IN'VDICE -----
cuoemmou_-+ *** THIS 15 YOUR DWDIGE *** .B,u§11?g..*|"...
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DBLR.AY BCH FL 33445

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601 N ®NGR.ESS AVE STB 501
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REM!TTO:

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96 96 * DJC'USG
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1 1 * ms ga 0.0001 0.00
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1 1 mm n 0.0001 0.00
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10 10 n 2112 sr 350.0000 1209.60
1 2- m mm 12'
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13 13 n 21112 sr 460.0000 281.04
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1 1 nom nn 0.0001 0.00
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10 70 n 1112 sr asn.oooo 1209.60
1 :" mm nlmm.:. 12'
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1 1 * m n 0.0001 o.°°
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FHUE [0“] 701-1300 FAX fm M
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'|BH SW 1311 ¢'l'. ml|l° IEAGH, H. m

ACGGUNTTNG AND ELE#SE INDMN'ES
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1 SZ:" TRACK
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1 SZ§ STUDS 12'2*
25
40 40 * SSSBT LF 385.0000 154.00
3 56§" TRACK
25 UGB
150 150 * 535 S-122 LF 356.0000 722.56
3 SZA'E STUD 12’2" ,
25
30 30 * SGT LF 627.0000 100.10
6' TRACK
25 GAUGE
130 130 * 565-122 LF 644.0000 1018.54
E" STUD 12'2'
25 GA
35 35 * W2410C LF 0.6100 213.50
2 I 4 X 10 CONSTRUCTIQN
90 90 * W$PT LF 0.3500 252.00

l X 4 I 8 PT SQULRE EDGE

 

 

 

 

 

 

 

 

 

coxwunmaN-_--~"‘ *** THIS IS '!OUR _IIWOICE ***
~.s'm'l'r.nxnl'l'l.mll.: ` "` . '
I-m'l'“mll,§
O-l'I'lTl\m‘I'“-I”L

   

 

 

 

4,145.34

RCR000000124

 

19” S.W. ‘lMDH.IKTdFDIIM|° IEIGL m m
PHD|E m 131-ml FIX fill-l m
RE|£|TT°!

1060 SW 1391 l!T`. WANO IEI\GH. H.m

AGMUMJNG AAD RELBISE !MJMWFS
Phol'll: llil-I 181-238¥|&!¢: DW 942-4541

"\ ` BWA-"HL§R;ML"¥'-c°m' `

   
  

 

     

168°°° 1100114-01

au sle
TD-' 222<:10:02 mm mc ++ TO= wm 1200

601 N moss mrs s':'s 501 BLDG # 1

nmu sea rr.. sans samoa 222ch m

 

EM

08/03!06

M*-W““&I'¢

smT:NG or."r 1 2005 mrt-rm 211.1.
ss $10 P/Iuv ms

 

 

 

 

 

 

 

 

   

1 1 * NOTES 22 0.0001 0.00
am 2 L o 0 2
20 4a v wcusa 22 13.1000 szs.so

\TOINT CDMPOUND U.E.G.
5 GAL FAL U£G

l 1 * NDTBB Bl 0.0001 0.00
STH F L 0 0 R.
48 45 *' DJCUSG m l.'l.lDDD EZB.BU

JUINT COIEPUU.'ND U.S.G.
5 GAL PAL USG

 

 

 

 

 

 

 

 

 

 

1 1 * mms EA 0.0001 0.00
cm 2 1. o o 2
4a 4a * mccree 112 13.1000 s.'as.ao
Jonrr comm U. s. G.
SGnL 221 usc
1 1 * ms 22 0.0001 0.00
tm:cT 611 s'rn 1'1.002
20 20 * n 2212 sr 360.0000 345.60
12-211001.22 mm 12'
4 x 12
5 5 * n 2212 sr 460.0000 110.40
1}2" uo:s'ruu mzs'rm 12'
nunn 4 x 12
1 1 * ms 32 0.0001 0.00
mar 410 41'3 moon
35 35 * n 21 sr 300.0000 602.80
41llz' im 0211\21.1. 12'
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¥HATIIMTL'I“ __
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2 BMNE|| supply co m com mann 222 row mm
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95 96 *' DJCUSG EA 13.1°00 1251.60
\TOINT COHFOUND U.S G'.
5 m PALUS
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S!-lee‘\'$
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FAYME|T °.QB:"_'
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1000 I.W. 1301 co\l'l'i liM m m M
m m 151-lillile m mm
BlIIT‘l'Q:
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MN'I'INBAID mm
Fhot\¢: flu-l 781-an |FI¢! lm mi

    

168000 10020€-01

ma smr
TU= 2220:5102 0222211 120 ++ T°= vILLA L200
501 2 semensss Avn 522 501 2100 # 2

DELR.`AY B{!E FL 334{5 BQUTH m

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 ` 1 *' mm n 0.0001 0.00
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x 2 m'l.'s 3
110 110 *' §z§g.lz L ul Sl' 350.0°00 150°.80
4 x 12
15 16 * D 1113 SF 450-noon 353.28
1 2" HDISTM mISTm 12'
4 1 12
1 l * m m °-00°1 0.00
_ l 1 m'l.' B
70 70 * 9}2212 53 360.0°00 1209.‘°
1 2" nm Dll.m 12'
4 x 12
13 13 * rizzle SF 4‘°. UUOU' 207 » 04
1 2" milam FESIS'U\HT 12'
mm ll X 12
1 1 * ms §§ U.°UU]. 0.00
x 2 m C
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l x 12
30 30 * D ma BI' 460.°000 662.§°
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4 x 12
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PAYHE‘T `
7,236.42

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1000 B.W. 1301 GOURT l FOHFA||° BEABH. FLC|\DA 33060
FH°NE lli‘l 701-3300 ’ FAX lis$l mm
BEMIT TD:
1000 SW 130| GT. FOMIM|E BEAGH, FL 3m

AGCCUMTNG AND REI.EASEMU!HH
Phonl: 1054| 701-2399 lle: 10541 942-4841

 

       

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TO= Pm:c:s:oN mume :l:Nc ++ T°= v:LLA mac

601 N compass mrs s'n: 501

DELRAY acc-1 FL 33445 noch mm FL

 

        
 

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133 _ 03/02/05

 

 

 

 

  

 

 

 

 

 

 

7 n 7 ` sm'rms 0cr 1“` 2005 mm w:m.
nn$lo ys/:eruzr. sum-maas

150 150 * SZA L!' 405.0000 607.§0

2 1 2 ANGLE
25 G`A'\'.TGE

60 50 * 515 LF 298.0000 173.00
1 BE"J'; STUD 10'
25 UGE

30 30 * 'NZ-H.DPT LF 0.6400 192.00
2 ll 4 J! 10 P‘T

20 20 * lMPT LF 0.3500 55.00
lXiJIBPTSQUAREEDGE

20 20 * smc-12 LF 345.0000 az.so
v/s H:l: mm cum 12'
25 GAUGE

 

 

 

 

 

 

 

 

 

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RCR000000123

1660 B.W. 1301 DOURT¢ I‘uMPAND BEA¢H, H.DNBA 330¢8
PHD¥|E ISW 131-2399 0 FAX {854| mm
FIEMU' TB:
1000 0W1301 CT. FOMPAND BE¢\B|'|. FL 33000

ACWUMNG ANB HE.£ASE MMNES
Phone: [954~} 781-2399 OFo:: 1954| 842-4841

     

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160000 "'

 

   

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DsLnAx aca Fp 33445 soYNToN eahca FL
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1 1 * NQTEE EL 0.0001 0.00
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200 COMP

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STDCKING-lmTERIAL-LABUR
----NET ruvo:cz -----

 

 

 

 

 

 

 

 

 

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»-rrmcmmc.\m.

 

 

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.-'.»~-u-v».‘. -.»¢»..»»“-.‘

 

 

 

 

RCR000000127

1m S.W. 131|1 WUHTI PDMFAND BEAGH, H.ONDA ma
PHDNE [BBIl 1I1-23800 FAX ll$#] liu-lam
REMIT T°:
1960 SW 13b E'l', PDM,\\HO BEIQ'|. FL 330¢9

AOCOUNUNG AND HR.E!SE !MJWHE$
H'mnl: IBE¢} 731-2399 ll Fl:l:: {854| 942-4541

    

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160000

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601 n cousnsss 102 srs 501

nzLanr aca 11 33415 aovNTon eahca zL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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sTARszc ocr 1 1005 THERE wiLL l
Hs10 P/Iuv FuEL suncznxca
1 1 * noTzs 21 0.0001 0 00
REF 1099331
400 comp
400 400 * ns an 0.2500 120.00
sTocx:NG-MATERIAL-Lnson
"""NET INV'O:CB """

=H»v¢uwnww---} *** TH:s 15 1002 rnvnrcs *** “”Im““. . 12°'°°
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RCR000000128

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FHOPE ll$¢l' Tl‘l-ISII° FAX I!H\l mo
HEMT T°:
‘IBN m 13b ¢T. FOM,ANB BEA¢H. Fl. m!

ACCDUNTTNG AND RELE{SE|WGUIFIES
Phun¢: [9541 781-2389 0le: l9541 542-454»1

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T°= mcmann mm INc ++

601 N CDNGR.EEB AVE STE 501
DELR.AY BCH FL 33445

 

 

 
   
   

  
 

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s'rARTrNG oc'r 1 zoos maza wILL [
BE $10 P/INv Fm:L scm
1 :L * No'rl:s EA 0.0001 0.00
R.EF 1098€28
480 GONP
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i-ll‘lcTi\mLT-RXA"L

 

 

 

 

 

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FHC|NE [l§$l 7l1-2389l FAX IIEIH m
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1660 BW 1301 DT. PoMl.lNCI BEM=H. FL me
A$CGUNHNG AJWJ !H.EASEINDUIHE¥
P'honl: 1954-§ 781-2398 6 le: {9541 942-4841

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TO= PRECIsroN DRYWALL :Nc ++ TO= vILLA Lnao
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comm aca FL 33445 soch mca FL
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08/11/06

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smARTING ncr 1 2005 Tnznn wiLL
ns 510 P/Iuv FpEL suRcHARGB

1 l * NOTES EA 0.0001 0.00
REF 1100174
96 CDDEOUND

96 96 * DS EB. 0.2500 24.00

srocx:nc-mm:ERIAL-Lazoa
----NmT znvozc:-~---

 

 

 

 

 

 

 

 

 

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unenfome _ -\ .;`- ._ ~._`_- -~ .--_. _¢ ¢. _
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1|00 S.W. 13th WUH.TI FOHFANQ IE|\EH, FLDHIUA m
PHWE li§l»l 7!1-2395° FAX {IEI-l 94243!0
REIIT TO:
1000 IW' 13111 GT, FUMPM\IO BEACH. FLBDIS

ACL'OUN?TNG AND HE`.£ASE INDWWES
Phon¢: [854-1 781-2388 ¢le: 1854] 942-4641

           

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169000 1-101054 o1

mLL sle
TO= PRJ:c:s:coN osmu\:.:. nrc ++ TO= v'_rLLA mac
601 N maass mm 312 501
nunn sca FL 33445 semen emma FL

 

     

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STARTING OCT 1:2.(')05 TI'IERB WILL
BE$lO P/INV FU'.BL SUR.CHARGE

1 1 w nom s m 0.0001 0.00
RBF 11001'74
95 coral

96 ss * ns nn o.zsoo 24.00
sTocx:NG-mTERIAL-LABQR
----m:'r INvorcs -----

1 1 w zoo-ms an 0.0001 0.00
25 yes nw mmc UP

25 25 w ns 21 2.sooo sz.so

smcxING-mTERJ:AL-maon
---~mi-r mvo:cE-»~---

1 1 * NDTEB
.48 COMP

45 48 * EA 0.4500 21.60
STOCKING~§IG§ERIAL- -LABOR

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0.0001 0.00

 

 

 

 

 

 

 

 

 

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1 1 * mss 31 0.0001 '0.00
STH F L 0 0 R
x 3 UNITB
210 210 * D 2212 SI 360.0000 3628.81
2" mm DRYWALL 12"
4 I 12
39 39 * D 15|12 Bl' 460.0000 861.12
1 2" llolsm mIBM 12'
m 4 x 12
1 1 * NOTBS BA 0.0001 0.00
1 1 milT C -
70 70 * D 21112 S!‘ 360.0000 1205.60
1 2" mm DHYW\LL 12'
4 X 12
15 15 * D 1312 El" 460.0000 331.20
1 2" mIST'CIR.E RBSISH.\‘|T 12’
D m 4 x 12
1 1 * ms lh. 0.0001 0.00
z 1 UHIT D
95 85 * D 2R12 Bl' 360.0000 1465.!0
l 2" mm mm 13'
4 x 12
15 15 * D mz SF 460.{|000 331.20
1 2" FDIS'|.‘URI RRSI£TMIT 12'
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mmrrm-_§ *** ms IB YOUR IIWDICE nm "T°TN- 7¢53°'73
¢ amnxunm -' m m
l-m.lmlnr mem ' '
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FEK§HTTUTAL
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norma aca Fc. assn scm s:c'rron

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nn 510 wva manson
1 1 * mss ai 0.0001 0.00
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' 1 2' memo omem.r. 12' ~
: 4 I 12
8 8 * n 2u12 . sr iso.ooco 116.64
1 2" mrs'rmzz mrsnm- 12'
mm 4 x 12
1 1 * mm 21 0.0001 0.00
1 x Um:'r c
70 10 * n 2a12 sr asn.oooo 1209.60
1 2' mm mcmm. 12l
4 x 12
15 15 * n 21112 sr 4sn.ooou 331.20
_ 122- mrsruaa wrsmm' 12'
4 x 12
1 1 * ms ai 0.0001 o.no
1 x umw n
85 ss * n12!12 sr sso.oooo 1468.80
1/2*1|2!mur.in ram 12'
15 15 * 12u12 sr 460.0000 331.20
MZ" mISTURl REBIS'H\NT 12'
minn 4 x 12
mlmmmu_" mr rams 15 ma mvozca '** ‘"""°"*" ""‘67'"
--lrmnnmm _.-' - ~' M|IG.GWIBE
_ l-mlo'n¢mlm\mu ~
.| +-I'l-“llm|.‘lAlARL
mma
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srer fix ` - 2!0.41
` rim
4,'755.25

 

 

RCR000000594

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olu. sl-lr
'ro: mcra:ou md 1111: ++ T°= v:m man
601 11 comss mrs m 501 mm § 2
mm sca 1'1.. 314-15 scm sncrrou
sums mcc-1

 

 

 

 

 

 

 

1m S.W. 1Il1 GUMI mild lE¢\BH. m mdl
m full 'll'l-$Ml MX Il“l mm

IIHIT°:

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A¢CGUN|'|M dm H€ASFMB$
Hl.ll: mm 1|1»2”| ¢Fll: m 842-1641

 

1100451-01

  

 

 

 

 

 

 

 

 

 

 

emma crimes mim 1111 "
33 $1° P/INV l'UELB BURCBPARGE
1 1 ms n 0.0001 0.00
413 P L 0 0 l
x 2 m'.‘l.'B B
140 140 D 2512 BF 360.0000 2419.20
1 2" REGULAR mmL 12'
4 X 12
26 26 1112an SF 450 . 0000 574 . 03
1‘2" mISTURB RISISTMT 13"
4 1 12
WMnDN\-A iii ms 15 m Imrgs '** “m~» 21993-25
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l~laumllm unum
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ITITETAX _ - 19‘.56
PA\‘HENT
mm m ods
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RCR000000595

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Il“\"l'°:
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_ mmmm m wm

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TO= nnc:s:oummm.::nc++ =vzm:mo

601 n mss m s'rz 501 ama # 2

mm ncu n. aaus sam ssc-non

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

annum aca-1 2005 main wm
as $10 P/zuv rush soncunnez
1 1 * mowzs an 0.0001 0.00
413 rl.oa¢)n
HmnTB
110 110 * n}znu sr 360.0000 1900.00
Mmmmnnmmmmlz'
4 t 12
16 16 * n 2M12 sr 460.0000 35:.25
g?"nmmmmsnmuenmm1r
mills 4 1 12
1 1 * abuse nn 0.0001 0.00
x:lmuTs _
70 70 * ozznl2 sr 360.0000 1209.60
12ll RzGuLnn on!nALL 12'
13 13 * D 21|128¥ 460.0000 267.01
1 2" mIB'I'URB RBBIBTLNT 12’
anL4 x:a
1 1 * downs 31 0.0001 0.00
X 2 UNITS C
140 140 * n ana sr sso.oooo 2419.20
12"1§:¢0112 nm!nALL 12'
30 30 * n 2312 s! 160.0000 562.40
1 2' NnISTUn: ass:sTLNT 12'
tmmm¢ 112
cummm_--_} in 1515 15 m m:c= **¢ IUIT°TN. 5,332-32
- nmmununm.¢ mw
hmle '
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rmmuumm
runzrix 44¢.10
nwmn_ am
mrmandlw!
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RCRDODOOOSBB

fill B.W. 1391 COUWl'l P°MFANQ BEAH'l, FLU|\IDA mll
FHQNE l554l 781-2359 FAX {B¥l»l m
HEMIT TO¢
1860 SW 13b ¢T, P°MIANO lEADH. FL m

ANOUN'ITNG AND RE|.EAS£MDWHES
H'm¢: 1554-l 781-2385 ll le: 1950 942-4“1

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150000 2030109~01
su.L sl-m=

TO= mczszon mmr. mc ++ TO= wm LAGQ
601 N maass nw s'r:: 501
asmar sca FL 33445 norman amca ml

 

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91/°1£96

 

Wm:

   
 
  

 
   

 

 

 

 

 

 

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1511me ro`é'r' 1 2005 hines WiLL
ss $10 P/:Nv mm suncx~mn<:s

200 200 * SGB2D LF 718.0000 1436.00
€" METLL BACKING~2O GADGB
150 150 * SZA: LF 405.0000 507.50
ZANGLE
25 xGADEB

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RCR000000125

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Pl\onl: l¥“| ni»mi¢FB! ISIIII mild

   

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501 n conaasss 113 011 501 anna # 2

011111 sca rn 33445 masons sscr:ou

BDYNTOI¥ BEAU'! FL

    

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33$10 P/Iuv rm guzman

 

 

 

 

 

 

 

 

 

 

1 1 * mEB Bh 0.0001 0.00
lTH ! L 0 0 R
x 3 mTB C
210 210 * 1112 Sl' 350.0000 3€28.81
_ 1 2" m DR'!'BIAIL 12'
‘4! 112
45 45 *' D 5¥ 060.0000 953.60
12 2' IDISTUIE REBIS'RNT 12'
mLL 4 I. 12
1 1 * ms RR 0.0001 0.00
l 1 UIII'! B
70 70 * 2212 BF 3€0.0000 1203.60
1}2' 1100111 nn!nnnn 12'
13 13 "' D 21¢12 Bl‘ 460.0000 207.04
g2* lDISTURB R.IBISI'.'ANT 12'
m 4 1 12
mmmou_+ *M' THIB 13 m mfg nn ll-IT¢ITAL 6,119.05
*-umwmu MI¢.¢'|A|\GE
l~m?“m\£
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ETATETAX 327.74

 

 

 

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GullmBBSAVBSTEEGJ. BLDG#!.
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FL 33445

 

 

'|IIB l»'l. ‘Illi\ mrt FUWMD m¢|‘\‘, FL°|I°I mi

m IM nl-m¢m Pl|i mm

IBIT`I'D:

10|0$* 1311|°1`, min mm H. mo

AG&UUWMM HE.E\S!'MLMEI
H\¢m= ||w 181-2310¢1=¢¢: ll“l 142-4641

 

 

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' . _ ‘:`11`-
BTARTI‘IG QCTJ. 2005 m UILL
Bl $10 P/IW m SURM
1 1 * ms EA 0.0001 0.00
m'l.' 417-n
85 85 * D12R12 B! 360.0000 1468.80
~ 1/2' m m 12'
l x 12
.15 15 * DZZ|B! Sl‘ 460.0000 331.20
115 2" mIEMB RHBISTLNT 13'
1 1 * m 31 0.0001 D.°O
S'El l! L 0 0 l
SOUTB m
7 7 *‘ D Zl€lz SF 450.0000 lSI.SS
1 2" mIE'!UII.E R.ESISTMT 12'
ll 4 x 12
mgwmn....-_-§ an lung 15 mug mfg *** MITMAL 1,954.5€
v .nmmm.muuc ., -r- MBGL mE '
mmr umwa " ‘ -
‘l'-ll‘"llm“.l'llm
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-..-. ._. _...._,_._EnmIBL
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'H&m.mulmu
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100 B.W. 132|\ El.\|.l\‘l'¢M|D EIGM. m IMI
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RBITTDl
16|08\\' 13|\ El'. F|llll||° EABH. l'l. wll

A¢€OUNHMWRE.EASEM{M
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1100'744- -01

ill-l- sHlP

'l'°= mcra:on nmu mc ++ = wm men
501 n moses ms m 501 nos # 2
mmr am FL 334-ss sou'rn seamen

BO¥NT°N BRACH FL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

r 7 n w d wm eric 1 2005 minn
ss 310 P!nlv rush sunn-mma
1 1 w moss o 0.0001 o.ou
am r 1. o o n
x 1 mm a
10 10 * nunn sr sso.ooou 1209.60
1/2- macon mm 12*
4 x 12 .
1a 13 * n 21¢12 sr 4so.nooo 231.04
%Zr' coram mrs'um'r 12‘
mo 4 x 12
:l. 1 * ms m 0.0001 o.oo
x 1 unr n
ss ss * n 2112 sr aso.oooo 1468.00
1 2" msumn mamm- 12'
1 x 12
15 15 w n 12 sr 460.0000 331.20
122" mrs‘ruu mccann 12'
4 x 12
1 1 ~ nom an 0.0001 o.oo
x 1 ours A
ss ss * 11122.12 sr aso.oooo 950.40
1 2- mm nunn 12’
x 12
s s * n ma sr cso.oouo 116.64
1 2'l mrsruu nasst 12'
m 4 x 12
mmmon-_§ *M ms I_s Youn rumch *** "‘"°"'- "‘23'“
- mumumu m. m
I- winning
§- “I".mml”l.
HEMT°TAL
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sunny 287.54
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H'lm m NI-IIIEFAX fm IW

mm

1310 m 1& M'¢ F°mlmm. H.I”

AMUM?N€ dm usme
Ph¢l¢‘. m 731'23”|&1¢:¢954} lid-1041

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' 160000
m smr
T°= rasc:sxou nnYunLL ruc ++ T°= v:LLA Lnso
601 s canonsss sz srs 501 amos #
nsLnAx aca rn 33045

 

  

`§J`

 

 

 

 

 

 
  

BUUTH BELTIDN
BOY!HDN BE'ACH FL

   
 

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S‘IRRTIM OC'I.' 1 2005 mill WILL
BE$!.G P/Illv I'UBL SUR.CHARGB
1 1 * mar n 0.0001 0.00
411! LO 0 l
x 2 UNI'.\‘S C
140 140 '~ 012112 sr sso.oooo 2419.20
12" m blm 12'
30 30 * lugo sr 4€0.0000 862.40
12" IB'.|Z'IJRB2 R.ESIS'LMH' 12'
fmi-4
1 1 * mm n 0.0001 0.00
1 1 m! D
85 65 * D 2112 sr 360.0000 1468.80
1}2'1!16|114\1\ DR.Y|H\LL 12'
15 15 * mlz ' sr 460.0000 331.20
1 2' mISTUR.l uslw 12'
DR.!\IALL 4 x 12
1 1 * ms EL 0.0001 0.00
N'OR.TH BECTION
21 ml:l:T C
70 70 *D2R12 S¥ 366.9000 1209.60
12" imm mm 12'
15 15 * EI' 460.0000 331.20
1 2'1HOIBTURBZRESIBTANT 12'
mhL4
mmmm_+ wm ms 15 m mfg in wa'ro'ro. 6_,422.40
- nnnw¢mal.l '1?»_-_= mm
l-mclln1m\nueu\£ v
+-mli.m‘l'u.l”|.
mmH'rm'rAL
_. _________ _ En.mmJ'Ax____...._.__,______
s_'m'i,‘w¢ 517.§6
ramon
6,£39.!€

 

 

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m m Tl'l-lMOFIX Illl lum
limsz
1I”IW1IMGT.NM|MM.RM

ACCGUWWM¥W .I'E.EAIEM£WES
H\¢nl¢ liu-l 781-im |Fl!: I'IIQ 042-1541

   

100000 ' 1100955-01

nu.L sHlP
TG= marson mmm. rtc ++ TU= wm mo
601 n moss mrs m 501 owe 1 1
osm¥ sen rn sans men amca FL

 

  

sm rim ocr 1 2005 mm 1111.1.
an $109 plow ms
1 1 * ours us m 0.0001 0.00
s'm 1" :. o 0 n
mm # 619

20 20 * 'n 1112 sr 360.0000 145.¢0_
1 §-1§:001.02 dam 12'

8 6 * :z ‘ SF 460.0000 115.64

 

2\¢12
1 2' mI/STU'RB 1138me 12'
YIALL 4 x 12

 

 

 

 

 

 

 

 

 

 

 

 

 

 

cooem-\.mmon-----€' nw 111-115 15 m mfg gn- wl'l‘o'l'AL 522.24
'-lr»\rl‘mumn¢.l _: - . mmi
blum-rum - -
¢-m'fllmt“m
msan
“ - _ FEMIBETAX
I'_I'A`l'l 'l'AI 33 ' 95
FAYMENT 7 °_o
mm hill DUB
555.19

RCROOOOUOBO`|

 

' 160000

BlLL
‘I'O:

  
  

FRBCISIQH mm IHC ++
iolllmllGREBSAVE BTB 501 BLN#Z
DBLRLY m

 

 

 

 

iln I.W. 181|| ONHTI wm IIAH'|. ml ml

mm"im¢nxllwm

IlI'l"l’°=

1662|’# 'lHGf. HI|PAN°HAGI|,FLM

mUN'HNGAM MMMH
Phonl: llw 781-28l50le3 150 542-4541

 

 

110€!9! 1' - n 1

   

 

 

 

 

 

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drnnrzm mocr 1 2005 13n2: w:LL mm
El$:.o slow m mm
1 morse on 0.0001 0.00
lea r n o o n
x 2 norms c
140 n 2212 ' sr 350.0000 2419.20
'n:cunna oa!wnLL 12'
0 x 12
30: sr 460.0000 062.40
:zz" norsrunsz nsszsramr 12l
1 H°TEB nn 0.0001 0.00
x 1 um:r n
70 01221 sr 360.0000 1209.60
1 “ nseunan ontunbo 12'
x 12
13 o 2u12 sr 460.0000 207.04
1 20 unrsrons nosrsmnmr 12'
tunLL 4 x 12
1 ms m 0.0001 0.00
X 1 'UllIT D
65 n 212 sr 360.0000 1460.00
1 2~ nnsunnn unrunLL 12'
4 x 12
15 n 2u12 sr 460.0000 131.20
1 2" unrsruns nss:sInnT 12'
o 0 z 12
cammmou **lr mg 13 m males ¢¢* MMAL 6,37§.24
~.nmmm HISO. BHM\BE
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m\'rETA,x' 214.59
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RCRUUDUUUBOZ

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AOCOUM'WBAMI IEMH imme
Flml\l: m 7|1-23|. lFm 1154/l mi

  
 

 

153000 w 1101091-01

llu. saw

T°= macon mm usc +4 T°= mm 2100
601 w compass mrs srs 501
mm aca n 33445

v 's'§'inrm§ 0c1'11200s '1'11§§§ wm
132 510 slow runs comm

1 1 * mrs 22 0.0001 0.00
41221 2' 1. o 0 2
zum:a's 11
110 110 * 212 150.0000 1900.00
?}2' mma mem 12'
4 x 12
15 15 * 2212 sr 460.0000 352.28
YM:smz mrsrm 12'
4 x 12
1 1 * lone n 0.0001 0.00
x 2 mr c
140 140 w o 212 sr 360.0000 2415.20
1 2- m mm 12'
4 z 12
30 30 * n 24412 -sr 460.0000 662.40
l::L|Z:z'- mrsrun§ mrs'mrr 12'
_ mm 4 x 12
1 1 * mms ah 0.0001 0.00
X 1 'IJHIT B
10 10 * n sr 350.0000 1209.60
-1}2-21§.220:212 m 12'
13 ' 12 * o 1112 sr 450.0000 201.04
1 2' m:srun§ assrs'mu 12'
ma 4 x 12

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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m mui-HIMMM
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imm 1MET,FUJIANOWG§.H.W

dm AND HEASEMM
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T°= mccann mm :nc ++
601 n comnas m sam sol

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FL 33445

        

 

 

 

 

 

 

 

 

 

    

       
    

 

STARTIWG DCI’ 1 2005 THBRB IILL
53 $10 P/IW mrs m
1 1 * RL 0.0001 0.00
SRD l' L 0 0 l
2 3 mTS C
210 210 * 1212112 B! 350.0000 3528.!1
1/2' noonan mm :Lz'
4 I 12
45 45 * n 2H12 H! 450.0000 993.60
122' WIETBRE mIBTANT 12'
1 1 * IDTBB n 0.0001 0.00
x 1 UIIT.I B
70 10 * b 2R12 Sl' 360.000° 1209.50
1 2" mm mill 12'
l x 12
13 13 * D 21112 Bl' 6‘0.0000 281.04
122" mlml REBIS'IAN'.|.' 12"
4 x 12
mmm;mm__.._§ nn fran 13 m rmlcg n* MTUTAL 5¢119-05
birmst -li' """'"" “*°' __ "" - ` ~MG.GHMGE `
hmw-nmu E-... Wa- ga
¢-.¢rm\lu\l.mmn. ‘
mWTAL
_ _ ___ ___ ___101;1533¢&...._..._.________
_.‘.T.A`!i".g . _3!,7.`74
nw
' 6, 516.75

 

 

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mCIBION DRMLL INC ++

601 ll mm AVE S'I'.E 501
¥L 33445

 

SI-llF
TD:

1010 C.W. ISI\GQUHTO mllm IEANl, ml M
PHB|E hill ?lithAx llS¢|lIl-#!i|l
IMT¢I:

1060”13¢\ I:’¥. moi»\d'|.!l.m”

AGMW'I'MM HEHEM
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vlm mo
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mRTrl BEC!IoN

 

 

 

 

 

 

 

 

 

sm Tzuu oc11zods rooms n:LL
BE $10 P/INV m SURG-IAIGB
1 1 * mm RA 0.0001 0.00
415 r:.oc>n
x 1 mm n _
ss as * o}2n12 sr aso.oooo 14sa.ao
1 2" mm DI.!WLLL 12'
4 X 12
15 15 * D 2"12 Bl' 460.0000 331.20
SZZ" mIBTUR.'B R.ISISM 12"
m 4 1 12
mwmw.m-_+ *H ms rs term names *** ”’°"_“ l'°°°'°°
'-l'lmwm\l '.' ' .--r _'_ ~. m m
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ultm\lllll.mm
Fl\ElBI-lTT°TAL
_”_ __ ..... ___immmmm_x__-___.___ ...
$P“!T*l . . ` 111. on
FA'NE|'F 0. 00
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lILL
TO:

 

PRECIBI°N m IHC ~H-
601 ll ms AVE ETB 501
mill BG ¥L 334-15

 

 

 

 

 

 

1000 l.w. 1201 amc mmm mem nunn non
mont M wham-nl uhl m
mm

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m mm '.“} latham . Fn: lou “W`

 

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Sl'lP

\’°= vm.x usc
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seaman men n

 

 

 

 

 

 

 

smocr12005 nms \m.r..
az 310 P/rmr rm moines
1 1 * nom ma 0.0001 0.00
san t L o o n
x 3 mms c
210 210 w o12212 sr 300.0000 3620.01
- 1/2» nom mm 12'
4 x 12
45 45 * n 0¢12 sr 460.0000 ssa.so
1 2- mrsm mzsrm 12'
L 4 x 12
1 1 * mm n 0.0001 0. 00
x 1 mr s
70 10 * n}m2 sr 360.0000 1203.60
2-1§3¢;012\2 mm 12l
13 1a * n 2111st 460.0000 201.04
122-l norm nss:s'ram 12'
4 x 12
\
mnmm-_* *** 'm:s rs m nr_\m:c: *** "',"m*'.' .6'119'95
- -mu'mmw m.WIGE `
l- mm am
§-lfl'l'lllm¥*lm _
dwd"umu
intent . . 391.`14
FAY|IENT
T`B'Bi¢ m 505
0,516.19

 

 

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‘IM I.W. in 00\.|21'¢ FMI|D IIH'L mm .Il
FHIIE m 101-ISII»H\X m mm

     
 

mm
1“|||¥1'1”¢¢'|‘,'0\'!”!!1£||,!.!”“
Mommm
_ """“"“'""`""""""““"`
160000 1101105-01
ill-l- sHlP
'|'O= mcrszou man nrc ++ = wm mac
sundomnssnvl sm 501 mail
nunn ncr FL 33445 sums s:c'!ron

BQYNTOFBRAGIFL

 

 

 

 

 

 

 

 

 

 

        

 

 

 

1 1 * mm E'A 0.0001 0.00
3m l' I¢ 0 0 R
m'l.' 310-c
4 l * n m BF . 430.0000 88.32
1 2" mlsml usng 12'
gm 4 x 12
1 1 * m " n 0.0001 0.00
m 323 c
15 15 * n 2x12 Sl' 450-0000 331.20
%22' mfs'l.m RESIBTLNT 12'
md ll x 12
37 37 * ll 2212 32 350.000'0 639.36
1 2" m mm 12'
ll x 12
1 1 * ms n 0.0001 0.00
m'.l' 322 * B
13 13 “ n 2H12 SF 460.000'0 201.04
122' mIBTm mISmT 12'
D m l x 12
mm~m»_+ *** ms 15 m :mm:¢ *-* '""°“*" 1'“5"2
\‘-I'l‘m'rhlmnu\¢ `.-' " '. 7 - - -é..- w - ---m»:~¢ “¢B_c"m
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I-l'l'-lnlm\.‘l'#\l"\¢ .
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RCRODOOOOBOT

1080 B.W. 13th EMT¢FDHFMD BEAG'L FLDI|DA 330”
.FHONE 1954| 131-239805\1( m m
HE|IH' 'Nl
'llN BW 1301 CT, mAI|U IEAE'I. H. m

ACDDUM'IWG AM RB.EASE MW£B
Fhlm¢: {954| 701-2300 l Fu: 1954-l 0424641

         

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1ssooo 1101107-01
leL sHlF
T°= Pnsczs:ou nnmLL nrc ++ TD= vILLA mac

601 10 concesss sz s'ra 501 owe # 1
mm am FL 33445 sou'rH sscrron

BO'YNTON BEI\C!E FL

   
 

 

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sma-rim 001'1` 21005 mims w:cLL
33 $10 P;'INV FuELs UR¢:HARGB

1 1 * mens - an 0.0001 0.00
arm F 1. o o z
12 11 * o 1012 sr 460.0000 zse.ss
1 2- mxs'.mr.s ms:sm 12'
mm 4 x 12
1 1 * No'r:s nn 0.0001 0.00
1s'r F n o 0 n
30 30 * 0121012 sr 460.0000 ` 052.40

1/2' abrams RBSISTANT 12'
mm 0 x 12

 

 

 

 

 

 

 

 

 

      
 

     

 

 

 

consummme sum ms 15 YQUR rn'VQI. nw BUI_TCITAL __927-36
l.l'l'¢\]'lm|c”l¢lll£ l - --"¢_.- f_-\..\."H .-a_-. anew : -_-. - ..'-§ al l . -_~
F_EDJDTH_E\TAX _ .
mma ‘“ \ .:00.§8
PAYME(T g_oo
507-64

R00000000022

'll¢\`l B.W. 18||¢¢|¢1'0!¢|"”€0 lEAGH. md M
m lli$l?l‘l¢l.m,m ll“l w

 

   

RBITTol
1 1|50|'1!|\¢!1.!0|'£!|0|£|¢|4,!\8$|“
AMWMAMMSEMM
_ Mwmmm.m nw gum

160000 1101109-01
11ch sHlP
T°= mclaren mrsz 1110 ++ T°= wm 1200

601 11 0011021150 1102 512 501 amos 11 2

amy sen 21. 33445 002-111 norton

 

 

 

 

 

 

 

 

 

 

  

 

 

 

s'1:1111'1:1121:c111'1w ocr 112000 22521:1¢:1.1.'
211 510 wm 2022 mm
1 1 ¢ 1001-ns n 0.0001 0.00
x 2 ours 2
110 110 1 o 2212 sr 360.0000 10011.00
1}2'12211001.112 mm 12'
16 16 * sr 460.0000 353.20
1 2" nmu-1022 mrs-nm 121
mm 4 x 12
1 1 - ms 211 0.0001 0.00
x 1 umw c
10 10 * 2212 sr 360.0000 1200.60
4 lmac' 210001012 02!1011.1. 12'
15 15 1- 0 21112 ss 460.0000 331.20
522-l mrs-conn mrs'rm 12-
11\1111.1. 4 x 12
manuame *** ms 12 _1'002 mvo_::c.'s *" '“"°“'~ 3-"9"“
-lnm-vunmll ` - HB¢.G'L\RG£
I- -mmm '
§-H‘l`l'flml.'“m .'
Fi\s_mwm_
_ _ __ _ ____ __.Eo.zomm__t,u;.._____,__.__
'm.'rE.TM _. 146.5.'1
Flm
4,041.55

 

RCRDUOOODSOB

1060 B.W. 1361 UGURTI POMPANO §EAGH, milk ml
FHDN‘E 1931 n$»m° FAX m mm
mr T°:
1m BW 131h UT. PoM,ANO BEACI'L FL m
AEX`}OUN'|TNG A.ND RREASEWQWRI£S
thn: low 731-2399 b le: 1554} 942-4641

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ma smP
TO= 222015102 0212210 120 ++ TO= v:LLA Lngo
601 0 00202255 202 sTE 501
021221 502 21 33445 2012102 22202 FL
v 2038464-01 133 08/17/06
s1221120 00112005 12222 2100
02 310 2/100 FUELS mcn2202 . .
15 15 * c-12 LF 345.0000 62.10
§z§ 21 220 cHANNBL 12'
2 emma
12 72 1 TSANnA 22 2.5000 100.00
mmnsmmnznmu.mmma
rnmhmo
7 7 * 22021 22 5.5000 30.50
2mmnm1umwm22mm'nm2
2*2msnua
QHEBwuwnwm A‘ *** 1215 15 1002 1200102 ***
:-l'|`l'll'l'“mll "' l _",' '\"
l-'|‘Axm gm
orl'|'l'|'l\m'l'“l”\-

 

 

 

 

RCR000000128

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T°= mann 021221.1. nlc ++
601 2 moses 202 012 501
nunn aca

 

 

 

 

I'L 33445

 

 

 

ilIB lW 1Ih ¢'l'»

Rllm"l'°:

10000.\2.1:\2 emmommomm.n.ms ann
male m m-mnmmq mm
mann mechanic

mmmmm
Phall¢ Blll 781-23”|!»!2 IINI 242-mi

 

110139!-01

 

 

 

  

 

 

 

 

 

T‘Im- OCI 1 2005 m IILL
31 310 P/INV I'UBL mm
1 1 m EA 0.0001 0.00
323 l' L 0 0 R
l 2 m'ls 3
119 110 D 212 SF 3¢0.0000 1900.80
1 2" m md 12‘
4 1 12
16 16 D 21112 B'l' 460.0000 353.28
%ZZ' mIETURl RBSIB‘.'BIIT 12'
m 4 x 12
1 1 NOTBB ll 0.0001 0.00
I 1 WIT B l
70 10 112 SF 3€0.0000 1209.60
g}§" m mrs 12'
4 l 12
13 13 D 2K12 ‘ Bl' 4€0.0000 281.04
122" lDIBT|JR.B usler 12'
l l 12
1 1 l|'DTlE n B.EDM. 0.00
x 1 1311 C
79 70 D 2112 52 360.0000 1209.60
1 2" m m 12'
4 I 12
15 15 D 2ll12 Sl' 460.0000 331.20
122" IDISTURB WISTAIW 12'
4 1 12
mmm--_‘F *H 1313 _1s_ 1002 12001<:2 *** '""m': 5'2’1'52
- murmur-nme MIC.&MBBE
I- WTMI m
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601 N ms JWB STE 501
DE|!¢RA'!' BCH !L 33445

  
 

    

 

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sm mrs carl 2005 arms un.L'
B`E $10 P/IW ML SEURUM.G
1 1 * mmr m 0.0001 0.00
' ZN'D 110 0 l
ll mTB D
110 170 * D 2R12 53 360.00°0 2937.50
12" fm mrs 12'
ix 12
30 30 ' D 2112 51 460.°°°° 562.4°
SZZ" WISTURI msm 12'
m ‘\ .'l. 12
1 1 * m n 0.0001 0.00
x 1 m'l' C
70 ' 70 * D};R;.: SF 360-090° 1209.€0
1 2" m m 12'
15 15 * BF 150-0090 331.20
§ZZ" ICOISTURBz I.EBISTANT 12'
llle
1 1 * m v 0.0001 0.00
x 1 m 3
79 70 * Dzzll: SP‘ 360. ODCD 12°9.60
2" m m 12"
13 13 * 89 \EU.DUQQ 387.°4
1 2" mlsm RSSIBTMT 12'
L 4 x 12
coolmluw.\m-___} ns ms rs m Im;¢cg nn 'l|ITMIL 5¢537-44
- mman “_ -~ -- 1 MM. m
I-Mll',l‘l'»\lml .':' . _ . .
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15” E.W. 1Ih COURT¢ mAN° IEANL mbh ml
H'lm|‘E li“) 181-lui FAX Il“l mm
I\E|II'T 'l'°:
1"05¥[13¢1|¢1'.?01'1||0.£\&!.&3$|8

A(','CDUNTM AMJ mSEMUME-¥
H\ml: 1954| 781-239| l F¢x: lBF-I»l 542-4!41

      

1680°0 1101327-01

leL sHlP
TO= Paac:srom mm nrc ++ TC= vn.m. mo

601 N compass Avs srs sol amc-1

nunn aca m 33445 scm m sncrrou

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8/18 06
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STAR.TING OCI 1 2005 THER.R WILL
BE $10 F/INV FUEL SUR URCH`ARGE
l 1 * NUTE§ ZA 0.0001 0.00
1£'1' FLDOR
70 70 * DJCUSG EA 13.1000 917.00
JOINT GJMPOUN'D U.S.G.
5 GI\.L PAL USG
1 l * NOTES 3d 0.0001 0.00
ZND FLOOR
80 80 * DJCUBG 21 13.1000 1048.00
JOINT QZMPOUND U.E.G.
5 GAL PAL USG
1 1 * NUTES EA 0.0001 0.00
BRD FLOQE
80 80 * DECUSG EA 13.1000 1045.00
U…EE) WU. S. G.
5 GBL PAL USG
1 1 * NDTES EA 0.0001 0.00
4TH FLODR
24 24 * DJC'U'SG E.'l\ 13.1000 314.40
JDINT CDMPOUNTJ 'U.S.G.
5 GAI.¢ PAL USG
cooloq=unmcn-__--§ nw mrs 15 mm mrt-3 in ll.‘ll_ToTl`|." _ ` n 3,_::1_?7.`4?
:-um'rnxuml.e , mMAHGE’,'»'_"-'¥'_."-‘ f~f `-115.00`
hm'l'nl"l\.h'g . . .. .. \ .
d-- ll'.l'l¥\mh!ll'|. .
mmr-gram .'.-'.2;‘__ '~
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PA¥MENT

   

 

-m»u.' ams-m
3,53'7.04

   

 

RCROOOOODOZS

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Ac¢.`DbWIWGAMHB`-£ASEMUUNES
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alu. sl-la'
T°= mors:con mm nrc ++ 1‘0= wm mm
601 n comma ma sua 501 mm 2 nom snc'rrou
nmu sca n. aa“s nn mon

BO!RTQN 3m `F'L

    

 

 

 

 

 

 

 

 

 

 

 

 

 

sm wm oc1'1 '2005 mm 1111.1.
BB $10 P/IW PURL mm
1 1 * mE 31 0.0001 0.00
mT D
SRD m
85 35 * lizan SF . 350.0000 1455.80
1 2' mm mm 12'
4 1 12
15 15 * n 2l(12 SF 460.0000 331.20
1 2'l mIBm munn 12'
m 4 x 12
1 1 * ms m 0.0001 0.00
\INIT C'
310 !'LDOR
70 70 * 132112 SF 350.0000 1208.50
1 2" gnma mm 12'
15 15 * D 2ll12 El' 450.0°00 331.20
322' IlDISmE IBEIBHNT 12"
m 4 I 12
1 1 * m IA 0.0001 0.00
m'l' B
SR.‘D FLOOR
10 10 * §};21: Sl' 350.0900 1209.60
512-m DRmL 12’
13 13 * n ama sr 460.0000 251.04
SZZ" lhle RESISTLNT 12'
l mLL l x 12
1 1 * ms EIL 0.0001 0.00
m'l' o
3RD FLOOR
mmmnn_+ anan
» lmn.o¢mu '- mgm
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T°= nnnc!srou DRYNALL rnc ++
601 n cnmoa:ss nwa 315 501
en 33445

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Fhoul: m 781-2301 lF¢e:: Mi} Ml-M\H

 

 

 

 

 

 

 

 

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55 35D2R12 SF 360.0000 1453.80
12"1§.59\`.11¢1!1 DR'!'I|`.I\LL 12'
15 15 D 21[12 SP IEG.U°OD 331.20
1 2" mlsm RESIBT.'AHT 12'
D m l l 12
mmgt|m__-»--j **i TH g rs gunn rovnch *** m¥°'l'll 6|€31¢“
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FEUM'HERTAX
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7,058.81

 

 

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1360 I.W. Ild\ ¢BUI\'TC mm IEAUI. mbh null
m fm `ll1-m l FAX ll“] mm
I\EIIT'I'D:

imm 13th ¢'T. FUIIA||B mm H.ml

AGCGUNUNG AAD RREASEINQUH`E$
Fhm: lIMl 781-230 lFI¥: 1050 m-4641

      

153°°0 11015&1- 01

mLL sum

T°= Pnzc:sron nnYunLL :uc ++ T°= v:LLn nasa
501 n consnzss av: srs 501 nLnG # 2
usLnAr sen rL 33445 nonru sch:on

BOYNTDNBEACH FL

 

 
  

 

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STARTING °c1'12005 THERE WILL
$10 P/IW mla SURCHARGE
1 1 * m EA 0.0001 0.00
BND F L 0 0 R
1 2 mTS A
110 110 * 1312212 SF 350.0000 1300,3°
1/2" m DR.'YW.'BLL 12'
4 x 12
1 1 * NDTES EA 0.0001 0.00
X 1 UNIT C
70 70 * D 212 SF 360.000° 1205.50
1 2” REGULAR DR.YWALL 12'
4 x 12
1 1 * NDTEE EA 0.0001 0.00
15T F L 0 0 R
x 2 UNITS A
110 110 * 1312212 SP 360.0000 1950.30
1/2" REGULAR DRYmL 12'
4 X 12
1 1 * NOTES EA 0.0001 °-°°
l 1. UNIT C
70 70 * D 2R12 SF 360.0000 12°9.60
1 2" REGULAR DRY‘ELL 12'
4 x 12
commnmoM--__+ *** TI-IIS IS YOUR. INVOICE *** _m.m_"'. .. . __ 6'§-__°.'_8°
--lrau'ru¢:_lml.: n ._ MIB‘¢_E.M , .'"~-'F -¢- '4' =
+-IIITEImLTAXAHL
E_n.mma=\_rax __ _ _
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601 n cmldmss Avn sT!: s
comm am n. 33445

 

 

 

 

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mm umw
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anm M£\\$EMUHB
mm low 761-nu ¢ Fu: law 842-wu

mo s.w, 1;¢\ mrs mold mem ma$éi
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FW/ZM:| ISF=H BMZI ¢WS

I,BP°Z'FIH'EB ¥¥_-.| amd ~|'WW

12oos mann wm
ss $10 P,f:mr ms unc-mms _
1 1 * ms 21 o.oool o._ !-_
man !' L o o n ' ge
x 2 ms n ,
1-s 16 * n anna sr 460.0000 . 351._ a §
1;2~ m:s'.rm mrs'rm 12' f
D § x 12
1 1 * mas n n.ooo:\ n.' _ §
x 1 mm c _. - sf
1-‘$ 15 * n 1412 sr 460.0000 331. n~ §
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3 2 ms .1\ _ _
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mann 4 x 12 _
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15 15 - n 2111 sr Mo.oooo 111.
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4 x 12 ; _-

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hmw mm \

 

 

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1660 S.\'!.. TM C°URTI FUI|F.\N¢ IEAUH. ml m

mens ross remmer-ax Lssq 941-nco __
namvmm ' 3
1000 sw 1301 r."r. romano mm Fl. ames . _g§ .

dm AHU IMSE MES
Fhml: 1354-l 781-2399 ¢Flz: (i&¢|»l 5424|41

      

1680¢10 1101631-01
sn.L sHlP
TD= mc:s:con mm me -r+ TO= vzz.u. mac

601 11 maass me 513 501 BLDG # 1

umwa sea F:. 33445 sums szc'rrnu

BD'YNTDN' BELC'_'-f FL

    

 

 

 

 

 

 

 

 

 

 

   

 

   

 

  

STARTING OET 1 2005 '.I.'I'IERB WILL
assn wm ron monies
1 1 * ms m 0.0001 0-
15'1' F L 0 0 R _ . ~
20 20 * ‘DI!¢‘I,} SP IG°.QGDD 'I¢LI..
1 2" meTUREz RESISTANT 12' '.
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-.m'rrwu.:_mu ' _ _ ' ___ W%w ::‘;'. ix'::£;;.."',;‘v. °:r§'f"'
-:m"lmTM-U'P\-. ._ ____~_____._
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!EM|TTQ; ‘ §'
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Mums.qmmsasemowdrs
Fllml: nw 781-233*§¢' mw'|

      
  

 

16000 1101¢34-01
slu. s\-m»
TD= nsc:cs:on hamm mc ++ _T°= wm usc

501 11 casm:sss mrs srs 501 amc # z

mr am FL sans non-rn ssc:r:cm

BOYNTONBEAEI FL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

smmme 001-1 2005 mann wrm. ,` §§
manor P/mmsmmss . r='
1 1 * mms nn 0.0001 i o.ud i.
lBT ? L 0 0 E . ; .g
x 1 mm o .‘ ’- .-
| ' '.
as as * nunn sr aso.noqo g 1468.€¢_| ;;
1;2" uaw mm 12' l , ',
4 x 12 _ ;; :.
1 1 * mTEs m o.oon:. ‘ o.q§ "
x 1 mr c 5 l; :‘
70 70 - 9129.12 sr 360.0000 ' nos.qq
1/2' mm mm 12' g :. ,
41 12 g =:
1 1 =~ ms n o.oool !, n.ciq
x 1 cmr-c a ~ , ., ,
70 10 w 11121112$1= ssn_oouo ' uas.¢v
1/2"113¢:111.111 blum 12l j _, _-
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unanva r- -» »¢ :yj¢sg_ mmg.r_*: -. -,-_-.: ¢ gn;_- j.,
¥~Mm'l“mll
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1000 B.W. 13b coun‘r¢ PC|MPANB mBH. FL¢IIIJA mt
PHG||! 1964-l 781-unr FAX llili udaan
RElIT TB:
1660 B'W 131 GT. PQMI.M|D IEAGH. H. m

A¢GDUN'H!\B Al\m REI.EASEMUIWES
Phom: 1059 781‘2390|| le: lBEH 942~4641

   

\ LAM§‘WV co. w

169°°° 1101650-01

     

BiLL SH|P

T°= Pnsc:s:ou mm INc: ++ TO= vILLA LAGo
601 N conem:ss mrs srs 501 anne # 2
comm aca n 33445 mann snc'crou

BO'YNTON BEACE FL

 

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_ 08/§§]05 _ 08/23_[06 12' '54: 49 _ _ 08/25)_'0§_

 

 

 

   

 

 

 

 

 

 

 

 

 

 

TARTING OCT 1 2005 THERE WILL
BE $10 P,/I.NV FUEL SURGDRGE

1 - 1 * NOTB S 381 0.0001 0.00
5'1'H P L 0 0 R.
93 33 * DJCUSG EA 13 . 1000 1283 . 80

JOINT UOMPOUND U.S.G.
5 GAL PAL USG

1 1 * WTES EB 0.0001 0.00
4TH I* L 0 0 ll

13.1000 1283.80

§

38 98 * DJCUSG
JOINT COHPOUND U.B.G.
5 GAL PA.L USG

1 1 * NoTEs EA 0.0001 0.00
3m r L o o R

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

98 98 * DJCUSG EA 13.1000 1283.30
JDINT COMPO'UND U.S.G.
5 GAL PAL UEG
1 1 * NOTES EA 0.0001 0.00
ZND Il' L 0 0 R
98 58 * DJCUSG EA 13.1.000 1283.80
JOINT COMPOUND U. S. G.
SGAL FALU
1 l * N()ETE EA 0.0001 0.00
ls'l' F L 0 0 R
50 98 * DJCUSG EA 13.1000 1283.80
JOINT CQMPOUND U.S.G.
SGAL PAL USG
cool:xmmon_+ nw mrs 15 you-g nwp;[cg in IUH_'QTAL _ _ _ 6{_1!_19`.00
humasz . M§¢_BHAREE ‘-" - '. ' `
l- mrs umw ' " ' '
+-Il'k'.l'llm|.f.lxl,l, _
maéfrrTa'i'A_i_."
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lmme '-_-_'»_'=~ `Z £1'}'.'24
nme q___gg_
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RCROOOOOOOZS

 

1060 S.W. 13|\ GGURT| FM&NO BEAG-L FLBBID»\ m
H'IDNE few 751-2300| FAX 1954 m
REI»\IT 'l'°:
10” BW 13¢!\ ET, P°MI'M|O BEAH'L FL ml

ACGDUN'IWG AND BE.E‘SE mg
Fhon¢: 1950 701-259 ¢Fmt: IIMI 042-4041

BA_"NEB suPPLv 00. `

     

   

1101552- 01

 

sum

T°= smscrsron DRYwALL INc ++ TO= vILLA Lnso
601 n cnncnsss 102 sra 501 BLDG # 1

nsLRAY BcH FL 33445 souwn sun

BOYNTQN' BEACH FL

 

   

 
 

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sTARTrNG 001 1 2005 THER: wILL
an $10 P/IW FU'BL mm

1 1 * NOTES m 0.0001 0.00
151 01001
4a 4a * DqusG EA 13.1000 620-00

JUINT C¢M?O'UND U.S.G.
5 GBL PAL 'USG

 

 

 

 

 

 

 

 

 

sun mn _525 - 50

wmmunmou_-! *** fl'I-I_IB IS _Y.'OUR INV\_SICB *** .. . ., . .
' _1 - = msa¥umu$ _*~ 'i;.~

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swnerxx _f :40;01

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mm m n“-w.m ll“l m

   

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' _ ACGUMWMAMDIE.EASEMLMH
m "`""‘""`""“"'“""'""°"
ll - _ _ ' . : ._. h - -
i 100000 _ 1101099-01
' ou ` smr
TO= mmc:s:ou mm nrc ++ T°= wm men
601 H msi AVB S'.l'B 501 BLDG # 2
D!LRAY B(IH FL 33&45 IIOR'.PH SSCTIOII

BOYNTCN mm FL

 

  
    

 

  
   

 

 

 

 

 

 

 

 

 

 

 

 

 

15me OCT 1 2005 THBR.E WILL
BE $10 P/INV m mm
1 1 * mls ml 0. 0001 0.00
5'.|.'B' ¥ L 0 'D R
ll mill
70 70 * D 112 SF 360.0000 1209.60
4 112§" m DR'YWALL 12’
13 13 * D 21!12 SF 460.0000 287.04
113_22'l lDISTURE R`ESISTANT 13'
m 4 x 12
l 1 1 * NQTBS ll 0.0001 0.00
I 1 UN'IT C~S
13 13 * D}2H12 SF 460-0000 201.0‘
1 2" mIETUR.E RBSIB'H\"T 12’
DlImLL 4 I 12
1 1 * )TOTEB ll 0.0001 0.00
2313 F d 0 0 ll
X 3 m'l' C
210 210 * Dz;ll Bl" 360.0000 3520.01.
12“1REGULAI. m 12'
1 1 ’ m ll 0.0001 0.00
f lm’.l' 3
70 70 * D 2112 BF 350.0000 1209.50
1 2" m DllmLL 12'
4 I 12
tammD¢l\\..mm'u:lu-----_-_"`l.d nn ms :5 m I5v5155 in II.|BTO'I'AL 6¢‘22'°9
¢.m'¢\tumn . _ -‘ mm
mm umw
+-'l’mlm‘“m
FFElll-II"I'U'|'AL
..._..-.- . _ _ _,__, __E|UD]HH‘I’AH._______...... __......_.
sTA'rETM _ §30.|4
lmle '
1,052.53

 

RCR000000616

1m S.W. 13th CQURT¢ POMFA.N° lEAGH. FLM\DA mm
FH°IE m 751-2389 FAX low mm
BBIIT TD:
'lmiw 13\|\ ¢T, PC|MPANU IEACH. FLmI

ACWU'N'"NU AND RELEJ!SE MDMWEB
Phuna: l954) 781-2395 9 Fli¢: {954| 942-4641

     

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168000 1101’)24-01

BuL smP

T°= rasczsrcu nnYmeL rsc ++ T°= v:LLA LAGo
601 N concnsss nwa srs 501 BLDG # 2
nELnnY sen FL 33445 NonTn szcrzou

BOYNTONBEACH FL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 1 * NOTES EA 0.0001 0.00
ZHD F b 0 0 E.
x 3 TS
45 45 * 1112le SF 450.0000 993.60
1£2" HDISTURE R.'ESISTANT 12'
D 'YWRLL 4 X 12
1 1 * NOTES EA 0.0001 0.00
1 1 ‘|'.`l'NIT B-§
13 13 * 31214’12 SF 460.0000 28'7.04
1 2" mISTURE RESISTANT 12'
DI.Y||J\LL 4 X 12
1 1 * NOTES BA 0.0001 0.00
1$T F L 0 0 R
I 1 UNI'I' D
15 15 * 1321!.[1 SF 460.0000 331.20
1 2'* BDISTU'RE R.ESISTANT 12'
DRmLL4 x21
1 1 * NDEE%NIT c EA 0.0001 0.00
15 15 * D 2H12 BF 460.0000 331.20
1 2" mISTURE RESISTANT 12'
mh 4 ll 12
1 1 * NOTES EA 0.0001 0.00
z 1 UHIT B
13 13 * M12 SF 460.0000 257.04
1/2" mIST'U'.R.B RESIST.MPJ.' 12’
DR'!'IU\LL41€12
coDEExFLAuA'noN_+ *** THI_§ 15 199R 1Nvg1cg sen MT°`_\"AL _ .2¢23°‘°8
- mm~rocmums __- . l HIS¢.€HAHGE ' - - '° » ‘

I- mTAK lm\.i
¢- I'l'l‘l'llmT-\IIM.

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PAYMENT U.
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RCROUOOUDOZB

 

168000

BILL
'l’0:

PRBCIEION 111me IHC ++
601 N mas AVB BTE 501
DBI.\R.'AY BCI'! I'L 33445

SH|P
1'0:

1m I.W. illll mi!dl!m W. m m
FHGE m Tli-\III¢W m m-IM

1'0:

m
10”“! fall G'T. milde H.m
Accdmmlwmm

VII.LA LAGO
BLDE # 2
RIDDLB SECTION

H¢ml: ml 751-23“|&¢: {IW 942-480

 

1101?26-01

 

 

 

 

 

 

BOTN'|'GI'IBEI\.CH I'L

 

 

 

 

 

 

 

sranw:uo ocT12005 modus iron
Bl:$lo P/mv m Slm
1 1 * nurse nn 0.0001 0.00
zuo FL o o n
suN:Ts c
210 210 * 012212 or 350.0000 3520.81
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1 2' norman nunn 12'
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1 1 * NDTES 31 0.0001 D.OU

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JOINT CDMPOUNB U. S. G.
5 GAL PALU
1 1 * NOTES Ed 0.0001 0.00
4'1'1! F L 0 0 R.
UNITS BS-CE-C"l-CB
STOCK 14 Pm UNIT
53 56 * DJCUSG EA 13.1000 733.60
lJ'OINT COMPOUND U.S.G.
5 GRL E’AL USG
1 1 * NOTBS E'A 0.00°1 1'-\-\'-'":l
3R.‘D F L 0 0 R.
UNITS BS-C€-C'?-CB
STOCK 14 P`ER UNIT
56 56 * DJCUSG n 13.1000 733.60
JOINT CDMPOUND U. S. G.
SGAL PALU

1 1 * msp EA 0.0001 0.00

LO OR
UNITS ¥BS- C€- C'?- CB
PER UNIT
55 55 * DJCUSG El\ 13.1000 733.60
JUINT COMPD'DND U. S. G.
EGILL PAL USG
1 1 * NDTEB EA 0.0001 0.00

IST F L 0 0 R
UNITS BS-CG-C’I-CB
STOCK 14 PER UNIT

 

 

 

 

 

 

 

 

 

 

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15 15 * nw SF 450.0°00 331.20
1 2' mm mISTm 12'
4 x 12
1 1 * m n 0.0001 0.00
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70 70 * 131211251' 350.0°°0 1309-60
112' m mmL 12'
13 13 * n 2H12 BF 460.00°0 287-04
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m 4 x 12
1 1 * m n 0.00°1 0.00
3m F 10 0 0 l
mT c-22
70 70 * n 2112 SF 350.00°° 1209.6°
1 2' mm mm 12'
4 x 12
15 15 * o 2"12 sp 460.000° 331.2°
122' IIOIBTURS RBSISNT 12'
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ACCOUNLWG dm MSE IM.'|UM"ES
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mr 1'0:
1000 sw iam cT. volume mci-l. Fl. amos

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10 10 1 n 2112 sr 360.0000 1209.60
1 2'- mm nsmm.:. 12'
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13 13 * 1')121¢12 sr 460.0000 261.04
1/2' Mo:smm: RBSISTANT 12'
mm 4 x 12
1 1 * No'rss ma 0.0001 0.00
mm' 1>-19
as as ¢ 1312:412 sr 360.0000 1466.60
1/2"12.:¢301.3.3 nn!wn.t.:. 111l
15 15 * n12M12 sr 460.0000 331.20
1/2" mrsmm: mssrsrm 12l
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1/2n mm mmmm. 12'
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Bzz" mors'rm ass:cs'm~rr 12'
m 4 x 12
1 1 * NoTEs nn 0.0001 0.00
umw A-1'1
ss 55 * 1312312 sr 360.0000 950.40
1/2' P.EGULAR DR!wALL 12'
4 x 12
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J..£j:r_j;¢:$`$,jf.,s -`\. m r,a_ M _: ,j.

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qp/os/ds ii=zs=la

    

 

 

 

        

 

 

   

8 F la * nunn 460.0000 176.64
1 2" MDrsTURE RESISTANT 12'
o ¥WLLL 4 x 12

 

 

 

 

 

 

 

 

  

 

 

 

¢¢vau»u“o~---#* *** TH:s :s Youn :Nvo:cs *** F"'“"*L .. 5'9§‘148
nonmme ‘ "' '- ""*"~ " ' ".' MSB. HMBGE . lu.go
l.mmln'ruon.om.s ..,.‘».‘ '
4~I'Ml'llml.T\\!-IFI.

melaman
FEnJaTHEn TAx
srATETAx ' 3d7.69
PAYMENT g_
TOT.RL m DUE
61 3 52 . 17

RCR000000084

11” I.W. 13!\ mf¢mll|° lEA¢l'l. FL¢I\|DA mn
FHDNE lls$} 731-1300 FIX lllli m
IEHT TO:
1m BW 131|1 UT.FUMIANG lEAl'rI'L RM

ACCOUNTWE dm MSEWHB
Phonl: law 781-2899 0 Plx: 1|54] m~|-IM

LW._.

      

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150000 1102435-01
olLL sle
TO= mccann mm mc ++ TO= wm 1100

501 m comnas Avk 222 501 BLDG # 2

nunn scm 21. 33445 sum slcr:cou

BOMON’ mm .F'L

 

 
 
   

     

 

 

 

 

   
   

 

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;»{n\ -:.`--L--.. _,. . -,. _-_.:=\¢"1 ;. -__. . `:'.. lmva ’1“"-$§-§§§ M\i:§|*h.§~£m
110243__5- 01 V _ L13:1 09/0_6/06 09/06/06 15- 0-25 __

  

 

 

 

 

smz'r::m oc'r 1 2005 max wr:.:.
ns $10 p/::n'v mn sum

 

 

 

 

 

 

 

 

 

 

1 1 * mms m 0.0001 0.00
320 2 1. o o n
umw n-1s
05 ss * 012212 ss 360.0000 1463.30
1,'2ll mm namm. 12l
4 x 12
15 15 ~ n 21¢12 sr 460.0000 331.20
1221 mrs'm:mu mrsrm'r 12'
. n m 4 x 12
1 1 * sums n 0.0001 0.00
2Nn 2 1l o o 2
umw A-s
55 ss * o 2212 sr 350.0000 950.40
1 2" 22201.22 cum 12'
4 x 12
B 8 * n 2312 sr 460.0000 176.64
122' m:smz us:sTm 12'
n m 4 x 12
1 1 * sons m 0.0001 0.00
mm- 2-10
20 10 ~ 01221251= 350.0000 1203.60
1/2"21220122 mmm.r. 12'
4 x 12
13 13 * Ez§"$l§ozs'rm users m 12' sr ‘6°'°°°° 257`04
2
mem 4 x 12
1 1 * ms m 0.0001 0.00
umw A-11
55 55 * 012212 sr 360.0000 950.40
1/2" munoz mm 12'
4 x 12
<.`,UDEEX|*!.»\.|*I»|“I'I¢|N_-J ”_T°T§L '
;;mm-;;;=~w -- " :-' -- " mm
*-I'I’.lnlm'l'$lm
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PAmF.u'r ' mgm

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PRECISION mm IN'C ++
601 ll CQITGR.ESB AVE BTB 501
DEIBA'¥' BCH FL 33445

0¢”

 

1100 l.W. 1”| °OUITC mm IEAE|. H.QII|DA ma
m (II'l-l 181-23”0|'~|\3¢ {l“-} lim
l HHIT T°i
1lI)IW 1311\¢7|'. mmfld'l. fL 330|9

ACGGUM'M AND .H.E¢SE m
Fhonl: PW TBl-ZSBI °Fll! HSI) 942-4641

 

1102435- 01

VILLI\ LBGO

BLM # 2

SOUTH SECTION
BO‘!'N'ION BBACH FL

 

 

 

 

 

 

 

HW%NLM

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" §r.-`-§*A‘E
~.F :l¢|-..
D2u12
12' lmo:csTm'¢u:2 mars-mm 12l
mm4
1 1 * Numzs sA 0.0001 0.00
mr 2-12
70 70 * n 2212 sr 360.0000 1209.60
1 2" ama nsmmz.z. 12'
4 x 12
15 15 * 1221¢12 . sr 460.0000 331.20
l1:._22" mrsrum: ua:sm'r 12'
mm 4 x 12
1 1 * ms 22 0.0001 o.oo
mm c-14
70 70 w n 2212 sr 360.0000 1209.60
1 2- mann minn 12'
4 x 12
15` 15 * n 2211 sr 460.0000 331.20
1 2' mo:s'l'mm2 mars'rmrr 12'
mL4
*** '1_'HI_£ I__E _YoUR. :m_vp;cg 444 numm. 8,632.32
'11 usame 10.00
mmm'ro'r.u.
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.- `. _ - _ - - . HE.T .._. _ .-__..-__§E.i.__l€
9,203.42}

 

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alLl. sHlP

TD= Pnsc:cs:oN ammann nrc ++ TO=
501 v comnas mrs 522 501

DBLR.M' BGI FL 33.¢45

 

10” l.'#. 1811 DDUITCFCIF.M|B IIAEH, H.UA wu
FHONE fm '|'81-23"0 FAX m mm
I!||l'l' ‘I'Q/:
1ID IW' 1311 UT. m,m IEIDH. H. ms

Accouun~am mmcm£s
rhon¢: 10541 721-2200 ohx: msa 0424541

,- v. .-¢ _______,~J_E_____
'_-` . '.r.- .l..\+r<E|n]:;-ll.$~11';

1103'748-01

 

v:m men

BLDG # 2

scm szc'rroN
nomnu sum FL

 

 

 

 

 

 

 

 

 

 

 

 

  

   

 

 

 

 

 

 

 

 

sTAnT:NG oc1'12005 runs NILL
BE$lo P/Ilw Frmr. suitcases
1 1 * No'rzs 2a 0.0001 0.00
mo 2 L o o n
UNIT B-15
?D 70 *____1]:_»}221251=' 350.0000 1209.60
12" REGULAF. nn¥m:. 12l
13 13 * n 21112 sr 460.0000 207.04
1 2" mrs'mm: ms:s'ram‘ 12'
mm 4 x 12
1 1 * ms m 0.0001 0.00
mu'r C-22
20 10 1 0122.12 sr 360.0000 1209.50
1/2' mem mm 12r
41 12
15 15 * sr 450.0000 331.20
122' m:smszmzsrsTm 12'
1 1 * mms EA 0.0001 0.00
UNIT 3-21
70 70 * 1312212 ss 360.0000 1209.60
1/2" mm mm 12'
4 x 12
13 13 * o 21012 sr 460.0000 252.04
1 2" mrsms us:i'rm 12'
n mm 4 x 12
1 1 * NOTES 21 0.0001 0.00
mm 2-20
70 70 *' D12R12 SP 360.0000 1209.50
1/2'1§.2€501.1\5. DRMLL 12'
consmmnu-__._+ wlan
::mt:w¢::lwu mw“£
+-lTA'l,'llmL'mxm
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T°= rasc:cs:ou nmmn:.r. nic ++
601 n mass mm s‘rs 501
mm am

   
  

  

 

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FL 33445

 

 

 

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lllll B.W. ‘IHl mh mm IABH. ml ma
F|IBNE m TI$-RII€FAKIM mm

m‘l"l°:

16')"!13|\|=1'. mm lF.AU|-I,FLM

ACCUWUT?WMH“EISEMMWH

 

l'lwlm llidl mdlliehl: M‘} 042-dui

 

1103148-01

  
    

 

 

 

400.0000
nzzun norarun§!nzs:smmmw 12-
1 1 22 0.0001 0.00
norm 0-19
ss ss n 2112 sr 360.0000 1460.00
1 2ll nnsunnn nmxnnLL 12'
4 x 12
15 15 ozzn12 sr 460.0000 331.20
1 2- nozsmuns nssrsmnnw 12'
nnYnnLL 4 x 12
1 1 noTzs ma 0.0001 0.00
om:r c-1a
90 10 012212 sr 350.0000 1209.60
1 2* nsaunnn nnxuann 12'
4 x 12
15 15 n zola ar 440.0000 311.20
aza" noxswonz nssIsTnnT 12'
!unLL 4 x 12
¢H»Hvu~mmw-»--* *** rurs rs 2002 rnvo:c: *** ‘“**“"“ "371'52
- ~ mac. moss 10 . 00
HEII|I'F MAL
FEDJB'|’|'EH TAX
"‘"”"' ~~~~“s'rqu*" """"""" '60 ;I‘.TS‘
FA\'\|E|T q _ on
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1'0= euczszon mm nrc ++
501 N coucasss Av: srs 501
r:. 33445

DELRAY BCH

 

 

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T°=v:LLALAGo
BLDG#z

SQUTH SBCTION'

. 1400 ¢.\n'r. wm count- rourmo mm ama sam
' mexican 121-assumile

IIE\\IT TO:

1“5 SW 131|\ I:T, FD|I'AN° IEAU'L FLM

AEEOUN"NG AND RE.LHSE IWMHFS
th¢: 1959 781-2399 I Fl!: 1954-l 942-4841

 

11037'73-01

BOY'NTGNEEACH FL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

nme ocr `…1_ 2005 mae wILL'
33$102/1:Nv ms cannon
1 1 * ms EA 0.0001 0.00
200 y L o o n
mr 2-17
55 55 * 0 2212 sr 360.0000 950.40
1 2" R.EGuLAR mm 12'
4 x 12
s s *1~412 sr 460.0000 1'76.64
:1.]'2"l m:sTrJR.E 21213.'5:':$214.241' 12'
0¥1041.:.4
1 1 * norms EA 0.0001 0.00
mr 0-16
55 ss * 0121412 ss 360.0000 1460.00
1/2'l mm mm 12'
4 x 12
15 15 l"10214125:' 460.0000 331.20
Rz- mm:smnnzs:l:s'rm 12'
1 1 * No'rns nn 0.0001 0.00
ls'r F L 0 o n
um'r A-s
ss 55 * 0 2212 sr 360.0000 950.40
1 2' mem mm 12'
4 x 12
. B 8 * 0 24412 sF 460.0000 176.64
1 2" mrs'ruu: usIsTANT 12'
0 mann 4 x 12
1 1 * sums n 0.0001 0.00
mr 5-10
70 70 * 012212 sF 350.0000 1209.60
1!2" mm BRYHALL 12'
4 x 12
cone gunman _._§ 200 rom
blantonle M|s¢.B|-MRGE
I~m'l’\xml
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BILL

TO= ancIsIoN oavwnLL INc ++
601 N concusss 212 sTE 501

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IHEIW¥CU.

 

 
 

 

srnP
TO= v:LLA Laso
BLDG # 2

1880 S.W. 13!ll mm ¢ FCMPAI|G BEAEH, FLC|RDA ml
FH°NE ll“l 181-mid FAX laid-l mm

HBIT TG:

1350 EW 18|| GT, POIIPANU BEAQH. H.M

AcCGUNUNG AND RE'LB‘BE .FNGUW.ES
Fhune: 1954| 181-2389 l Flt: 1950 542-4641

   

won `@Wlf ."_;‘l
1103713- -01

 

 

DELRAY sen FL 33445 4§¥ souTH sacr:om
40 eoYNToN ounce FL
`:'zilhni 1§"~ ...- - n .!::, .~;

 
 

 

 

 

 

 

 

1103 7'7_3- 01 o

   

 

 

 

012M12
1/2“ MoIsTURE RESISTANT 12l
ozYWALL 4 x 12

 

 

 

 

 

 

 

460§0000

 

 

 

CUDE EXFLAN¢\'|’|ON __!

*-II'ATETAKm
l-m'l'llm
I~ITI`|'El wlng

*** THIS IS 'YOUR_IN'VOICE ***

 

 

 

suaran 5,550.72

Ml§c. ounce 10 . 00

ms_lan*r ro'nu.

FEo..'o'er 'rAx

arm 1104 3 so_ 330

FAvMEN'r g _
TOT,AL AM'I.' DUE

5 , 921. 52

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DBLRL¥ BCH

 

 

 

 

 

 

PRBCISION DRMLL mc ++
601 N DONERBSS ANI STE 501
FL 33445

star
T°= wm mac
anne # 2

EOUTH SECTIQN

l iwl.W.llhDWRT¢FWPIIOIEA¢|LH-mm
mm nim¢mlm mm

m To:

10”"|'13$\¢1'.'”"|0“&@'|.".”

.IGMUNTWGAADFHEA#'MMES
F|wl\'t lli'l) 731 RSNIF¢¢: liw 342-4a1

 

1103818- 01

BO¥NTON BEACH FL

 

 

 

 

 

 

321\:¢21100 002'1 2005 m n04:¢:.1. h
222$10 mv/ run summon
1 1 * nom 21 0.0001 0.00
102 2 1. 0 0 n
umw 1-11
55 ss * 0 2212 32 350.0000 250.40
1 2- 22001.12 mmm.z. 12'
4 x 12
n s * n 24412 sr 460.0000 115.64
l1222 040122021: newman 12'
mm 4 x 12
1 1 v 100-ms n 0.0001 0.00
mr c-12
00 70 * 01221: 22 360.0000 1209.60
12' mm mmm.z. 124
15 15 w n 24412 sr 460.0000 321.20
1 2- mrs-runs assts-mm 12'
mm 4 x 12
1 1 w ms m 0.0001 0.00
umw c-14
10 10 v 012212 sr 360.0000 1209.50
1/2- moran nom 12'
4 x 12
15 15 * 0 20412 22 460.0000 331.20
gzz" mors'.mm: uslw 12'
mm 4 z 12
1 1 * 4001-ss n 0.0001 0.00
umw 0-15
70 70 * 012212 02 360.0000 1209.50
1/2- emma 0224411.1. 12'
4 x 12
mmAmn_~_-§ I‘I.ITMAL
' nmmllunril m G'!IIM
I-m"nwml.l
I-'l"l.ml'l'“*”\¢
mnmm¢\l.
mmm'ru
.._.._ ». __.__._.».__-_-.._.._._...__..__...,..._ _.,..... _______ , __ __________ _______ _.._._ ___ __.... -.-.-."N!"m.._.-__.‘-_-_-_- -
FN““MT gixuguanEgL

 

 

 

 

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\/
" 'llw S.W. 1311 mut PMIPAN° IEAUH. llole ml \/
FHDN.'E {IS§I ’ll‘l-Zall le lll&| mm vi
mlrl' T°:
1m BW 1811 BT, mun IEACH. H. m

ANGUNT!NG AND RELS*\S'E mm
Phor\l: li“l 781-2311 lle: 1354-l 542-464?

'-==_-=.".'_'- .'.r.; l---.'

     

153°°° 1103310- 01

EILL sHlP
TO= 2230131010 02110111.1. nrc ++ T°= v:LLn mo
601 11 mmc-mass mrs st 501 BLDG # 2
mm 201-1 21 33145 %p( scm sacr:ccm
\\*»

 

  

-.'._, -.__-_1`

1103811- _01

  

 

 

   

 

 

 

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D12M1.2 SF 46|'.*. UDDU 217.04
1/2' mISTU'RE R.BBISTANT 12'
DRI'|RLL 4 I 12

1 l * NDTBS EA 0.0001 0.00
UNIT C-22

70 70 * .D 2312 SF 360.0000 1209.50
l 2" REGULAR DR.'!TIALL 12'
4 X 12

15 15 * D 2Hl2 SF 460.0000 33.1.20

1 2" mISTUR.E R.ESISTANT 12'
mm 4 I 12

 

 

 

 

 

 

 

 

 

 

consmA'rmn_-_§ *** inns 15 wm lmra ne SuB_T¢_|T.\L _ _T»=?€'-°B
;;m‘““;;w ~ us¢:._qnmae- '. ' 19,;¢2
"l'l'l'l'llml`lxm

m_ElGHTroTAL l
FEo..ro'rHEflTAx _
arm ms 411.100

 

 

`PAYuarr
TOT.'B:¢ m m
7,727.08

RCROUDDOOSSS

1800 B.W. 13th GGJRTO PUI¢IPM|D IEA¢H¢ H.OR|DA mm
PHB|E (DB4I Tl1-llll¢ FAX mw md
HEH\TTD:
1m8W1MIT,FOMlANDIEAGLFI.3W

A€CoUNTlNG AND MSE MUHES
Ph¢me: li!¢l 131-2399 bFl:¢£ l§§$} 942-4541

   

\ L*.",.,'E,*,L§ggurlv cu.

     

isaacs ' 1103900- 0-1
su.L sl-IP
T°= mcrsIoN mem nrc ++ T°= v:LLA mac

601 N comnas mm sm 501 BLDG # 2

   

DELRAY BC'.'H FL 33445 f 1 ' SOUTI'I SEC.TION

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

STJ\RTII:¥"G 0€.']'.'12005 THERE WILL
BE $10 P/INV FUEL mm
1 l * NOTES 33 0.0001 0.00
4TH FLODR
288 288 * DJCUSG El\. 13 . 1000 3772 . 30
JOINT CDM.POWND U.S.G.
5 GAL PAL USG
1 l *' NDTES RA U.o°ul 0.00
STH FLOOR
285 283 * DJCUSG BA 13 . 1000 37'72 . 80
JOINT COHPOUND U.S.G.
5 GA.L PPAL US.
coosmmmoN-__+ *** THIS IS Y_¢_JUR IlNVD_ICB *** MT°"‘L_, , 7'545'.€°
- -¢ml'mnmu - BC. CHAHBE' ' 113 .uU
l- mm"“lmu
¢-"l"lm'l'»\lm
mmi-rr`_ roTAL.
FEUJQ'|'HERTLX
smswe 490.45
PAYMENT 0.00
TCTAL m m
. 3,046.06

RCROOODOOOSB

1606 I.W. 1311 mh milo IEABH, FLMIA wl
FHWE {9“| 'N1-!Nl »FAX IM mm
, 1 m To:
‘llllll*' 13b U'|'. mm lE\\BH. Fl. mid

AC¢.‘OUN'I'WG m MLEASE!NGWMFS
th: Dill»l ?81-238! ¢|FI!¢: m lid-mi

      

163000 2039€51-01

BlLL sH|F
T°= PRBc:s:oN nnYwnLL rnc ++ TO= szLA 1100
601 n comes mm sTn 501
nsnznr nco 10 33445 aowurou nance FL

 

 

`-'J' ;F§. 3"*:'§~.".»

 

 

 

 

   

 

 

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annum oc'c 1 2005 ama lm.:.
$10 e/:l:nv PUBL sun mass

1 1 * sons an 0.0001 0.00
mr 501 _
40 40 * mann sr aso.oooo ss1.20
}§'12 m cm mm 12'

1 1 *' NO'.\'ES EA 0.0001 0.00
181' mOR

20 20 * :Z2l!12 SF 460. 0000 441.€0

2" HCIE'.I."URE2 RESISTLN'.I.' 12’
'!WALL4

md¥

....,-w - .\ 14 M,.“_¢.»mg._... ..,.1.,.»*.,-¢. _04_,, ` - g|-\-... .-h.'*

 

 

 

 

 

 

 

 

 

 

consumman nn ms 15 gong fm m ny tul 'l_‘o'l'.\|. 11132.8°
:' m'“f“.:'m“z "' _ HIIC. mE - 10.°°
in ll'»\\'lllml'l*l”:
FREIGHTTOTAL
,_ _ _____________ __ __,_____ ______ ___' __ FEoJ°m-_H_T_,_Ax ,_ .. ..,\_.. »».
' ' """___ ‘_ ` "` "" " "'°"""`“a"`ri'l“’E_TAx "`" `_"";p§_ 53

 

 

l Ph¥MEI|T
1,216.43

RCR000000632

1III| E.W. 13th Dhl.l'lfl'l FMAND IEIGH, FLUR|DI\ am
IH°NE lml "1~23||°FAX lam m
REHT TD:
1880 IW 1”| G"l`¢ FMAN° lEAGH. H. m

A mUN'l'ING IND REEASE I'MIWHES
Phonl: lBill 181-2392 \I Flt: 1954-ll l42-4841

         

1saooo 1104003-01
snL s+nF
TO= Pnsc:s:ou nnxmen mut ++ TO= vILLA 1150

601 N CGNGRESS .'|WE STE 501

DRLR.AY aca FL 33445 WD soch mci-1 FL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

10/06/06
ETARTING 01`.'.|.'12005 TI-IE.RE li'ILL
BE$J.O P/IN'V FUEL SURC.'HLRGE
l 1 * NOTES EA 0.0001 0.00
R.EF 1103900
516 UOM'P
576 . 576 * DB EA 0.2500 144.00
BTOCIC|.‘NG-MATERIAL-L'ABOR
----NBT INVOICE -----
coolmmmou----_+ in ms 15 m lmra ".* gq.|l'|'\:rr,)q,i_'l _ 1414.00
hanme - -' dil$$' wHEE '
l munn-ocala '
+-I’!lTIl-$DLLT'MM
ntsurhnaL
Fso.:o‘mmnp¢_
$TA‘IETAX_ -
FA'{MENT U.DU
"|.‘DT'AL m DU'E
144.00

 

RCR000000039

1060 S-'N. 1391 CO\RTO F°MPAIIO IEAG'L mla 330¢9
PHGIE 1854l 781de FAX lsl'¢l m
REIIT 101
1” IW 1381 ¢T. FOMIA||B IE»\DH. FL m

AGCDUN|TNE ANB .I‘ELEASE mawa
Fhanl: lli¢l 731-2392 ¢le: 19541 542-4841

   

168000

Bu.L

TO= mcrs:cow nnmr.:. mc ++
601 11 ooNGP.sss nw s'm: 501
lamar sen Fr. zia-145

 

 

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'.*'-" MMWM\M: .._¢ .
1 - 311-_,1--¢ V _

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smrmo oc.'-1l 1 2005 mens w::m.
BE$lo P/INV Fm:L sunal-mass

1° 10 * F:.z sr 410.0000 190.00

E/§"l§rp.zaon: mm 12'

2 2 * N.UME n 3.7500 17.50
DUSK MASK 301
50 C.'I'

48 48 * TSANDA EA 2.5000 120.00
SANDS SPONGE DUAL ANGLE
FINE/HED

4 4 * EA 5.5000 22.00

FLAS'.|.‘ER WINDOW FRAME TAPE
2" ILED '.EAPE

 

 

 

 

 

 

 

 

 

   

 

 

 

CODE!IFLANATIDN__+ tit ms Is YnuR mrcg *** SLITUTIL 355-lau
-lranmum.nm.i -- ‘- ' , h_l|B¢.¢HAHGE ' la.oo
:-lmum‘:nnml: " M#

FEDJUT|'EBTAX
mTETm - 23`1€
PAYHENT o_°°
from m DUE
' 339.4€

RCR000000040

 

 

1IN S.W. 13||1 COURTO POMPANQ mmr FL°I|DA 3306!

FH°||E IIH} "143”| FAX [IFI»I 842-laid
IEMI'I' TD:
'lll¢lw 13th GT, PEMPANO IEAU'L H. mll

ACCDUNTJNG Aw RE'.EASE IMJWH$ES
Ph¢!l'll: I954l 731-2399 llle: 1554-l 942454-1

-..E" h>'-'¢-'L_ 1'-'¢1,¢;_"_'\-¢.'4§..-_. ._._ __

1105230-01

 
   

160000h'

amL us

TO= PREc:sIoN nRYnALL INc ++ TO= v:LLA nasa
501 N cnmcnass 222 322 501 anne # 2
nsLnAY ncH 21 33445 souza sEcTIQN

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S'.I.'AR TING 0CT12005 TI-IB'R.E NILL
BE$lD P/INV ¥UEL SURCHARGR
1 1 * N'OTEE EA 0.0001 0.00
BR.D F L 0 0 R
288 288 * DJCUSG EA. 13.1000 3772.80
JOINT COMPOUND U.B.G.
5 GAL PAL USG
l 1 * NOTES EA 0.0001 0.00
41‘H F L 0 0 R
240 240 * nqusG EA 13_1000 3144.00
JOINT G.JHFOUND U.S.G.
5 GAL PAL USG
l 1 * NUTES n 0.0001 0.00
NDR'.I.'H BEC'.|.'ION
H'I-I l' L 0 0 R
48 48 * DJCUSG EA 13.1000 628.80
\TOINT INTCOMPOUND U. S. G.
5 GAL PALU USG
cooEuF-wm'lou-___+ in ms 1_5 m I_N_vo_];_¢___\_g *** sulToTAL 7,5'15._6_0
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1310 B.W. 13¢\ WURT|PCMPAN° BEA°H. FLDH|U»\ 330|9
PHONE lim 791-2339¢ FAX IIF'$I 342-430
HEMI'|' TO:
1!|¢ SW ‘lI|\ U`l', FQHVAND IEM=Hr H. md

AL"CQUMINE AND RELBISEMUINES
Phouo: lDBd| 181-1399 ll le: (954| 842-4641

      

168000

 

 

     
   

 

 
  

  
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

alLL sHlF
T°= susczsron DRYNALL rsc ++ T°= v:LLA 1100
601 N coNGRnss mrs sm 501
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sm'i'T1m oc'r 1 2005 mms w:LL
BE $10 P/J:Nv' Fm:L sunCHJ\RG
1 1 * n ms sr 336.0000 10.'15
1 4" mem mm 0'
4 X 8
1 1 * szsa nn 25.0000 25.00
5 a' cox PLY\moD
4 x a
8 6 * nzsra sr 410.0000 104.9€
5 s" nucleus mm a'
4 x s
45 46 * ram 51 2.5000 120.00
sam sPoNGE mmL mm
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DELRAY acl-z FL 33445 {“

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‘|m B.W. 1301 SQ\.MTO POMPANO BEA¢I‘L m m

FHBNE IS¥\|-l 7|1-2399¢ F.IX lim uaw

RE|¢ITTD:

1080 SW 1351 G"l'. WAND IEAHI. FLSDB¥

A€CDUNTTNG AM'¢' BELEASE MWHES
Fhonu: 1354-l 181-238| ¢le: IM 842-4041

 

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BOYNTON BEACH FL

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

  

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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BE $10 P/INV FUEL SEURGRRG
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SzB" !IRECODE bilme 12'
4 X 12
15 16 * D BHI' ll?12 BF 440.0000 337.93
5 B" MR.'E'C DRY|I.I\LL WJIS. 12'
. . FIR.'B{
30 30 * D 2M12 SF 460.0000 662.40
2" BDIBTUREZ RBSISTANT 12'
DRYWALL¢ 11
7 7 " D5 BDGS .Sl" 585.0000 131.04
5/8" DENBGLASS GDLD B'
4 X 8
10 10 * D 428 SF 336.0000 101.52
1 4" REGULAR DR'YWALL B'
4 x 8
60 60 *' DJCUBG EA 13.1000 TBS.UD
. JDINT COMPOUND U.S.G.
5 GAL PAL USG
coblEXFLANAnoN_’ in 1315 15 gm m:[cz gu SUITQTAL 4,780.09
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FHCIE lBHl 1l1-ml ¢ FAX [854| 842-430
EMUTU
1080 ¢W' 131h G'l'. P°MPANQ BEAU'|. H. wm

AG€UUNUNG A.M.'l !ELBSE!MWNES
Fhunl: 1854] 781-2389 0 le: lBS¢l 842-484|

     

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olu. sHlP
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50 50 * n 21012 sr 460.0000 1104.00
1 2" Mo:smma: m:s'rANT 12'
mm 4 x 12
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1660 l.W. 13th WURTI FBI¢IFAN¢ BEAGH. H-°RIDA md
PHGNE |'SH ?81M9¢ FAX lim mm
l\Edl'T T°i
18¢0 SW 1381 E\', FM&ND BERDH. Fl. mn

11va AND H£LEASEMMES
Pl'lcmu: ¢854} 781-23990 le: {8541 942~4641

 

         

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1680 S.W. 1331 CGUR`I'O NIIPAN° BEAU'L FLBH|DA wl
PHONE 1350 1l1-l.399¢ FAX IB“] 9424350

m TG:

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A¢¢OUNWNG AM‘J RE¢BSEM¢.»WEB
?horl¢: [8541 181-2388 n Fa:: 1364-l 942-4641

 

 

 
 

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EE $10 P/INV FUEL BU'R. CH!\.'R.GE
1 1 * D4RB SF 336.0000 10.75
2 :4£"8 R-EGULAR. DR¥mL B"
2 2 * DU'.!' EA 47.0000 94.00
ULTRA FLEX TA.PE
100' R.OLL
coolmmmou_-_-§ in ms rs yong merge wm &IJITQTAL 104.'E
- l:¢rmrua:‘\mu u ' _ MB¢.CHAF\GE lU.UD
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DELRAYBG'I

 

 

 

FL 33&45

 

 

 

 

1500 S-W. 1391 MIFWAI¢| IEM}H¢ H.Gm im
m 1059 "1~2300°W fm mm

BEMITTU:

1060 m 1$| €'I', F°l'lla IEIEH. FI. lion
AWUNNM!AMRH.EASEMMHB

f'haua¢ IBMI 781-2309¢|=11: 1854-1 542-lui

 

 

 

 

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1 1 NOTES EA 0.0001 0.00
18'1’ l."LOOR
45 45 102-lsc :.r 0.510_0 205.`20
2 x 4 X 8 GJNB'.|.‘RUCTIGN
60 60 515 T LF 285.0000 171.00
1 5 B" m
25
200 200 81588 -10 LF 258.0000 596.00
5 B'S STUD 10'
25
500 500 335 E-S LF 396.0000 1782.0'0
3 528" STUD 9'
25
35 65 D 2312 _ SF 460.0000 1876.80
11522' mISTURE R_EBISTANT 12' . ..- \
¥l¢'ALL 4 X 12 .
180 1 180 D 2R12 SF 360.0000 3110.40
1 2" RIGU‘LAR DRY|ULLL 12'
4 x 12
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1800 S.W. 1N\ mURTiPWPA|'IC lEiGH. ml msi
PHONE 19541 151-23000 FAX ll“'l 042-4000
lim TD:
1500 591 13th GT. minn mm FL IWIB

AL'COUN'|TW AND RE.\'.E{SE M’QM
Fllonl: llB$l 701-2390 0 Fl:l:: 1954} 042-4041

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lmme sen FL 33445 E §, 5 50ch mcc-1 FL
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11/05/06
051. 11/10/06 '
1 sm'r:m ccc 2005 111-1223 wILL
55510 P/:Nv ms warnings
1 1 * No'ms n 0.0001 0.00
s smuan m
5 sla pc 4112 552 rz.
36 36 ~ mann sr 020.0000 100.41
1" smume 121(con.550mm
(mmm:.:.) 2 x 12
30 30 - ozanz sr 410.0000 590.40
5 s~ smccms nmnmLL 121
4 x 12
cooeexPLANA'rlon_-J Igvozqg *n SUIT\'.\TAL 1,2?0.87
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BlLL
TO:

PR.ECISI°N DRYNALL INC ++
601 N CONGRESS AVE STB 501
DELRAY BCH FL 33445

 

sun a.w. mh counts FQMFANQ IEAu-l. H.ollmA sands
moss low 181-land FAX tim MMM
REMT TG:
1¢80 BW 1361 ¢T. H'.\MFANO IEAGH. H. saul

ACCOUNUM! AND RE.LEASE INDMHES
Phons‘. 19541 761-2385 vFlsc tim 942-4641

 

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CGBBLESTCNE cnzsx J#255
LYoNs RD.ass BLvn
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F-;T` n v l v"‘ ‘v` ..' '
BTARTING OCT 1 2005 mRE WILL
BE $10 P/INV FUELS SURCI'LBRGE
1 1 * NOTES EA 0.0001 D.Uo
DELIVERED LASTWEE
STOCKED UPSTLIRS HDW
1 1 *' NOTES BA 0.0001 D.UU
2 BKGS
2 2 * DS . EA 25.0000 50.00
STOCKING- DBTERIBL- LABOR
----NET rnvozcs -----
EDBEEXFLANM'!QN_--_-+ sur THIS 15 ram mfg in IUBT¢|‘|'AL 50.00
; nnn?u:=.mu g ' _. M!Sc. EHAHGE
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FEDJ°THE\TAX.
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10” I.W. ‘|Slh ¢CIUR'I'¢P°MPIN° IEAGH. R.OMDI wl '
FI'|°NE l¢“-l 781~23“¢|=»\!¢ l¥$‘l lim
llElI|'l' TB:
1300 SW 1¥|1 ¢T.- FOHPANC IEAGH¢ H. all

ACCDUNTTNG AND mEASE m
thl'll: {BEM TB1- 239. ¢ FIX: IBE¢} 542-4841

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DELRAY B¢:H FL. 33445 mg,{¥ Bom'non BEACH r-'L

 

 

 
      

 

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32 510 P/INV FUEL SURCHARGE

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